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                                                                 Execution Version




                            BRIDGE LOAN AGREEMENT

                                      dated as of

                                 September 26, 2018

                                        among

     HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE DUGABOY
   INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P., NEXPOINT REAL
    ESTATE ADVISORS IV, L.P., SE MULTIFAMILY REIT HOLDINGS, LLC, AND CERTAIN
                        PROPERTY OWNERS LISTED HEREIN,
                                 collectively, as Borrower

                                         and

                               The Lenders Party Hereto

                                         and

                        KEYBANK NATIONAL ASSOCIATION,
                              as Administrative Agent

                                         and

                          KEYBANC CAPITAL MARKETS,
                         As Sole Lead Arranger and Bookrunner




                                                                         Exhibit 3
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                     BRIDGE LOAN AGREEMENT (“Agreement”) dated as of

                                   September 26, 2018, among

    HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE DUGABOY
  INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P., NEXPOINT REAL
ESTATE ADVISORS IV, L.P., SE MULTIFAMILY REIT HOLDINGS, LLC, AND THE PROPERTY
OWNERS LISTED ON SCHEDULE 1.01 HERETO, individually and collectively, jointly and severally,
                                   as Borrower,

                                   the LENDERS party hereto,

                KEYBANK NATIONAL ASSOCIATION, as Administrative Agent,

                                              And

             KEYBANC CAPITAL MARKETS, as Sole Lead Arranger and Boookrunner


                                           ARTICLE I

                                          Definitions

      Section 1.01 Defined Terms. As used in this Agreement, the following terms have the
meanings specified below:

        “ABR,” when used in reference to any Loan or Borrowing, refers to whether such Loan,
or the Loans comprising such Borrowing, are bearing interest at a rate determined by reference
to the Alternate Base Rate.

       “Adjusted EBITDA” means (a) EBITDA for the most recently ended calendar quarter,
annualized, less (b) the Capital Expenditure Reserve.

         “Adjusted LIBO Rate” means, with respect to any Eurodollar Borrowing for any Interest
Period, an interest rate per annum (rounded upwards, if necessary, to the next 1/100 of 1%) equal
to (a) the LIBO Rate for such Interest Period multiplied by (b) the Statutory Reserve Rate.

       “Administrative Agent” means KeyBank, National Association, in its capacity as
administrative agent for the Lenders hereunder.

       “Administrative Questionnaire” means an Administrative Questionnaire in a form
supplied by the Administrative Agent.

      “Advisor” means, collectively, NexPoint Advisors, L.P. and NexPoint Real Estate
Advisors IV, L.P.

        “Affiliate” means, with respect to a specified Person, another Person that directly, or
indirectly through one or more intermediaries, Controls or is Controlled by or is under common
Control with the Person specified.
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        “Alternate Base Rate” means, for any day, a rate per annum equal to the greatest of
(a) the Prime Rate in effect on such day, (b) the Federal Funds Effective Rate in effect on such
day plus 1/2 of 1%, and (c) the applicable LIBO Rate for a one month Interest Period plus one
percent (1%) per annum. Any change in the Alternate Base Rate due to a change in the Prime
Rate or the Federal Funds Effective Rate shall be effective from and including the effective date
of such change in the Prime Rate or the Federal Funds Effective Rate, respectively.

        “Anti-Corruption Laws” means all Legal Requirements of any jurisdiction concerning or
relating to bribery or corruption, including without limitation, the Foreign Corrupt Practices Act
of 1977.

        “Anti-Money Laundering Laws” means all Legal Requirements related to the financing
of terrorism or money laundering, including without limitation, any applicable provision of the
Patriot Act and The Currency and Foreign Transactions Reporting Act (also known as the “Bank
Secrecy Act,” 31 U.S.C. §§ 5311-5330 and 12U.S.C. §§ 1818(s), 1820(b) and 1951-1959).

       “Applicable Percentage” means, with respect to any Lender, the percentage of the total
Commitments of the Lenders represented by such Lender's Commitment. If the Commitments
have terminated or expired, the Applicable Percentages shall be determined based upon the
Commitments most recently in effect, giving effect to any assignments.

        “Applicable Rate” means, a rate per annum equal to: (a) with respect to Tranche A
Loans, for any Eurodollar Borrowing or Daily LIBOR Borrowing, 140 basis points, and for any
ABR Borrowing, 40 basis points and (b) with respect to Tranche B Loans, for any Eurodollar
Borrowing or Daily LIBOR Borrowing, 375 basis points, and for any ABR Borrowing, 275 basis
points.

        “Appraisal” (whether one or more) means a written appraisal of the Mortgaged Properties
by an MAI appraiser satisfactory to the Administrative Agent. Each Appraisal must comply with
all Legal Requirements and, unless specifically provided to the contrary in this Agreement, must
be in form and substance reasonably satisfactory to the Administrative Agent.

       “Appraised Value” means the “as is” value of Real Property, as set forth in the most
recent Appraisal for such Real Property.

       “Approved Fund” has the meaning set forth in Section 9.04(b).

       “Approved Lease” has the meaning set forth in Section 5.16.

        “Arranger” means KeyBanc Capital Markets or any successors thereto.

       “Assignment and Acceptance” means an assignment and acceptance entered into by a
Lender and an assignee (with the consent of any party whose consent is required by
Section 9.04), and accepted by the Administrative Agent, in the form of Exhibit A or any other
form approved by the Administrative Agent.




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       “Assignment of Leases and Rents” means an assignment of leases and rents from the
applicable Borrower to the Administrative Agent delivered to secure the Obligations, as may be
modified or amended.

       “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
applicable EEA Resolution Authority in respect of any liability of an EEA Financial Institution.

        “Bail-In Legislation” means, with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the
European Union, the implementing law for such EEA Member Country from time to time, which
is described in the EU Bail-In Legislation Schedule.

       “Beneficial Ownership Certification” means a certification regarding beneficial
ownership required by the Beneficial Ownership Regulation, which certification shall be
substantially similar in form and substance to the form of Certification Regarding Beneficial
Owners of Legal Entity Customers published jointly, in May 2018, by the Loan Syndications and
Trading Association and Securities Industry and Financial Markets Association, or such other
form as may be reasonably requested by any Lender.

       “BH Pledgor” means BHSL Holdings, LLC, an Iowa limited liability company.

      “BH Loan” means that certain $10,000,000 loan from SE Multifamily Holdings, LLC, a
Delaware limited liability company, to the BH Pledgor pursuant to the BH Loan Agreement.

      “BH Loan Agreement” means that certain Promissory dated as of the Effective Date by
SE Multifamily Holdings, LLC, a Delaware limited liability company, and BH Pledgor.

       “BH Loan Documents” means, collectively, the BH Loan Agreement, the BH Pledges,
and each other documents or certificate entered into in connection therewith.

        “BH Pledges” means those certain Pledge and Security Agreements by the BH Pledgor
and/or its Subsidiaries in favor of the Lender to secure the BH Loan, which have been assigned
to the Administrative Agent as Collateral for the loan.

        “Board” means the Board of Governors of the Federal Reserve System of the United
States of America.

        “Borrower” means, individually and collectively, jointly and severally, Highland Capital,
HCRE PARTNERS, LLC, a Delaware limited liability company, The Dugaboy Investment
Trust, The SLHC Trust, NEXPOINT ADVISORS, L.P., a Delaware limited partnership,
NEXPOINT REAL ESTATE ADVISORS IV, L.P., a Delaware limited partnership, the REIT
Borrower, and each Property Owner Borrower.

       “Borrowing” means Loans of the same Type, made, converted or continued on the same
date and, in the case of Eurodollar Loans, as to which a single Interest Period is in effect.

       “Borrowing Request” means a request by the Borrower for a Borrowing in accordance
with Section 2.03.


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        “Business Day” means any day that is not a Saturday, Sunday or other day on which
commercial banks in Boston, Massachusetts or New York, New York are authorized or required
by law to remain closed; provided that, when used in connection with a Eurodollar Loan or Daily
LIBOR Loan, the term “Business Day” shall also exclude any day on which banks are not open
for dealings in dollar deposits in the London interbank market.

        “Capital Expenditure Reserve” means, on an annual basis, an amount equal to $250 per
unit with respect to each Real Property owned by the Borrower or any Subsidiary.

        “Capital Lease Obligations” of any Person means the obligations of such Person to pay
rent or other amounts under any lease of (or other arrangement conveying the right to use) real or
personal property, or a combination thereof, which obligations are required to be classified and
accounted for as capital leases on a balance sheet of such Person under GAAP, and the amount
of such obligations shall be the capitalized amount thereof determined in accordance with
GAAP.

        “Capital Stock” means, collectively, all shares of capital stock (whether denominated as
common or preferred stock), equity interests, partnership, limited liability company, or
membership interests, joint venture interests or other ownership interests in or equivalents of or
in a Person (other than an individual), whether voting or non-voting, and to the extent not
included in the foregoing, any of a member’s or partner’s control rights in such Person, including
the rights to manage or participate in management, voting rights, inspection rights and other
rights.

        “Change in Control” means (a) a transfer or series of transfers of any legal or equitable
interest since the Effective Date that results in a change of more than 50% of the ownership
interests in any Borrower (other than the Property Owner Borrowers); (b) James Dondero ceases
to be the manager of HCRE Partners, LLC, a Delaware limited liability company, the sole
member of NexPoint Advisors GP, LLC, or the sole member of NexPoint Real Estate Advisors
GP, LLC, in each case, unless replaced with an Affiliate thereof; (c) the acquisition of more than
50% of the ownership interests in HCRE Partners, LLC by any Person other than The Dugaboy
Investment Trust, unless replaced with an Affiliate of James Dondero; (d) the failure of Highland
Capital, HCRE Partners, LLC, and the REIT Borrower, in the aggregate, to own, directly or
indirectly, free and clear of any Liens except those granted in favor of the Agent, 90% of the
ownership interests in, and Control, each Property Owner Borrower, (e) the replacement,
removal or resignation of NexPoint Real Estate Advisors GP, LLC as general partner of
NexPoint Real Estate Advisors IV, L.P., unless replaced with an Affiliate thereof, (f) the
replacement, removal or resignation of NexPoint Advisors GP, LLC as general partner of
NexPoint Advisors, L.P., unless replaced with an Affiliate thereof, or (g) the replacement,
removal or resignation of the trustee of the SLHC Trust as of the Effective Date, unless replaced
with an Affiliate thereof.

        “Change in Law” means (a) the adoption of any law, rule or regulation after the date of
this Agreement by any Governmental Authority, (b) any change in any law, rule or regulation or
in the interpretation or application thereof by any Governmental Authority after the date of this
Agreement or (c) compliance by any Lender (or, for purposes of Section 2.15(b), by any lending
office of such Lender or by such Lender's holding company, if any) with any request, guideline


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or directive (whether or not having the force of law) of any Governmental Authority made or
issued after the date of this Agreement. Notwithstanding anything herein to the contrary, (a) the
Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests, rules, guidelines
or directives thereunder or issued in connection therewith and (b) all requests, rules, guidelines
or directives promulgated by the Bank for International Settlements, the Basel Committee on
Banking Supervision (or any successor or similar authority) or the United States or foreign
regulatory authorities, in each case pursuant to Basel III, shall in each case be deemed to be a
“Change in Law”, regardless of the date enacted, adopted or issued.

       “Code” means the Internal Revenue Code of 1986, as amended from time to time.

       “Collateral” means all property, tangible or intangible, real, personal or mixed, now or
hereafter subject to the liens and security interests of the Loan Documents, or intended so to be,
which Collateral shall secure the Obligations and Hedging Obligations.

       “Collateral Assignment of Management Contract” means each Collateral Assignment of
Management Contract by and among a Borrower, the applicable manager and the Administrative
Agent previously, now or hereafter delivered to secure the Obligations, as the same may be
amended, modified, supplemented or replaced from time to time.

        “Collateral Subsidiary” means each Subsidiary of the Borrower which owns a direct or
indirect interest in a Portfolio Property.

      “Commitment” means, with respect to each Lender, the commitment of such Lender to
make Loans hereunder as set forth on Schedule 2.01. As of the Effective Date, the aggregate
amount of the Lenders’ Commitments is $556,275,000.00.

       “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.),
as amended from time to time, and any successor statute.

       “Communication” has the meaning set forth in ARTICLE VIII.

       “Compliance Certificate” has the meaning set forth in Section 5.01(d) hereof and a form
of which is attached hereto as Exhibit B.

       “Connection Income Taxes” means Other Connection Taxes that are imposed on or
measured by net income (however denominated) or that are franchise Taxes or branch profits
Taxes.

        “Control” means the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies of a Person, whether through the ability to exercise
voting power, by contract or otherwise, which includes the customary powers of a managing
member of any limited liability company, any general partner of any limited partnership, or any
board of directors of a corporation. “Controlling” and “Controlled” have meanings correlative
thereto.

       “Cost To Repair” has the meaning set forth in Section 5.06(d).



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       “Current Survey” means a boundary survey of each Mortgaged Property.

        “Daily LIBOR” means, for any Business Day, the LIBO Rate as determined by the
Administrative Agent for a Loan with an Interest Period of one month in the amount of the
subject Daily LIBOR Loan.

        “Debtor Relief Laws” means any applicable liquidation, conservatorship, bankruptcy,
moratorium, rearrangement, insolvency, fraudulent conveyance, reorganization, or similar laws
affecting the rights, remedies, or recourse of creditors generally, including without limitation the
Bankruptcy Code and all amendments thereto, as are in effect from time to time during the term
of this Agreement.

      “Default” means any event or condition which constitutes an Event of Default or which
upon notice, lapse of time or both would, unless cured or waived, become an Event of Default.

        “Defaulting Lender” means any Lender that: (a) has failed to perform any of its funding
obligations hereunder, including in respect of its Commitment, within two (2) Business Days of
the date required to be funded by it hereunder; (b) has notified the Borrower or Administrative
Agent that it does not intend to comply with its funding obligations or has made a public
statement to that effect with respect to its funding obligations hereunder (unless such notification
or public statement relates to such Lender’s obligation to fund a Loan and indicates that such
position is based on such Lender’s good faith determination that a condition precedent
(specifically identified and including the particular Default, if any) to funding a Loan is not or
cannot be satisfied) or under other agreements in which it commits to extend credit; (c) has
failed, within two (2) Business Days after written request by the Administrative Agent or a
Borrower (and the Administrative Agent has received a copy of such request), to confirm in a
manner satisfactory to the Administrative Agent that it will comply with its funding obligations
hereunder; or (d) has, or has a direct or indirect parent company that has: (i) become the subject
of a proceeding under any Debtor Relief Law; (ii) had a receiver, conservator, trustee,
administrator, assignee for the benefit of creditors or similar Person charged with reorganization
or liquidation of its business or a custodian appointed for it; or (iii) in the good faith
determination of the Administrative Agent, taken any material action in furtherance of, or
indicated its consent to, approval of or acquiescence in any such proceeding or appointment; or
(iv) become the subject of a Bail-In Action; provided that a Lender shall not be a Defaulting
Lender solely by virtue of the ownership or acquisition of any equity interest in that Lender or
any direct or indirect parent company thereof by a Governmental Authority; provided, further,
that such ownership interest does not result in or provide such Lender with immunity from the
jurisdiction of courts within the United States or from the enforcement of judgments or writs of
attachment on its assets or permit such Lender (or such Governmental Authority) to reject,
repudiate, disavow or disaffirm any contracts or agreements made by such Lender.

       “Designated Jurisdiction” means any country, region, or territory to the extent that such
country, region, or territory itself, or its government, is the subject or target of any Sanction.

       “Dollars” or “$” refers to lawful money of the United States of America.

       “DST” means, a Delaware statutory trust.


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        “DST Depositor” means the Portfolio One DST Depositor, the Portfolio Two DST
Depositor, the Portfolio Three DST Depositor, the Stonebridge DST Depositor, and any other
Person approved by the Agent that becomes a depositor with respect to any DST that owns an
interest in the properties owned by the Portfolio One DST, Portfolio Two DST, or Portfolio
Three DST, as of the Effective Date.

       “DST Sale” has the meaning set forth in Section 6.13(a).

       “DST Permitted Sale” has the meaning set forth in Section 6.13(a).

         “EBITDA” means an amount derived from (a) net income, plus (b) to the extent included
in the determination of net income, depreciation, amortization, interest expense and income
taxes, plus or minus (c) to the extent included in the determination of net income, any
extraordinary losses or gains, such as those resulting from sales of payment of Indebtedness, plus
(d) to the extent not capitalized, the amount of non-recurring expenses, fees, costs and charges
incurred in connection with the Loan, plus (e) to the extent not capitalized, the amount of all
non-recurring expenses, fees, costs and charges incurred with any acquisition, issuance of debt or
equity, asset disposition or investment permitted hereunder, or any proposed or actual
amendment, modification or refinancing of any Indebtedness, plus or minus (f) to the extent
included in the determination of net income, any realized or unrealized losses or gains on
investments; in each case, as determined for Borrower and its Wholly-Owned Subsidiaries on a
consolidated basis, and including (without duplication) the Equity Percentage of EBITDA for the
Borrower’s Unconsolidated Affiliates.

      “Economic Interests Pledge” means that certain Pledge and Security Agreement
(Economic Interests), dated as of the date hereof, by and among certain of the Borrowers and the
Administrative Agent.

        “EEA Financial Institution” means (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA
Resolution Authority, (b) any entity established in an EEA Member Country which is a parent of
an institution described in clause (a) of this definition, or (c) any financial institution established
in an EEA Member Country which is a subsidiary of an institution described in clauses (a) or (b)
of this definition and is subject to consolidated supervision with its parent;

       “EEA Member Country” means any of the member states of the European Union,
Iceland, Liechtenstein, and Norway.

        “EEA Resolution Authority” means any public administrative authority or any Person
entrusted with public administrative authority of any EEA Member Country (including any
delegee) having responsibility for the resolution of any EEA Financial Institution.

        “Effective Date” means the date on which the conditions specified in Section 4.01 are
satisfied (or waived in accordance with Section 9.02).

       “Electronic System” has the meaning set forth in ARTICLE VIII.



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        “Environmental Assessment” shall mean a written assessment and report approved by the
Administrative Agent as to the status of each Mortgaged Property regarding compliance with
any Legal Requirements related to environmental matters and accompanied by a reliance letter
satisfactory to the Administrative Agent. Each Environmental Assessment must comply with all
Legal Requirements.

        “Environmental Claim” means any notice of violation, action, claim, Environmental
Lien, demand, abatement or other order or direction (conditional or otherwise) by any
Governmental Authority or any other Person for personal injury (including sickness, disease or
death), tangible or intangible property damage, damage to the environment, nuisance, pollution,
contamination or other adverse effects on the environment, or for fines, penalties or restriction,
resulting from or based upon (i) the existence, or the continuation of the existence, of a Release
(including, without limitation, sudden or non-sudden accidental or non-accidental Releases) of,
or exposure to, any Hazardous Material, or other Release in, into or onto the environment
(including, without limitation, the air, soil, surface water or groundwater) at, in, by, from or
related to any property owned, operated or leased by the Borrower or any of its Subsidiaries or
any activities or operations thereof; (ii) the environmental aspects of the transportation, storage,
treatment or disposal of Hazardous Materials in connection with any property owned, operated
or leased by the Borrower or any of its Subsidiaries or their operations or facilities; or (iii) the
violation, or alleged violation, of any Environmental Laws or Environmental Permits of or from
any Governmental Authority relating to environmental matters connected with any property
owned, leased or operated by the Borrower or any of its Subsidiaries.

       “Environmental Indemnity” means that certain Environmental Compliance and
Indemnity Agreement of even date herewith by the Borrower and delivered to the Administrative
Agent, together with any other environmental risk or indemnity agreement hereafter executed
with respect to any Mortgaged Property.

         “Environmental Laws” means all applicable laws, rules, regulations, codes, ordinances,
orders, decrees, judgments, injunctions, or binding agreements issued, promulgated or entered
into by any Governmental Authority, relating in any way to the environment, preservation or
reclamation of natural resources, the management, release or threatened release of any
Hazardous Material or to health and safety matters and includes (without limitation) the
Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”), 42
U.S.C. § 9601 et seq., the Hazardous Materials Transportation Act, 49 U.S.C. § 1801 et seq.,
the Federal Insecticide, Fungicide, and Rodenticide Act, 7 U.S.C. § 136 et seq., the Resource
Conservation and Recovery Act (“RCRA”), 42 U.S.C. § 6901 et seq., the Toxic Substances
Control Act, 15 U.S.C. § 2601 et seq., the Clean Air Act, 42 U.S.C. §7401 et seq., the Clean
Water Act, 33 U.S.C. § 1251 et seq., the Occupational Safety and Health Act, 29 U.S.C. § 651
et seq., (to the extent the same relates to any Hazardous Materials), and the Oil Pollution Act of
1990, 33 U.S.C. § 2701 et seq., as such laws have been amended or supplemented, and the
regulations promulgated pursuant thereto, and all analogous state and local statutes.

         “Environmental Liability” means any liability, contingent or otherwise (including any
liability for damages, costs of environmental remediation, fines, penalties or indemnities), of the
Borrower or any Subsidiary directly or indirectly resulting from or based upon (a) violation of



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any Environmental Law, (b) exposure to any Hazardous Materials in violation of any
Environmental Law, (c) the Release or threatened Release of any Hazardous Materials into the
environment in violation of any Environmental Law or (d) any contract, agreement or other
consensual arrangement pursuant to which liability is assumed or imposed with respect to any of
the foregoing.

       “Environmental Lien” means any lien in favor of any Governmental Authority arising
under any Environmental Law.

       “Environmental Permit” means any permit required under any applicable Environmental
Law or under any and all supporting documents associated therewith.

        “Equity Interests” means, with respect to any Person, all of the shares, partnership or
membership interests, economic and other rights, participations or other equivalents (however
designated) of Capital Stock of such Person, all of the warrants, options or other rights for the
purchase or acquisition from such Person of shares of Capital Stock of such Person, all of the
securities convertible into or exchangeable for shares of Capital Stock of such Person or
warrants, rights or options for the purchase or acquisition from such Person of such shares (or
such other interests), and all of the other ownership or profit interests in such Person (including
partnership, membership or trust interests therein), whether voting or nonvoting, and whether or
not such shares, warrants, options, rights or other interests are outstanding on any date of
determination.

        “Equity Offering” means, any issuance and/or sale after the effective Date by any Person
of any Equity Interests or equity securities of such Person, including, without limitation, (a) any
new preferred securities, and (b) any conversion of equity interests or securities into equity
interests in such Person.

        “Equity Percentage” means the aggregate ownership percentage of Borrower in each
Unconsolidated Affiliate, which shall be calculated as the greater of (a) Borrower’s nominal
capital ownership interest in the Unconsolidated Affiliate as set forth in the Unconsolidated
Affiliate’s organizational documents, and (b) Borrower’s economic ownership interest in the
Unconsolidated Affiliate, reflecting Borrower’s share of income and expenses of the
Unconsolidated Affiliate.

        “Equity Proceeds Pledge” shall mean the pledge and security agreement dated as of even
date herewith related to any equity issuance proceeds of the Borrower granted by the Borrower
to the Administrative Agent, together with all other instruments, agreements and written
obligations executed and/or delivered by any of the Borrowers in connection therewith.

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
from time to time.

        “ERISA Affiliate” means any trade or business (whether or not incorporated) that,
together with the Borrower, is treated as a single employer under Section 414(b) or (c) of the
Code or, solely for purposes of Section 302 of ERISA and Section 412 of the Code, is treated as
a single employer under Section 414 of the Code.


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        “ERISA Event” means (a) any “reportable event”, as defined in Section 4043 of ERISA
or the regulations issued thereunder with respect to a Plan (other than an event for which the 30-
day notice period is waived); (b) the existence with respect to any Plan of an “accumulated
funding deficiency” (as defined in Section 412 of the Code or Section 302 of ERISA), whether
or not waived; (c) the filing pursuant to Section 412(d) of the Code or Section 303(d) of ERISA
of an application for a waiver of the minimum funding standard with respect to any Plan; (d) the
incurrence by the Borrower or any of its ERISA Affiliates of any liability under Title IV of
ERISA with respect to the termination of any Plan; (e) the receipt by the Borrower or any
ERISA Affiliate from the PBGC or a plan administrator of any notice relating to an intention to
terminate any Plan or Plans or to appoint a trustee to administer any Plan; (f) the incurrence by
the Borrower or any of its ERISA Affiliates of any liability with respect to the withdrawal or
partial withdrawal from any Plan or Multiemployer Plan; or (g) the receipt by the Borrower or
any ERISA Affiliate of any notice, or the receipt by any Multiemployer Plan from the Borrower
or any ERISA Affiliate of any notice, concerning the imposition of Withdrawal Liability or a
determination that a Multiemployer Plan is, or is expected to be, insolvent or in reorganization,
within the meaning of Title IV of ERISA.

       “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published
by the Loan Market Association (or any successor person), as in effect from time to time.

       “Eurodollar,” when used in reference to any Loan or Borrowing, refers to whether such
Loan, or the Loans comprising such Borrowing, are bearing interest at a rate determined by
reference to the Adjusted LIBO Rate.

       “Event of Default” has the meaning assigned to such term in Article VII.

        “Excluded Swap Obligation” means, with respect to the liability of any Borrower with
respect to a Swap Obligation, including the grant of a security interest to secure such Swap
Obligation, any Swap Obligation if, and to the extent that, such Swap Obligation is or becomes
illegal under the Commodity Exchange Act or any rule, regulation or order of the Commodity
Futures Trading Commission (or the application or official interpretation of any thereof) by
virtue of such Borrower’s failure for any reason to constitute an “eligible contract participant” as
defined in the Commodity Exchange Act and the regulations thereunder at the time the liability
or grant of such security interest becomes effective with respect to such Swap Obligation. If a
Swap Obligation arises under an agreement governing more than one swap, such exclusion shall
apply only to the portion of such Swap Obligation that is attributable to swaps for which such
Swap Obligation or security interest is or becomes illegal.

        “Excluded Taxes” means, any of the following Taxes imposed on or with respect to a
Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes
imposed on or measured by net income (however denominated), franchise Taxes, and branch
profits Taxes, in each case, (i) imposed as a result of such Recipient being organized under the
laws of, or having its principal office or, in the case of any Lender, its applicable lending office
located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that
are Other Connection Taxes, (b) in the case of a Lender, U.S. federal withholding Taxes imposed
on amounts payable to or for the account of such Lender with respect to an applicable interest in
a Loan or its Commitment pursuant to Legal Requirements in effect on the date on which (i)


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such Lender acquires such interest in the Loan or its Commitment (other than pursuant to an
assignment request by the Borrowers under Section 2.17 as a result of costs sought to be
reimbursed pursuant to Section 2.17 or (ii) such Lender changes its lending office, except in each
case to the extent that, pursuant to Section 2.17 amounts with respect to such Taxes were payable
either to such Lender’s assignor immediately before such Lender became a party hereto or to
such Lender immediately before it changed its lending office, (c) Taxes attributable to such
Recipient’s failure to comply with Section 2.17 and (d) any U.S. federal withholding Taxes
imposed under FATCA.

        “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations or official
interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of the
Code.

        “Federal Funds Effective Rate” means, for any day, the weighted average (rounded
upwards, if necessary, to the next 1/100 of 1%) of the rates on overnight Federal funds
transactions with members of the Federal Reserve System arranged by Federal funds brokers, as
published on the next succeeding Business Day by the Federal Reserve Bank of New York, or, if
such rate is not so published for any day that is a Business Day, the average (rounded upwards, if
necessary, to the next 1/100 of 1%) of the quotations for such day for such transactions received
by the Administrative Agent from three Federal funds brokers of recognized standing selected by
it. Notwithstanding the foregoing, if the Federal Funds Effective Rate shall be less than zero,
such rate shall be deemed zero for the purposes of this Agreement.

       “Fee Letter” means that certain Fee Letter dated as of the date hereof by and between the
Borrower and the Agent, as the same may be amended, restated, supplemented, or otherwise
modified from time to time.

        “Financing Statements” means all such Uniform Commercial Code financing statements
as the Administrative Agent shall require, duly authorized by the Borrower, to give notice of and
to perfect or continue perfection of the Lenders' security interest in all Collateral.

         “Fixed Charge Coverage Ratio” means the ratio of (a) Adjusted EBITDA for the
immediately preceding calendar quarter of Borrower and its Subsidiaries to (b) the sum of (i) all
regularly scheduled principal due and payable and actually paid on Indebtedness (other than
amounts paid in connection with balloon maturities and payments in respect of the Loans),
including the Equity Percentage for such amounts for the Borrower’s Unconsolidated Affiliates,
plus (ii) all Interest Expense, plus (iii) the aggregate amount of all cash dividends payable on any
preferred stock for the immediately preceding calendar quarter, in each case, for the Borrower
and its Subsidiaries.

       “Foreign Lender” means, if a Borrower is a U.S. Person, a Lender that is not a U.S.
Person, and if a Borrower is not a U.S. Person, a Lender that is resident or organized under the
laws of a jurisdiction other than that in which such Borrower is resident for tax purposes.




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      “GAAP” means generally accepted accounting principles in the United States of
America, subject to the provisions of Section 1.04.

        “Governmental Authority” means the government of the United States of America, any
other nation or any political subdivision thereof, whether state or local, and any agency,
authority, instrumentality, regulatory body, court, central bank or other entity exercising
executive, legislative, judicial, taxing, regulatory or administrative powers or functions of or
pertaining to government.

        “Guarantee” of or by any Person (the “guarantor”) means any obligation, contingent or
otherwise, of the guarantor guaranteeing or having the economic effect of guaranteeing any
Indebtedness or other obligation of any other Person (the “primary obligor”) in any manner,
whether directly or indirectly, and including any obligation of the guarantor, direct or indirect,
(a) to purchase or pay (or advance or supply funds for the purchase or payment of) such
Indebtedness or other obligation or to purchase (or to advance or supply funds for the purchase
of) any security for the payment thereof, (b) to purchase or lease property, securities or services
for the purpose of assuring the owner of such Indebtedness or other obligation of the payment
thereof, (c) to maintain working capital, equity capital or any other financial statement condition
or liquidity of the primary obligor so as to enable the primary obligor to pay such Indebtedness
or other obligation or (d) as an account party in respect of any letter of credit or letter of guaranty
issued to support such Indebtedness or obligation; provided, that the term Guarantee shall not
include endorsements for collection or deposit in the ordinary course of business.

        “Hazardous Materials” means all explosive or radioactive substances or wastes and all
hazardous or toxic substances or wastes, including petroleum or petroleum distillates, asbestos or
asbestos containing materials, polychlorinated biphenyls, radon gas, infectious or medical wastes
and all other substances or wastes of any nature regulated pursuant to any Environmental Law;
provided, that Hazardous Materials shall not include any such substances or wastes utilized or
maintained at the Real Property in the ordinary course of business and in accordance with all
applicable Environmental Laws.

        “HCRE Property” “individually, or collectively “HCRE Properties,” means, as of the
Effective Date, each of the Real Properties set forth in Schedule 1.01(A) hereto.

        “Hedging Agreement” means any interest rate protection agreement (including an interest
rate cap), foreign currency exchange agreement, commodity price protection agreement or other
interest or currency exchange rate or commodity price hedging arrangement.

        “Hedging Obligations” means, with respect to the any Borrower or any Subsidiary of the
Borrower, any obligations arising under any Hedging Agreement entered into with the
Administrative Agent or any Lender with respect to the Loans. Under no circumstances shall
any of the Hedging Obligations secured or guaranteed by any Loan Document as to a surety or
guarantor thereof include any obligation that constitutes an Excluded Swap Obligation of such
Person.

        “Highland Capital” means HIGHLAND CAPITAL MANAGEMENT, LP, a Delaware
limited partnership.


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       “Impacted Interest Period” has the meaning set forth in the definition of LIBO Rate.

        “Indebtedness” of any Person means, without duplication, (a) all obligations of such
Person for borrowed money or with respect to deposits or advances of any kind, (b) all
obligations of such Person evidenced by bonds, debentures, notes or similar instruments,
including mandatorily redeemable preferred stock, (c) all obligations of such Person upon which
interest charges are customarily paid, (d) all obligations of such Person under conditional sale or
other title retention agreements relating to property acquired by such Person, (e) all obligations
of such Person in respect of the deferred purchase price of property or services (excluding
current accounts payable incurred in the ordinary course of business), (f) all Indebtedness of
others secured by (or for which the holder of such Indebtedness has an existing right, contingent
or otherwise, to be secured by) any Lien on property owned or acquired by such Person, whether
or not the Indebtedness secured thereby has been assumed, (g) all Guarantees by such Person of
Indebtedness of others, but excluding customary non-recourse, carveout guarantees and
environmental indemnitees until such time as such guarantees or indemnitees become a recourse
obligation, (h) all Capital Lease Obligations of such Person, (i) all obligations, contingent or
otherwise, of such Person as an account party in respect of letters of credit and letters of
guaranty, (j) all obligations, contingent or otherwise, of such Person in respect of bankers'
acceptances, (k) all obligations, contingent or otherwise, of such Person with respect to any
Hedging Agreements (calculated on a mark-to-market basis as of the reporting date), and (l)
payments received in consideration of sale of an ownership interest in Borrower when the
interest so sold is determined, and the date of delivery is, more than one (1) month after receipt
of such payment and only to the extent that the obligation to deliver such interest is not payable
solely in such interest of such Person. The Indebtedness of any Person shall include the
Indebtedness of any other entity (including any partnership in which such Person is a general
partner) to the extent such Person is liable therefor as a result of such Person’s ownership
interest in or other relationship with such entity, except to the extent the terms of such
Indebtedness provide that such Person is not liable therefor. For purposes of calculating the
financial covenants set forth herein, Indebtedness shall not include any Indebtedness that has
been expressly subordinated in right of payment to the Obligations on terms and conditions
acceptable to the Administrative Agent, including, without limitation, intercompany
Indebtedness that is subject to Section 6.10(b). Indebtedness shall be calculated on a
consolidated basis for the Borrower and its Wholly-Owned Subsidiaries, and including (without
duplication) the Equity Percentage of Indebtedness for the Borrower’s Unconsolidated Affiliates.

        “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of the Borrowers under any
Loan Document and (b) to the extent not otherwise described in the immediately preceding
clause (a), Other Taxes.

       “Information Materials” has the meaning set forth in ARTICLE VIII.

       “Interest Election Request” means a request by the Borrower to convert or continue the
then outstanding amount of the Loan in accordance with Section 2.07.

        “Interest Expense” means, with respect to any Person, all paid, accrued or capitalized
interest expense on such Person’s Indebtedness (whether direct, indirect or contingent, and


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including, without limitation, interest on all convertible debt), and including (without
duplication) the Equity Percentage of Interest Expense for the Borrower’s Unconsolidated
Affiliates.

       “Interest Payment Date” means the first Business Day of each calendar month.

        “Interest Period” means with respect to any Eurodollar Loan, the period commencing on
the date that the then outstanding portion of the Loan is converted to or continued as a
Eurodollar Loan, and ending on the numerically corresponding day in the calendar month that is
one or three months thereafter; provided, that (a) if any Interest Period would end on a day other
than a Business Day, such Interest Period shall be extended to the next succeeding Business Day
unless such next succeeding Business Day would fall in the next calendar month, in which case
such Interest Period shall end on the next preceding Business Day and (b) any Interest Period
pertaining to a Eurodollar Loan that commences on the last Business Day of a calendar month
(or on a day for which there is no numerically corresponding day in the last calendar month of
such Interest Period) shall end on the last Business Day of the last calendar month of such
Interest Period. For purposes hereof, the date of a Borrowing initially shall be the date on which
such Borrowing is made and, in the case of a Borrowing, thereafter shall be the effective date of
the most recent conversion or continuation of such Borrowing.

        “Interpolated Rate” means, at any time, for any Interest Period, the rate per annum
(rounded to the same number of decimal places as the LIBO Rate) determined by the
Administrative Agent (which determination shall be conclusive and binding absent manifest
error) to be equal to the rate that results from interpolating on a linear basis between: (a) the
LIBO Rate for the longest period for which the LIBO Rate is available that is shorter than the
Impacted Interest Period; and (b) the LIBO Rate for the shortest period for which that LIBO Rate
is available that exceeds the Impacted Interest Period, in each case, at such time.

       “KeyBank” means KeyBank, National Association, in its individual capacity.

       “Lead Borrower” means HCRE Partners, LLC.

        “Legal Requirement” means any law, statute, ordinance, decree, requirement, order,
judgment, rule, regulation (or interpretation of any of the foregoing) of, and the terms of any
license or permit issued by, any Governmental Authority.

       “Lenders” means the Persons listed on Schedule 2.01 and any other Person that shall
have become a party hereto pursuant to an Assignment and Acceptance, other than any such
Person that ceases to be a party hereto pursuant to an Assignment and Acceptance.

        “LIBO Rate” means, subject to Section 2.14(b),with respect to any Eurodollar Borrowing
for any Interest Period, the London interbank offered rate as administered by ICE Benchmark
Administration (or any other Person that takes over the administration of such rate for U.S.
Dollars) for a period equal in length to such Interest Period as displayed on pages LIBOR01 or
LIBOR02 of the Reuters screen that displays such rate (or, in the event such rate does not appear
on a Reuters page or screen, on any successor or substitute page on such screen that displays
such rate, or on the appropriate page of such other information service that publishes such rate


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from time to time as selected by the Administrative Agent in its reasonable discretion; in each
case the “LIBOR Screen Rate”) at approximately 11:00 a.m., London time, two Business Days
prior to the commencement of such Interest Period; provided that (i) if the LIBOR Screen Rate
shall be less than zero, such rate shall be deemed to be zero for the purposes of this Agreement;
provided further that if the LIBOR Screen Rate shall not be available at such time for such
Interest Period (an “Impacted Interest Period”) then the LIBO Rate shall be the Interpolated
Rate; provided that if any Interpolated Rate shall be less than zero, such rate shall be deemed to
be zero for purposes of this Agreement, and (ii) if no such rate administered by ICE Benchmark
Administration (or by such other Person that has taken over the administration of such rate for
U.S. Dollars) is available to the Administrative Agent, the applicable LIBO Rate for the relevant
Interest Period shall instead be the rate determined by the Administrative Agent to be the rate at
which KeyBank or one of its Affiliate banks offers to place deposits in U.S. dollars with first
class banks in the London interbank market at approximately 11:00 a.m. (London time) two
Business Days prior to the first day of such Interest Period, in the approximate amount of the
relevant Eurodollar Loan and having a maturity equal to such Interest Period.

       “LIBOR Screen Rate” is defined in the definition of LIBO Rate.

        “Lien” means, with respect to an asset, (a) any mortgage, deed of trust, lien (statutory or
other), pledge, hypothecation, negative pledge, collateral assignment, encumbrance, deposit
arrangement, charge or security interest in, on or of such asset; (b) the interest of a vendor or a
lessor under any conditional sale agreement, capital lease or title retention agreement (or any
financing lease having substantially the same economic effect as any of the foregoing) relating to
such asset; (c) the filing under the Uniform Commercial Code or comparable law of any
jurisdiction of any financing statement naming the owner of the asset to which such Lien relates
as debtor; (d) any other preferential arrangement of any kind or nature whatsoever intended to
assure payment of any Indebtedness or other obligation; and (e) in the case of securities, any
purchase option, call or similar right of a third party with respect to such securities, including
any dividend reinvestment or redemption plans.

        “Liquidity” means the sum of (i) unencumbered and unrestricted cash and cash
equivalents of the Borrower, excluding any debt service, capital improvement or other similar
reserve funds held under or required by any loan documents entered in to by the Borrower or any
Subsidiary, plus (ii) the market value of all common shares of NexPoint Residential Trust, Inc.
or operating partnership units in NexPoint Residential Operating Partnership, LP, in each case,
owned by The Dugaboy Investment Trust and which have been pledged as Collateral for the
Obligations, plus (iii) the market value of all unencumbered and unrestricted marketable
securities held by Borrower, plus (iv) the market value of all unencumbered and unrestricted
marketable securities held by Borrower less all related outstanding Indebtedness.

       “Loan” means the loans made by the Lenders to the Borrower pursuant to Section 2.02 of
this Agreement, including, without limitation, the Tranche A Loan and Tranche B Loan.

       “Loan Documents” means this Agreement, the Notes, the Mortgages, the Environmental
Indemnity, the Pledge Agreement, the Equity Proceeds Pledge, the Economic Interests Pledge,
the Financing Statements, and all other instruments, agreements and written obligations executed
and delivered by any of the Borrowers in connection with the transactions contemplated hereby.


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        “Management Company” means, each of BH Management Services, LLC, an Iowa
limited liability company, and Milestone Management, LLC, a Delaware limited liability
company.

       “Mandatory Prepayment” has the meaning set forth in Section 2.11(d).

         “Material Adverse Effect” means a material adverse effect on (a) the business, assets,
operations, or financial condition of (i) the Borrower and its Subsidiaries taken as a whole,
(b) the ability of any of the Borrowers to perform their obligations under the Loan Documents or
(c) the rights of or benefits available to the Administrative Agent or the Lenders under the Loan
Documents; provided, however, that none of the following shall constitute, or shall be
considered in determining whether there has occurred, and no event, circumstance, change or
effect resulting from or arising out of any of the following shall constitute, a Material Adverse
Effect: (A) changes in the national or world economy or financial markets as a whole or changes
in general economic conditions that affect the industries in which the Borrower, and its
Subsidiaries conduct their business, so long as such changes or conditions do not adversely
affect the Borrower, and its Subsidiaries, taken as a whole, in a materially disproportionate
manner relative to other similarly situated participants in the industries or markets in which they
operate; (B) any change in applicable Law, rule or regulation or GAAP or interpretation thereof
after the date hereof, so long as such changes do not adversely affect the Borrower, and its
Subsidiaries, taken as a whole, in a materially disproportionate manner relative to other similarly
situated participants in the industries or markets in which they operate; (C) the failure, in and of
itself, of the Borrower to meet any published or internally prepared estimates of revenues,
earnings or other financial projections, performance measures or operating statistics; or (D)
compliance with the terms of, and taking any action required by, this Agreement, or taking or not
taking any actions at the request of, or with the consent of, the Administrative Agent.

       “Material Contract” means any contract or other arrangement (other than Loan
Documents), whether written or oral, to which any Borrower is a party as to which the breach,
nonperformance, cancellation or failure to renew by any party thereto could reasonably be
expected to have a Material Adverse Effect.

       “Maturity Date” means the Tranche A Maturity Date or the Tranche B Maturity Date, as
applicable.

       “Maximum Rate” shall have the meaning set forth in Section 9.13.

       “Mortgage” (whether one or more) means a deed of trust and security agreement, a
mortgage and security agreement, or a security deed (or deed to secure debt) and security
agreement granted by each Property Owner Borrower in favor of the Administrative Agent, for
the benefit of the Lenders, covering each Mortgaged Property in the aggregate amount of the
Tranche A Loan.

        “Mortgaged Property” individually, or collectively “Mortgaged Properties,” means, as of
the Effective Date, each of the nine (9) Real Properties identified as “Mortgaged Properties” in
Schedule 3.05 hereto.



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     “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of
ERISA.

        “Note” means a promissory note in the form attached hereto as Exhibit D payable to a
Lender evidencing certain of the obligations of the Borrower under the Loans to such Lender and
executed by Borrower, as the same may be amended, supplemented, modified or restated from
time to time; “Notes” means, collectively, all of such Notes outstanding at any given time.

         “Obligations” means all liabilities, obligations, covenants and duties of any Borrower to
the Administrative Agent and/or any Lender arising under or otherwise with respect to any Loan
Document, whether direct or indirect (including those acquired by assumption), absolute or
contingent, due or to become due, now existing or hereafter arising and including interest and
fees that accrue after the commencement by or against any Borrower or any Affiliate thereof of
any proceeding under any bankruptcy or other insolvency proceeding naming such person as the
debtor in such proceeding, regardless of whether such interest and fees are allowed claims in
such proceedings. For the avoidance of doubt, “Obligations” shall not include any indebtedness,
liabilities, obligations, covenants or duties in respect of Hedging Obligations.

       “OFAC” has the meaning set forth in Section 3.16.

      “Offering Documents” means, each Private Placement Memorandum and any
supplements thereto relating to the sale of beneficial interests in any Specified DST, all as
approved by Agent.

        “Other Taxes” means, all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, any Loan Document, except any such Taxes that are
Other Connection Taxes imposed with respect to an assignment (other than an assignment made
pursuant to Section 2.17 as a result of costs sought to be reimbursed pursuant to Section 2.17).

       “Patriot Act” has the meaning set forth in Section 9.14.

     “PBGC” means the Pension Benefit Guaranty Corporation referred to and defined in
ERISA and any successor entity performing similar functions.

       “Permitted Encumbrances” means:

              (a)    Liens imposed by law for taxes that are not yet due or are being contested
in compliance with Section 5.05;

                (b) pledges and deposits made in the ordinary course of business in
compliance with workers’ compensation, unemployment insurance and other social security laws
or regulations;

               (c)     deposits to secure the performance of bids, trade contracts, purchase,
construction or sales contracts, leases, statutory obligations, surety and appeal bonds,



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performance bonds and other obligations of a like nature, in each case in the ordinary course of
business;

               (d)    the Title Instruments, Liens and other matters described in the Title
Insurance Policy for each Portfolio Property or HCRE Property;

               (e)     uniform commercial code protective filings with respect to personal
property leased to the Borrower or any Subsidiary;

               (f)    landlords’ liens for rent not yet due and payable;

              (g)     Liens on the Equity Interests in the Stonebridge DST and NexPoint
       Residential Trust Inc. securing the Stonebridge Term Loan; and

              (g)    liens on a Portfolio Property (other than a Mortgaged Property) arising
under the Senior Loan or on an HCRE Property arising under property-level Indebtedness
secured by such Real Property;

provided that the term “Permitted Encumbrances” shall not include any Lien securing
Indebtedness other than the Senior Loan and the Stonebridge Term Loan.

       “Permitted Investments” means:

               (a)    direct obligations of, or obligations the principal of and interest on which
are unconditionally guaranteed by, the United States of America (or by any agency thereof to the
extent such obligations are backed by the full faith and credit of the United States of America),
in each case maturing within one year from the date of acquisition thereof;

                (b)    investments in commercial paper maturing within 270 days from the date
of acquisition thereof and having an investment grade credit rating on the date of acquisition;

               (c)    investments in certificates of deposit, banker's acceptances and time
deposits maturing within 180 days from the date of acquisition thereof issued or guaranteed by
or placed with, and money market deposit accounts issued or offered by, any domestic office of
any commercial bank organized under the laws of the United States of America or any State
thereof which has a combined capital and surplus and undivided profits of not less than
$500,000,000;

                (d)      fully collateralized repurchase agreements with a term of not more than 90
days for securities described in clause (a) above and entered into with a financial institution
satisfying the criteria described in clause (c) above; and

              (e)   investments of a Borrower in Subsidiaries and Unconsolidated Affiliates
made in accordance with this Agreement.

       “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity.



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        “Plan” means any employee pension benefit plan (other than a Multiemployer Plan)
subject to the provisions of Title IV of ERISA or Section 412 of the Code or Section 302 of
ERISA, and in respect of which the Borrower or any ERISA Affiliate is (or, if such plan were
terminated, would under Section 4069 of ERISA be deemed to be) an “employer” as defined in
Section 3(5) of ERISA.

        “Pledge Agreement” means those certain Pledge and Security Agreements executed by
the Borrower in favor of Administrative Agent pledging Borrower’s interest in the Pledged
Interests.

       “Pledged DST Account” has the meaning set forth in Section 6.13(d).

        “Pledged Interests” means, collectively, the ownership (or in the reasonable discretion of
the Administrative Agent, the economic) interests now or hereafter pledged by Borrower and
each Collateral Subsidiary and the economic interest, including rights to receive cash and other
distributions from each other Subsidiary of the Borrower hereunder and subject to the liens and
security interests of the Loan Documents, or intended so to be.

         “Portfolio One DST” means NREA Southeast Portfolio One, DST, a Delaware statutory
trust, in its capacity as owner of Equity Interests in the Andros Isles, Arborwalk, Walker Ranch,
and Towne Crossing properties.

        “Portfolio One DST Depositor” means NREA SE MF Investment Co, LLC, a Delaware
limited liability company, in its capacity as depositor for the Portfolio One DST.

        “Portfolio Property” individually, or “Portfolio Properties” collectively, means each of
the twenty three (23) Real Properties listed on Schedule 3.05 hereto, including, without
limitation, the Mortgaged Properties.

        “Portfolio Three DST” means NREA Southeast Portfolio Three, DST, a Delaware
statutory trust, in its capacity as owner of Equity Interests in the Arboleda, Fairways, and Grand
Oasis properties.

        “Portfolio Three DST Depositor” means NREA SE MF Investment Co, LLC, a Delaware
limited liability company, in its capacity as depositor for the Portfolio Three DST.

         “Portfolio Two DST” means NREA Southeast Portfolio Two, DST, a Delaware statutory
trust, in its capacity as owner of Equity Interests in the West Place, Vista Ridge, and Hidden
Lake properties.

        “Portfolio Two DST Depositor” means NREA SE MF Investment Co, LLC, a Delaware
limited liability company, in its capacity as depositor for the Portfolio Two DST

        “Prime Rate” means the rate of interest per annum publicly announced from time to time
by KeyBank, National Association, as its prime rate in effect at its principal office in Cleveland,
Ohio; each change in the Prime Rate shall be effective from and including the date such change
is publicly announced as being effective.



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       “Property Owner Borrower” means each of the Persons listed on Schedule 1.01 hereto,
which own the Mortgaged Properties.

        “Qualified ECP Party” means, in respect of any interest rate cap, swap or other hedging
obligation, each Person which is a Borrower that has total assets exceeding $10,000,000 at the
time such Borrower’s guarantee, mortgage and/or other credit or collateral support, of such
interest rate cap, swap or other hedging obligation secured pursuant to the Deed to Secure Debt
becomes effective, or otherwise constitutes an “eligible contract participant” under the
Commodity Exchange Act or any regulations promulgated thereunder.

       “Real Property” means, collectively, all interest in any land and improvements located
thereon (including direct financing leases of land and improvements owned by a Borrower or
any of Borrower’s Subsidiaries), together with all equipment, furniture, materials, supplies and
personal property now or hereafter located at or used in connection with the land and all
appurtenances, additions, improvements, renewals, substitutions and replacements thereof now
or hereafter acquired by a Borrower or any of Borrower’s Subsidiaries.

       “Recipient” means, each of the Administrative Agent and any Lender.

       “Register” has the meaning set forth in Section 9.04.

        “REIT Borrower” means SE MULTIFAMILY REIT HOLDINGS, LLC, a Delaware
limited liability company.

       “Related Parties” means, with respect to any specified Person, such Person's Affiliates
and the respective directors, officers, employees, agents and advisors of such Person and such
Person’s Affiliates.

       “Release” means any release, spill, emission, leaking, pumping, pouring, dumping,
emptying, injection, deposit, disposal, discharge, dispersal, leaching or migration on or into the
indoor or outdoor environment or into or out of any property in violation of applicable
Environmental Laws.

       “Remedial Action” means all actions, including without limitation any capital
expenditures, required or necessary to (i) clean up, remove, treat or in any other way address any
Hazardous Material; (ii) prevent the Release or threat of Release, or minimize the further
Release, of any Hazardous Material so it does not migrate or endanger public health or the
environment; (iii) perform pre-remedial studies and investigations or post-remedial monitoring
and care; or (iv) bring facilities on any property owned or leased by the Borrower or any of its
Subsidiaries into compliance with all Environmental Laws.

       “Required Lenders” means, as of any date of determination, Lenders having more than 66
2/3% of the Commitments or, if the Commitments of each Lender to make Loans have been
terminated pursuant to Article VII, Lenders holding in the aggregate at least 66 2/3% of the
aggregate Obligations; provided that the Commitment of, and the portion of the Obligations held
or deemed held by, any Defaulting Lender shall be excluded for purposes of making a
determination of Required Lenders.


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        “Restricted Payment” means any dividend or other distribution (whether in cash,
securities or other property) with respect to any ownership interests in the Borrower or any
Subsidiary, or any payment (whether in cash, securities or other property), including any sinking
fund or similar deposit, on account of the purchase, redemption, retirement, acquisition,
cancellation or termination of any such ownership interests in the Borrower or any option,
warrant or other right to acquire any such shares of capital stock of the Borrower.

       “Senior Credit Agreement” means, collectively, each of those certain Loan Agreements,
as amended, with the Federal Home Loan Mortgage Corporation, as lender, set forth on Schedule
3.05 hereof with respect to the Portfolio Properties (other than the Mortgaged Properties).

       “Senior Loan” means each loan made pursuant to a Senior Credit Agreement.

        “Senior Loan Documents” means each Senior Credit Agreement and all other
instruments, agreements and written obligations executed and delivered in connection with the
transactions contemplated by a Senior Credit Agreement.

        “Specified DST” means the Portfolio One DST, the Portfolio Two DST, the Portfolio
Three DST, the Stonebridge DST, and any other DST approved by the Agent that owns an
interest in the properties owned by the Portfolio One DST, Portfolio Two DST, o Portfolio Three
DST, as of the Effective Date.

        “Specified DST Depositor” means the Portfolio One DST Depositor, the Portfolio Two
DST Depositor, the Portfolio Three DST Depositor, the Stonebridge DST Depositor, and any
other depositor approved by the Agent with respect to any DST that owns an interest in the
properties owned by the Portfolio One DST, Portfolio Two DST, or Portfolio Three DST, as of
the Effective Date.

        “Statutory Reserve Rate” means a fraction (expressed as a decimal), the numerator of
which is the number one and the denominator of which is the number one minus the aggregate of
the maximum reserve percentages (including any marginal, special, emergency or supplemental
reserves) expressed as a decimal established by the Governmental Authority to which the
Administrative Agent is subject, with respect to the Adjusted LIBO Rate, for Eurocurrency
funding (currently referred to as “Eurocurrency Liabilities” in Regulation D of the Board). Such
reserve percentages shall include those imposed pursuant to such Regulation D. Eurodollar
Loans shall be deemed to constitute Eurocurrency funding and to be subject to such reserve
requirements without benefit of or credit for proration, exemptions or offsets that may be
available from time to time to any Lender under such Regulation D or any comparable
regulation. The Statutory Reserve Rate shall be adjusted automatically on and as of the effective
date of any change in any reserve percentage.

       “Stonebridge DST” means NREA Retreat, DST, a Delaware statutory trust, which will
own the Retreat at Stonebridge Ranch property located in McKinney, TX.

        “Stonebridge DST Depositor” means NREA Retreat Investment Co, LLC, a Delaware
limited liability company, in its capacity as depositor for Stonebridge DST.



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      “Stonebridge Term Loan” means the term loan made by KeyBank pursuant to that certain
Second Amended and Restated Credit Agreement dated as of September 17, 2018 by and among
NexPoint Real Estate Advisors IV, L.P. and The Dugaboy Investment Trust, as borrowers, and
KeyBank National Association, as lender.

        “Subsidiary” means, with respect to Borrower, as applicable (the “parent”), at any date,
any corporation, limited liability company, partnership, association or other entity the accounts
of which would be consolidated with those of the parent in the parent's consolidated financial
statements if such financial statements were prepared in accordance with GAAP as of such date,
as well as any other corporation, limited liability company, partnership, association or other
entity (a) of which securities or other ownership interests representing more than 50% of the
equity or more than 50% of the ordinary voting power or, in the case of a partnership, more than
50% of the general partnership interests are, as of such date, owned, controlled or held by parent,
or (b) that is, as of such date, otherwise Controlled, by the parent or one or more subsidiaries of
the parent.

      “Summers Landing Property” means that certain Real Property known as Summers
Landing and located at 3900 Centreport Drive, Fort Worth, Texas 76155, which is indirectly
owned by the BH Pledgor.

      “Swap Obligation” means, any Hedging Obligation that constitutes a “swap” within the
meaning of section 1a(47) of the Commodity Exchange Act.

        “Tangible Net Worth” shall mean, with respect to the Borrowers and their Subsidiaries,
(a) total assets (without deduction for accumulated depreciation and accumulated amortization of
lease intangibles) less (b) all intangible assets and (c) all liabilities (including contingent and
indirect liabilities), all determined in accordance with sound accounting principles, consistently
applied. The term “intangible assets” shall include, without limitation, (i) deferred charges such
as straight-line rents and other non-cash items, and (ii) the aggregate of all amounts appearing on
the assets side of any such balance sheet for franchises, licenses, permits, patents, patent
applications, copyrights, trademarks, trade names, goodwill, treasury stock, experimental or
organizational expenses and other like intangibles (other than amounts related to the purchase
price of real property which are allocated to lease intangibles). The term “liabilities” shall
include, without limitation, (i) Indebtedness secured by Liens on property of the Person with
respect to which Tangible Net Worth is being computed whether or not such Person is liable for
the payment thereof, (ii) deferred liabilities, and (iii) Capital Lease Obligations. Tangible Net
Worth shall be calculated on a consolidated basis Borrower and their Wholly-Owned
Subsidiaries and including the Borrower’s Equity Percentage of Tangible Net Worth of the
Borrower’s Unconsolidated Affiliates.

       “Taxes” means any and all present or future taxes, levies, imposts, duties, deductions,
charges or withholdings imposed by any Governmental Authority.

        “The Dugaboy Investment Trust” means THE DUGABOY INVESTMENT TRUST,
under trust agreement dated November 15, 2010.




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       “The SLHC Trust” means THE SLHC TRUST, under trust agreement dated December
27, 2016.

        “Title Instruments” means true and correct copies of all instruments of record in the
Office of the County Clerk, the Real Property Records or of any other Governmental Authority
affecting title to all or any part of the Portfolio Properties, including but not limited to those (if
any) which impose restrictive covenants, easements, rights-of-way or other encumbrances on all
or any part of such Real Properties.

        “Title Insurance Policy” means, collectively, (i) with respect to the Mortgaged
Properties, the policies of title insurance in the aggregate face amounts equal to the Tranche A
Loan, issued in favor of the Administrative Agent by a title insurance company satisfactory to
the Administrative Agent and insuring that title to each Mortgaged Property is vested in the
applicable Property Owner Borrower, free and clear of any Lien, objection, exception or
requirement, and that each Mortgage creates a valid first and prior lien on all the applicable
Mortgaged Property, subject only to the Permitted Encumbrances and such other exceptions as
may be approved in writing by the Administrative Agent, and (ii) with respect to other Real
Property, the policies of title issued in favor of the respective Collateral Subsidiary by a title
insurance company satisfactory to the lender under a Senior Credit Agreement or other
Indebtedness secured by such Real Property and insuring that title to such Real Property is
vested in such Collateral Subsidiary, free and clear of any Lien, objection, exception or
requirement, subject only to the Permitted Encumbrances.

      “Titled Agents” means, collectively, the Arranger and any syndication agents or
documentation agent named as such on the cover page of this Agreement.

       “Total Asset Value” means the sum of (without duplication) (a) the aggregate Appraised
Value of all of the Portfolio Properties, plus (b) total assets (without deduction for accumulated
depreciation and amortization) of the Borrowers (other than the Property Owner Borrowers)
determined in accordance with sound accounting principles, consistently applied. For any non-
wholly owned Real Properties, Total Asset Value shall be adjusted for Borrower’s and
Subsidiaries’ Equity Percentage thereof.

       “Total Leverage Ratio” means the ratio (expressed as a percentage) of (a) the
Indebtedness of Borrower to (b) Total Asset Value.

       “Tranche A Initial Maturity Date” means March 26, 2019.

       “Tranche A Maturity Date” means the earlier of (i) the Tranche A Initial Maturity Date,
as such date may be extended as provided in Section 2.21, and (ii) the date on which the Tranche
A Loans shall become due and payable pursuant to the terms hereof.

       “Tranche B Initial Maturity Date” means September 26, 2019.

       “Tranche B Maturity Date” means the earlier of (i) the Tranche B Initial Maturity Date,
as such date may be extended as provided in Section 2.22, and (ii) the date on which the Tranche
B Loans shall become due and payable pursuant to the terms hereof.


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      “Transactions” means the execution, delivery and performance by the Borrowers of the
Loan Documents, the borrowing of the Loans, and the use of the proceeds thereof.

        “Trust Agreement” means the Trust Agreement for the Portfolio One DST dated as of the
Effective Date, the Trust Agreement for the Portfolio Two DST dated as of the Effective Date,
the Trust Agreement for the Portfolio Three DST dated as of the Effective Date, the Amended
and Restated Trust Agreement for Stonebridge DST dated as of the Effective Date, and the trust
agreement for any other Specified DST.

       “Trust Interests” means the beneficial interests in each Specified DST which will be (x)
sold pursuant to the applicable Offering Document or (y) issued to an Affiliate of Borrower that
owns any unsold beneficial interests.

        “Type,” when used in reference to any Loan or Borrowing, refers to whether the rate of
interest on such Loan, or on the Loans comprising such Borrowings, is determined by reference
to the Adjusted LIBO Rate, the Daily LIBOR Rate, or the Alternate Base Rate.

       “Unconsolidated Affiliate” means, without duplication, in respect of any Person, any
other Person (other than a Person whose stock is traded on a national trading exchange) in whom
such Person holds, directly or indirectly, an investment consisting of a voting equity or
ownership interest, which investment is accounted for in the financial statements of such Person
on an equity basis of accounting.

       “U.S. Person” means any Person that is a “United States Person” as defined in Section
7701(a)(30) of the Code.

        “Wholly-Owned” means, with respect to a Subsidiary of a Person, a Subsidiary of such
Person all of the outstanding Equity Interests of which (other than (x) director’s qualifying
shares and (y) shares issued to foreign nationals to the extent required by applicable law) are
owned by such Person and/or by one or more wholly owned Subsidiaries of such Person. In
determining whether a Subsidiary of a Person is a Wholly-Owned Subsidiary, all preferred
shareholders of a Subsidiary that is organized as a real estate investment trust shall be
disregarded.

        “Withdrawal Liability” means liability to a Multiemployer Plan as a result of a complete
or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I of
Subtitle E of Title IV of ERISA.

       “Withholding Agent” means any Borrower and the Administrative Agent.

        “Write-Down and Conversion Powers” means, with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time
to time under the Bail-In Legislation for the applicable EEA Member Country, which write-
down and conversion powers are described in the EU Bail-In Legislation Schedule.




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      Section 1.02 Classification of Loans and Borrowings. For purposes of this Agreement,
Loans may be classified and referred to by Type (e.g., a “Eurodollar Loan”). Borrowings also
may be classified and referred to by Type (e.g., a “Eurodollar Borrowing”).

        Section 1.03 Terms Generally. The definitions of terms herein shall apply equally to the
singular and plural forms of the terms defined. Whenever the context may require, any pronoun
shall include the corresponding masculine, feminine and neuter forms. The words “include,”
“includes,” and “including” shall be deemed to be followed by the phrase “without limitation.”
The word “will” shall be construed to have the same meaning and effect as the word “shall”.
Unless the context requires otherwise (a) any definition of or reference to any agreement,
instrument or other document herein shall be construed as referring to such agreement,
instrument or other document as from time to time amended, supplemented or otherwise
modified (subject to any restrictions on such amendments, supplements or modifications set forth
herein), (b) any reference herein to any Person shall be construed to include such Person’s
successors and assigns, (c) the words “herein,” “hereof,” and “hereunder,” and words of similar
import, shall be construed to refer to this Agreement in its entirety and not to any particular
provision hereof, (d) all references herein to Articles, Sections, Exhibits and Schedules shall be
construed to refer to Articles and Sections of, and Exhibits and Schedules to, this Agreement and
(e) the words “asset” and “property” shall be construed to have the same meaning and effect and
to refer to any and all tangible and intangible assets and properties, including cash, securities,
accounts and contract rights.

        Section 1.04 Accounting Terms; GAAP. Except as otherwise expressly provided herein,
all terms of an accounting or financial nature shall be construed in accordance with sound
accounting principles, consistently applied; provided that, if GAAP accounting is expressly
required and the Borrower notifies the Administrative Agent that the Borrower requests an
amendment to any provision hereof to eliminate the effect of any change occurring after the date
hereof in GAAP or in the application thereof on the operation of such provision (or if the
Administrative Agent notifies the Borrower that the Required Lenders request an amendment to
any provision hereof for such purpose), regardless of whether any such notice is given before or
after such change in GAAP or in the application thereof, then such provision shall be interpreted
on the basis of GAAP as in effect and applied immediately before such change shall have
become effective until such notice shall have been withdrawn or such provision amended in
accordance herewith.

       Section 1.05 Appointment of Lead Borrower.

         (a)    For the purpose of implementing the joint borrower provisions of this Agreement
and the other Loan Documents, each Borrower hereby irrevocably appoints the Lead Borrower
as its agent and attorney-in-fact for the purpose of requesting and obtaining Borrowings
hereunder, including delivery of any Borrowing Request or Interest Election Request, and such
Borrower shall be obligated to the Administrative Agent and the Lenders on account of
Borrowings so made as if made directly by the Lenders to such Person. Further, each Borrower
hereby irrevocably appoints the Lead Borrower as its agent and attorney-in-fact for all other
purposes under the Loan Documents, including the giving and receiving of notices and other
communications, the giving of consents or approvals pursuant to the terms hereof, and



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submitting Compliance Certificates and other similar certificates required hereunder. Any
request by the Lead Borrower for a Borrowing or an Interest Election Request shall in all events
be deemed and construed as a request for such Borrowing by all Borrowers hereunder.

       (b)      The proceeds of each loan and advance provided under the Loans which is
requested by the Lead Borrower shall be advanced as and when otherwise provided herein or as
otherwise indicated by the Lead Borrower. The Lead Borrower shall cause the transfer of the
proceeds thereof to the Borrower(s) on whose behalf such loan and advance was obtained.
Neither the Administrative Agent nor any Lender shall have any obligation to see to the
application of such proceeds.

        (c)     It is understood and agreed that the handling of this credit facility on a joint
borrowing basis as set forth in this Agreement is solely as an accommodation to the Borrower
and at their request. Accordingly, the Administrative Agent and the Lenders are entitled to rely,
and shall be exonerated from any liability for relying upon, any Borrowing Request, Interest
Election Request, or any other request or communication made by a purported officer of any
Borrower without the need for any consent or other authorization of any other Borrower and
upon any information or certificate provided on behalf of any Borrower by a purported officer of
such Borrower, and any such request or other action shall be fully binding on each Borrower as
if made by it.

                                            ARTICLE II

                                            The Loans

       Section 2.01 [Intentionally Omitted].

       Section 2.02 Commitments. Subject to the terms and conditions set forth herein, each
Lender severally agrees to make Loans to the Borrower on the Effective Date as follows:

       (a)     a term loan (the “Tranche A Loan”) to finance the acquisition of the Mortgaged
Properties on the Effective Date in an aggregate principal amount not to exceed the lesser of (i)
$231,400,000 and (ii) 65% of the lesser of (x) the allocated acquisition cost of the Mortgaged
Properties as approved by the Administrative Agent and (y) the aggregate “as is” Appraised
Value of the Mortgaged Properties; and

       (b)     a term loan (the “Tranche B Loan”) in an aggregate principal amount of
$324,875,000 to finance a portion of the acquisition cost of the Portfolio Properties that is not
financed by the Tranche A Loan or the Senior Loan;

       Each Loan shall be made in immediately available funds in accordance with instructions
provided by the Borrower. The aggregate amount of the Loan shall not exceed the aggregate
amount of the Commitments. Once repaid, no portion of the Loans may be reborrowed.
Notwithstanding anything herein to the contrary, the Commitments shall terminate upon the
making of the Loans described in this Section 2.02 on the Effective Date.




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       Section 2.03 Loans and Borrowings.

       (a)     Each Loan shall be made as part of a Borrowing consisting of Loans made by the
Lenders ratably in accordance with their respective Commitments. The failure of any Lender to
make any Loan required to be made by it shall not relieve any other Lender of its obligations
hereunder; provided that the Commitments of the Lenders are several and no Lender shall be
responsible for any other Lender’s failure to make Loans as required.

        (b)     Subject to Section 2.13, each Borrowing shall be comprised of ABR Loans, Daily
LIBOR Loans, and/or Eurodollar Loans as the Borrower may request in accordance herewith.
Each Lender at its option may make any Eurodollar Loan by causing any domestic or foreign
branch or Affiliate of such Lender to make such Loan; provided that any exercise of such option
shall not affect the obligation of the Borrower to repay such Loan in accordance with the terms
of this Agreement.

       (c)     Each Eurodollar Loan shall be in an aggregate amount that is an integral multiple
of $100,000 and not less than $1,000,000. Borrowings of more than one Type may be
outstanding at the same time; provided that there shall not at any time be more than a total of six
(6) Eurodollar Borrowings outstanding.

        (d)     Notwithstanding any other provision of this Agreement, the Borrower shall not be
entitled to request, or to elect to convert or continue, any Borrowing if the Interest Period
requested with respect thereto would end after the Maturity Date.

       Section 2.04 [Intentionally Omitted].

       Section 2.05 [Intentionally Omitted].

       Section 2.06 [Intentionally Omitted].

       Section 2.07 [Intentionally Omitted].

       Section 2.08 Interest Elections.

       (a)     Each Borrowing initially shall be of the Type specified in the applicable
Borrowing Request and, in the case of a Eurodollar Borrowing, shall have an initial Interest
Period as specified in such Borrowing Request. Thereafter, the Borrower may elect to convert
such Borrowing to a different Type or to continue such Borrowing and, in the case of a
Eurodollar Borrowing, may elect Interest Periods therefor, all as provided in this Section. The
Borrower may elect different options with respect to different portions of the affected
Borrowing, in which case each such portion shall be allocated ratably among the Lenders
holding the Loans comprising such Borrowing, and the Loans comprising each such portion shall
be considered a separate Borrowing.

       (b)    To make an election pursuant to this Section, the Borrower shall notify the
Administrative Agent of such election by telephone by the time that a Borrowing Request would
be required under Section 2.03 if the Borrower were requesting a Borrowing of the Type



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resulting from such election to be made on the effective date of such election. Each such
telephonic Interest Election Request shall be irrevocable and shall be confirmed promptly by
hand delivery or telecopy to the Administrative Agent of a written Interest Election Request in
the form of a Borrowing Request (with proper election made for an interest rate election only)
and signed by the Lead Borrower.

       (c)     Each telephonic and written Interest Election Request shall specify the following
information in compliance with Section 2.03:

                        (i)     the Borrowing to which such Interest Election Request applies and,
               if different options are being elected with respect to different portions thereof, the
               portions thereof to be allocated to each resulting Borrowing (in which case the
               information to be specified pursuant to clauses (iii) and (iv) below shall be
               specified for each resulting Borrowing;

                      (ii)   the effective date of the election made pursuant to such Interest
               Election Request, which shall be a Business Day;

                      (iii) whether the resulting Borrowing is to be an ABR Borrowing, a
               Daily LIBOR Borrowing, or a Eurodollar Borrowing; and

                      (iv)    if the resulting Borrowing is a Eurodollar Borrowing, the Interest
               Period to be applicable thereto after giving effect to such election, which shall be
               a period contemplated by the definition of the term “Interest Period”.

               If any such Interest Election Request requests a Eurodollar Loan but does not
               specify an Interest Period, then the Borrower shall be deemed to have selected an
               Interest Period of one month’s duration.

        (d)    Promptly following receipt of an Interest Election Request, the Administrative
Agent shall advise each Lender of the details thereof and of such Lender's portion of each
resulting Borrowing.

        (e)     If the Borrower fails to deliver a timely Interest Election Request with respect to a
Eurodollar Borrowing prior to the end of the Interest Period applicable thereto, then, unless such
Eurodollar Borrowing is repaid as provided herein, at the end of such Interest Period such
Borrowing shall be converted to an ABR Borrowing. Notwithstanding any contrary provision
hereof, if an Event of Default has occurred and is continuing and the Administrative Agent, at
the request of the Required Lenders, so notifies the Borrower, then, so long as an Event of
Default is continuing (i) no outstanding Borrowing may be converted to or continued as a
Eurodollar Borrowing and (ii) unless repaid, each Eurodollar Borrowing shall be converted to an
ABR Borrowing at the end of the Interest Period applicable thereto.

       Section 2.09 Reserved.




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       Section 2.10 Repayment of Loans; Evidence of Debt.

       (a)     The Borrower hereby unconditionally promises to pay to the Administrative
Agent for the account of each Lender the then unpaid principal amount of (i) the Tranche A
Loans on the Tranche A Maturity Date and (i) the Tranche B Loans on the Tranche B Maturity
Date.

       (b)    At the request of each Lender, the Loans made by such Lender shall be evidenced
by a Note payable to such Lender in the amount of such Lender’s Commitment.

       (c)    Each Lender shall maintain in accordance with its usual practice an account or
accounts evidencing the indebtedness of the Borrower to such Lender resulting from each Loan
made by such Lender, including the amounts of principal and interest payable and paid to such
Lender from time to time hereunder.

        (d)      The Administrative Agent shall maintain accounts in which it shall record (i) the
amount of each Loan made hereunder, the Type thereof and the Interest Period applicable
thereto, (ii) the amount of any principal or interest due and payable or to become due and
payable from the Borrower to each Lender hereunder and (iii) the amount of any sum received
by the Administrative Agent hereunder for the account of the Lenders and each Lender’s share
thereof.

        (e)    The entries made in the accounts maintained pursuant to paragraph (b) or (c) of
this Section shall be prima facie evidence of the existence and amounts of the obligations
recorded therein; provided that the failure of any Lender or the Administrative Agent to maintain
such accounts or any error therein shall not in any manner affect the obligation of the Borrower
to repay the Loans in accordance with the terms of this Agreement.

       Section 2.11 Prepayment of Loans.

       (a)     The Borrower shall have the right at any time and from time to time to prepay,
without penalty, any Borrowing in whole or in part, subject to prior notice in accordance with
paragraph (b) of this Section, and subject to Section 2.15, if applicable.

        (b)     The Borrower shall notify the Administrative Agent by telephone (confirmed by
telecopy) of any prepayment hereunder (i) in the case of prepayment of a Eurodollar Borrowing,
not later than 11:00 a.m., Boston, Massachusetts time, three (3) Business Days before the date of
prepayment, or (ii) in the case of prepayment of an ABR Borrowing or a Daily LIBOR
Borrowing, not later than 11:00 a.m., Boston, Massachusetts time, one Business Day before the
date of prepayment. Each such notice shall be irrevocable and shall specify the prepayment date
and the principal amount of each Borrowing or portion thereof to be prepaid. Promptly
following receipt of any such notice relating to a Borrowing, the Administrative Agent shall
advise the Lenders of the contents thereof. Each partial prepayment of any Borrowing shall be
in an amount that is an integral multiple of $100,000 and not less than $200,000. Each
prepayment of a Borrowing shall be applied ratably to the Loans included in the prepaid
Borrowing. Prepayments shall be accompanied by accrued interest to the extent required by
Section 2.12.


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        (c)     In connection with the prepayment of any portion of the Loan prior to the
expiration of the Interest Period applicable thereto, the Borrower shall also pay any applicable
expenses pursuant to Section 2.15.

        (d)     The Borrower shall prepay the Loans (a “Mandatory Prepayment”) in an amount
equal to with respect to any sale, finance, refinance or other recapitalization of (i) the Mortgaged
Properties, the greater of (x) $381,000,000 and (y) one hundred percent (100%) of the net
proceeds payable to Borrowers or any Subsidiary (after payment of usual and customary closing
costs and expenses) from the sale, finance, refinance or other recapitalization of the Mortgaged
Properties; it being understood that prepayments required under this clause (d)(i) are in addition
to any prepayments under clause (f) below and prepayments required under clause (f) below
shall not diminish the required prepayment amounts under this clause (d)(i), and (ii) any other
Real Property, one hundred percent (100%) of the net proceeds payable to Borrower or any
Subsidiary (after payment of usual and customary closing costs and expenses and repayment of
any Indebtedness secured by such Real Property and including, with respect to any partial
recapitalization of a Portfolio Property through a joint venture or similar structure whereby the
Borrower will, directly or indirectly, retain an Equity Interest in such Portfolio Property (other
than any DST structure whereby Borrower will retain an approximately 1% Equity Interest in
such Portfolio Property), an amount equal to the value of the Equity Interest in such Portfolio
Property that the Borrower will retain) generated by the sale, finance, refinance or other
recapitalization of any such Real Property owned directly or indirectly by Borrower, including,
without limitation, any net proceeds thereof to be redeployed into the acquisition of one or more
real properties to complete a 1031 exchange transaction, and all payments under the BH Loan.
All Mandatory Prepayments shall be applied, first, to the prepayment of the Tranche A Loans
until the Tranche A Loans have been repaid in full. Thereafter all Mandatory Prepayments shall
be applied to the Tranche B Loans.

        (e)    Without limiting the foregoing, the Borrower shall make prepayments of the
Loans from time to time in the amounts necessary such that after giving effect to any such
prepayments, the aggregate outstanding amount of the Loans on each of the dates listed below
shall not be more than the “Maximum Principal Amount” set forth across from such date on the
table below:

                           Date                                Maximum Principal Amount

       March 26, 2019                                   $150,000,000

       June 26, 2019                                    $100,000,000

       September 26, 2019                               $50,000,000

       December 26, 2019                                $15,000,000


       provided that, if the Tranche A Initial Maturity Date is extended pursuant to Section 2.21,
       the “Maximum Principal Amount” set forth in the table above for each applicable date
       during the term of such extension of the Tranche A Initial Maturity Date, shall be


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       increased by an amount equal to the aggregate outstanding principal amount of Loans
       that were funded to purchase the Mortgaged Properties.

        (f)     In addition to any other payment or prepayment required by any of the foregoing,
on or prior to October 26, 2018, the Borrowers shall make payments to the Administrative Agent
for application to the outstanding principal balance of the Loans from proceeds of additional
equity contributions received by the Borrowers (other than the Property Owner Borrowers) after
the Effective Date in an aggregate amount not less than $150,000,000.

        (g)     Amounts to be applied to the prepayment of the Loans pursuant to any of the
preceding subsections of this Section shall be applied, first, to reduce outstanding ABR Loans,
next, to the extent of any remaining balance, to reduce outstanding Daily LIBOR Loans, and
next, to the extent of any remaining balance, to reduce outstanding Eurodollar Loans. Any
amounts repaid under this Section 2.11 may not be reborrowed.

       Section 2.12 Fees.

       (a)    In addition to all fees specified herein, the Borrower agrees to pay to KeyBank
and the Arranger, for their own account, certain fees for services rendered or to be rendered in
connection with the Loans as provided pursuant to the Fee Letter.

       (b)    All fees payable hereunder shall be paid on the dates due in immediately available
funds. Fees paid shall not be refundable under any circumstances.

       Section 2.13 Interest.

        (a)    The ABR Loans shall bear interest at the lesser of (x) the Alternate Base Rate
plus the Applicable Rate, or (y) the Maximum Rate.

        (b)    The Loans comprising each Eurodollar Borrowing shall bear interest at the lesser
of (x) the Adjusted LIBO Rate for the Interest Period in effect for such Eurodollar Loan plus the
Applicable Rate, or (y) the Maximum Rate.

        (c)     The Loans comprising each Daily LIBOR Borrowing shall bear interest at the
lesser of (x) the Daily LIBOR plus the Applicable Rate, or (y) the Maximum Rate

        (d)      Notwithstanding the foregoing, (A) if any principal of or interest on the Loans or
any portion thereof or any other amount payable by the Borrower hereunder is not paid when
due, whether at stated maturity, upon acceleration or otherwise, such overdue amount shall bear
interest, after as well as before judgment, at a rate per annum equal to (i) in the case of overdue
principal of the Loans, the lesser of (x) 4% plus the rate otherwise applicable to the Loans as
provided in the preceding paragraphs of this Section, or (y) the Maximum Rate, or (ii) in the case
of any other amount, the lesser of (x) 4% plus the rate applicable to ABR Loans as provided in
paragraph (a) of this Section, or (y) the Maximum Rate; and (B) after the occurrence of any
Event of Default, at the option of the Administrative Agent, or if the Administrative Agent is
directed in writing by the Required Lenders to do so, the Loans shall bear interest at a rate per




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annum equal to the lesser of (x) 4% plus the rate otherwise applicable to the Loans as provided
in the preceding paragraphs of this Section, or (y) the Maximum Rate.

        (e)     Accrued interest on each Loan shall be payable in arrears on each Interest
Payment Date; provided that (i) interest accrued pursuant to paragraph (c) of this Section shall be
payable on demand, (ii) in the event of any repayment or prepayment of any Loan, accrued
interest on the principal amount repaid or prepaid shall be payable on the date of such repayment
or prepayment and (iii) in the event of any conversion of any Eurodollar Loan prior to the end of
the current Interest Period therefor, accrued interest on such Eurodollar Loan shall be payable on
the effective date of such conversion.

       (f)      All computations of interest on the Loans and of other fees to the extent
applicable shall be based on a 360-day year and paid for the actual number of days elapsed. The
applicable Alternate Base Rate, Adjusted LIBO Rate, LIBO Rate, or Daily LIBOR Rate shall be
determined by the Administrative Agent, and such determination shall be conclusive absent
manifest error.

       Section 2.14 Alternate Rate of Interest.

       (a)   If prior to the commencement of any Interest Period for a Eurodollar Borrowing
or Daily LIBOR Borrowing:

                       (i)    the Administrative Agent determines (which determination shall be
               conclusive absent manifest error) that adequate and reasonable means do not exist
               for ascertaining the Adjusted LIBO Rate or the LIBO Rate, as applicable, for such
               Interest Period; or

                      (ii)    the Administrative Agent is advised by any Lender that the
               Adjusted LIBO Rate or the LIBO Rate, as applicable, for such Interest Period will
               not adequately and fairly reflect the cost to such Lenders (or Lender) of making or
               maintaining their Eurodollar Loan for such Interest Period;

then the Administrative Agent shall give notice thereof to the Borrower and the Lenders by
telephone or telecopy as promptly as practicable thereafter and, until the Administrative Agent
notifies the Borrower and the Lenders that the circumstances giving rise to such notice no longer
exist, any Interest Election Request that requests the conversion of any Borrowing to, or
continuation of any Borrowing as, a Eurodollar Borrowing shall be ineffective; provided that if
the circumstances giving rise to such notice affect only one Type of Borrowings, then the other
Type of Borrowings shall be permitted.

       (b)     If at any time the Administrative Agent determines (which determination shall be
conclusive absent manifest error) that either (i) the circumstances set forth in clause (a) of this
Section 2.14 have arisen and such circumstances are unlikely to be temporary or (ii) the
circumstances set forth in clause (a) of this Section 2.14 have not arisen but the supervisor for
the administrator of LIBO Rate or a Governmental Authority having jurisdiction over the
Administrative Agent has made a public statement identifying a specific date after which LIBO
Rate shall no longer be used for determining interest rates for loans (in the case of either such


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clause (i) or (ii), an “Alternative Interest Rate Election Event”), the Administrative Agent and
the Borrowers shall endeavor to establish an alternate rate of interest to LIBO Rate, which rate
may include adjustment (to be determined from time to time by Administrative Agent in its sole
discretion) to effect an aggregate interest rate comparable to the LIBO Rate on a historical basis
prior to such determination, and that gives due consideration to the then prevailing market
convention for determining a rate of interest for similar dollar-denominated credit facilities in the
United States at such time, and shall enter into an amendment to this Agreement to reflect such
alternate rate of interest and such other related changes to this Agreement as may be applicable.
Such amendment shall become effective without any further action or consent of any other party
to this Agreement. To the extent an alternate rate of interest is adopted as contemplated hereby,
the approved rate shall be applied in a manner consistent with prevailing market convention;
provided that, to the extent such prevailing market convention is not administratively feasible for
the Administrative Agent, such approved rate shall be applied in a manner as otherwise
reasonably determined by the Administrative Agent and the Borrowers. From such time as an
Alternative Interest Rate Election Event has occurred and continuing until an alternate rate of
interest has been determined in accordance with the terms and conditions of this paragraph, any
Interest Election Request that requests the conversion of any Loan to, or continuation of any
Loan as, an Eurodollar Loan shall be ineffective; provided that (subject to clause (a) of this
Section 2.14) LIBO Rate for such Interest Period is not available or published at such time on a
current basis; provided, further, that, if such alternate rate of interest shall be less than zero, such
rate shall be deemed to be zero for the purposes of this Agreement.

        Section 2.15 Increased Costs.

        (a)     If any Change in Law shall:

                       (i)      subject any Recipient to any Taxes or withholding of any nature
                with respect to this Agreement, the other Loan Documents, such Lender’s
                Commitment or the Loans (other than for Indemnified Taxes, Taxes described in
                clauses (b) through (d) of the definition of Excluded Taxes, and Connection
                Income Taxes), or

                       (ii)    materially change the basis of taxation (except for changes in taxes
                on gross receipts, income or profits or its franchise tax) of payments to any
                Recipient of the principal of or the interest on any Loans or any other amounts
                payable to any Lender under this Agreement or the other Loan Documents, or

                        (iii) impose or increase or render applicable any special deposit,
                reserve, assessment, liquidity, capital adequacy or other similar requirements
                (whether or not having the force of law and which are not already reflected in any
                amounts payable by Borrowers hereunder) against assets held by, or deposits in or
                for the account of, or loans by, or commitments of an office of any Lender, or

                        (iv)    impose on any Recipient any other conditions or requirements with
                respect to this Agreement, the other Loan Documents, the Loans, such Lender’s
                Commitment, or any class of loans or commitments of which any of the Loans or
                such Lender’s Commitment forms a part;


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and the result of any of the foregoing shall be to increase the cost to such Lender of making or
maintaining any Eurodollar Loan (or of maintaining its obligation to make any such Loan) or to
reduce the amount of any sum received or receivable by such Lender hereunder (whether of
principal, interest or otherwise), then the Borrower will pay to such Lender such additional
amount or amounts as will compensate such Lender for such additional costs incurred or
reduction suffered.

        (b)     If any Lender determines that any Change in Law regarding capital requirements
has or would have the effect of reducing the rate of return on such Lender’s capital or liquidity or
on the capital or liquidity of such Lender’s holding company, if any, as a consequence of this
Agreement or the Loans made by such Lender, to a level below that which such Lender or such
Lender’s holding company would have achieved but for such Change in Law (taking into
consideration such Lender’s policies and the policies of such Lender’s holding company with
respect to capital adequacy), then from time to time the Borrower will pay to such Lender, as the
case may be, such additional amount or amounts as will compensate such Lender or such
Lender’s holding company for any such reduction suffered.

       (c)      A certificate of a Lender setting forth the amount or amounts necessary to
compensate such Lender or its holding company, as the case may be, as specified in
paragraph (a) or (b) of this Section shall be delivered to the Borrower and shall be conclusive
absent manifest error. The Borrower shall pay such Lender, the amount shown as due on any
such certificate within 10 days after receipt thereof.

        (d)    Failure or delay on the part of any Lender to demand compensation pursuant to
this Section shall not constitute a waiver of such Lender’s right to demand such compensation;
provided that the Borrower shall not be required to compensate a Lender pursuant to this Section
for any increased costs or reductions incurred more than 270 days prior to the date that such
Lender notifies the Borrower of the Change in Law giving rise to such increased costs or
reductions and of such Lender’s intention to claim compensation therefor; provided further that,
if the Change in Law giving rise to such increased costs or reductions is retroactive, then the
270-day period referred to above shall be extended to include the period of retroactive effect
thereof.

        Section 2.16 Break Funding Payments. In the event of (a) the payment of any principal
of any Eurodollar Loan other than on the last day of an Interest Period applicable thereto
(including as a result of an Event of Default), (b) the conversion of any Eurodollar Loan other
than on the last day of the Interest Period applicable thereto, (c) the failure to borrow, convert,
continue or prepay any Loan on the date specified in any notice delivered pursuant hereto
(regardless of whether such notice may be revoked under Section 2.10(b)), or (d) the assignment
of any Eurodollar Loan other than on the last day of the Interest Period applicable thereto as a
result of a request by the Borrower pursuant to Section 2.18, then, in any such event, the
Borrower shall compensate each Lender for the loss, cost and expense attributable to such event.
 In the case of a Eurodollar Loan, such loss, cost or expense to any Lender shall be deemed to
include an amount determined by such Lender to be the excess, if any, of (i) the amount of
interest which would have accrued on the principal amount of such Loan had such event not
occurred, at the Adjusted LIBO Rate that would have been applicable to such Loan, for the



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period from the date of such event to the last day of the then current Interest Period therefor (or,
in the case of a failure to borrow, convert or continue, for the period that would have been the
Interest Period for such Loan), over (ii) the amount of interest which would accrue on such
principal amount for such period at the interest rate which such Lender would bid were it to bid,
at the commencement of such period, for dollar deposits of a comparable amount and period
from other banks in the Eurodollar market. A certificate of any Lender setting forth any amount
or amounts that such Lender is entitled to receive pursuant to this Section shall be delivered to
the Borrower and shall be conclusive absent manifest error. The Borrower shall pay such Lender
the amount shown as due on any such certificate within thirty (30) days after receipt thereof.

       Section 2.17 Taxes.

        (a)    All payments by the Borrower hereunder and under any of the other Loan
Documents shall be made without setoff or counterclaim, and free and clear of and without
deduction or withholding for any Taxes, except as required by Legal Requirements. If any Legal
Requirement (as determined in the good faith discretion of an applicable Withholding Agent)
requires the deduction or withholding of any Tax from any such payment by a Withholding
Agent, then the applicable Withholding Agent shall be entitled to make such deduction or
withholding and shall timely pay the full amount deducted or withheld to the relevant
Governmental Authority in accordance with Legal Requirements and, if such Tax is an
Indemnified Tax, then the sum payable by the Borrowers shall be increased as necessary so that
after such deduction or withholding has been made (including such deductions and withholdings
applicable to additional sums payable under this Section 2.17) the applicable Recipient receives
an amount equal to the sum it would have received had no such deduction or withholding been
made.

       (b)    The Borrower shall timely pay to the relevant Governmental Authority in
accordance with Legal Requirements, or at the option of the Agent timely reimburse it for the
payment of, any Other Taxes.

        (c)      The Borrower shall indemnify each Recipient, within ten (10) days after demand
therefor, for the full amount of any Indemnified Taxes (including Indemnified Taxes imposed or
asserted on or attributable to amounts payable under this Section 2.17) payable or paid by such
Recipient or required to be withheld or deducted from a payment to such Recipient and any
reasonable expenses arising therefrom or with respect thereto, whether or not such Indemnified
Taxes were correctly or legally imposed or asserted by the relevant Governmental Authority. A
certificate as to the amount of such payment or liability delivered to the Borrower by a Lender
(with a copy to the Agent), or by the Agent on its own behalf or on behalf of a Lender, shall be
conclusive absent manifest error; provided that the determinations in such statement are made on
a reasonable basis and in good faith.

        (d)    Each Lender shall severally indemnify the Agent, within ten (10) days after
demand therefor, for (i) any Indemnified Taxes attributable to such Lender (but only to the
extent that a Borrower has not already indemnified the Agent for such Indemnified Taxes and
without limiting the obligation of the Borrowers to do so), (ii) any Taxes attributable to such
Lender’s failure to comply with the provisions of Section 9.04(c) relating to the maintenance of a
Participant Register and (iii) any Excluded Taxes attributable to such Lender, in each case, that


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are payable or paid by the Agent in connection with any Loan Document, and any reasonable
expenses arising therefrom or with respect thereto, whether or not such Taxes were correctly or
legally imposed or asserted by the relevant Governmental Authority. A certificate as to the
amount of such payment or liability delivered to any Lender by the Agent shall be conclusive
absent manifest error. Each Lender hereby authorizes the Agent to set off and apply any and all
amounts at any time owing to such Lender under any Loan Document or otherwise payable by
the Agent to the Lender from any other source against any amount due to the Agent under this
subsection.

       (e)    As soon as practicable after any payment of Taxes by the Borrower to a
Governmental Authority pursuant to this Section 2.17, the Borrower shall deliver to the
Administrative Agent the original or a certified copy of a receipt issued by such Governmental
Authority evidencing such payment, a copy of the return reporting such payment or other
evidence of such payment reasonably satisfactory to the Agent.

        (f)     (i) Any Lender that is entitled to an exemption from or reduction of withholding
Tax with respect to payments made under any Loan Document shall deliver to the Borrower and
the Agent, at the time or times reasonably requested by the Borrower or the Agent, such properly
completed and executed documentation reasonably requested by the Borrower or the Agent as
will permit such payments to be made without withholding or at a reduced rate of withholding.
In addition, any Lender, if reasonably requested by the Borrower or the Agent, shall deliver such
other documentation prescribed by Legal Requirements or reasonably requested by the Borrower
or the Agent as will enable the Borrower or the Agent to determine whether or not such Lender
is subject to backup withholding or information reporting requirements. Notwithstanding
anything to the contrary in the preceding two sentences, the completion, execution and
submission of such documentation (other than such documentation set forth in the immediately
following clauses (ii)(2)(A), (ii)(2)(B) and (ii)(2)(D)) shall not be required if in the Lender’s
reasonable judgment such completion, execution or submission would subject such Lender to
any material unreimbursed cost or expense or would materially prejudice the legal or commercial
position of such Lender.

                    (i)     Without limiting the generality of the foregoing, in the event that a
              Borrower is a U.S. Person:

                             (A)     any Lender that is a U.S. Person shall deliver to the
                      Borrower and the Agent on or prior to the date on which such Lender
                      becomes a Lender under this Agreement (and from time to time thereafter
                      upon the reasonable request of the Borrower or the Agent), an electronic
                      copy (or an original if requested by the Borrower or the Agent) of an
                      executed IRS Form W-9 (or any successor form) certifying that such
                      Lender is exempt from U.S. federal backup withholding tax;

                              (B)     any Foreign Lender shall, to the extent it is legally entitled
                      to do so, deliver to the Borrower and the Agent (in such number of copies
                      as shall be requested by the recipient) on or prior to the date on which
                      such Foreign Lender becomes a Lender under this Agreement (and from



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                  time to time thereafter upon the reasonable request of the Borrower or the
                  Agent), whichever of the following is applicable:

                                 (A)     in the case of a Foreign Lender claiming the
                         benefits of an income tax treaty to which the United States is a
                         party (x) with respect to payments of interest under any Loan
                         Document, an electronic copy (or an original if requested by the
                         Borrower or the Agent) of an executed IRS Form W-8BEN or W-
                         8BEN-E establishing an exemption from, or reduction of, U.S.
                         federal withholding Tax pursuant to the “interest” article of such
                         tax treaty and (y) with respect to any other applicable payments
                         under any Loan Document, IRS Form W-8BEN or W-8BEN-E
                         establishing an exemption from, or reduction of, U.S. federal
                         withholding Tax pursuant to the “business profits” or “other
                         income” article of such tax treaty;

                                (B)    an electronic copy (or an original if requested by
                         the Borrower or the Agent) of an executed IRS Form W-8ECI;

                                 (C)     in the case of a Foreign Lender claiming the
                         benefits of the exemption for portfolio interest under Section
                         881(c) of the Code, (x) a certificate substantially in the form of
                         Exhibit F-1 to the effect that such Foreign Lender is not a “bank”
                         within the meaning of Section 881(c)(3)(A) of the Code, a “10
                         percent shareholder” of a Borrower within the meaning of Section
                         881(c)(3)(B) of the Code, or a “controlled foreign corporation”
                         described in Section 881(c)(3)(C) of the Code (a “U.S. Tax
                         Compliance Certificate”) and (y) executed copies of IRS Form W-
                         8BEN or W-8BEN-E; or

                                 (D)     to the extent a Foreign Lender is not the beneficial
                         owner, an electronic copy (or an original if requested by the
                         Borrower or the Agent) of an executed IRS Form W-8IMY,
                         accompanied by IRS Form W-8ECI, IRS Form W-8BEN or W-
                         8BEN-E, a U.S. Tax Compliance Certificate substantially in the
                         form of Exhibit F-2 or Exhibit F-3, IRS Form W-9, and/or other
                         certification documents from each beneficial owner, as applicable;
                         provided that if the Foreign Lender is a partnership and one or
                         more direct or indirect partners of such Foreign Lender are
                         claiming the portfolio interest exemption, such Foreign Lender
                         may provide a U.S. Tax Compliance Certificate substantially in the
                         form of Exhibit F-4 on behalf of each such direct and indirect
                         partner;

                          (C)     any Foreign Lender shall, to the extent it is legally entitled
                  to do so, deliver to the Borrower and the Agent (in such number of copies
                  as shall be requested by the recipient) on or prior to the date on which


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                       such Foreign Lender becomes a Lender under this Agreement (and from
                       time to time thereafter upon the reasonable request of the Borrower or the
                       Agent), an electronic copy (or an original if requested by a Borrower or
                       the Agent) of any other form prescribed by Legal Requirements as a basis
                       for claiming exemption from or a reduction in U.S. federal withholding
                       Tax, duly completed, together with such supplementary documentation as
                       may be prescribed by Legal Requirements to permit the Borrower or the
                       Agent to determine the withholding or deduction required to be made; and

                               (D)    if a payment made to a Lender under any Loan Document
                       would be subject to U.S. federal withholding Tax imposed by FATCA if
                       such Lender were to fail to comply with the applicable reporting
                       requirements of FATCA (including those contained in Section 1471(b) or
                       1472(b) of the Code, as applicable), such Lender shall deliver to the
                       Borrower and the Agent at the time or times prescribed by Legal
                       Requirements and at such time or times reasonably requested by the
                       Borrower or the Agent such documentation prescribed by Legal
                       Requirements (including as prescribed by Section 1471(b)(3)(C)(i) of the
                       Code) and such additional documentation reasonably requested by the
                       Borrower or the Agent as may be necessary for the Borrower and the
                       Agent to comply with their obligations under FATCA and to determine
                       that such Lender has complied with such Lender’s obligations under
                       FATCA or to determine the amount to deduct and withhold from such
                       payment. Solely for purposes of this clause (D), “FATCA” shall include
                       any amendments made to FATCA after the date of this Agreement.

       Each Lender agrees that if any form or certification it previously delivered expires or
       becomes obsolete or inaccurate in any respect, it shall update such form or certification
       or promptly notify the Borrower and the Agent in writing of its legal inability to do so.

         (g)    If any party determines, in its sole discretion exercised in good faith, that it has
received a refund of any Taxes as to which it has been indemnified pursuant to this Section 2.17
(including by the payment of additional amounts pursuant to this Section 2.17), it shall pay to the
indemnifying party an amount equal to such refund (but only to the extent of indemnity
payments made under this Section 2.17 with respect to the Taxes giving rise to such refund), net
of all reasonable third party out-of-pocket expenses (including Taxes) of such indemnified party
actually incurred and without interest (other than any interest paid by the relevant Governmental
Authority with respect to such refund). Such indemnifying party, upon the request of such
indemnified party, shall repay to such indemnified party the amount paid over pursuant to this
subsection (plus any penalties, interest or other charges imposed by the relevant Governmental
Authority) in the event that such indemnified party is required to repay such refund to such
Governmental Authority. Notwithstanding anything to the contrary in this subsection, in no
event will the indemnified party be required to pay any amount to an indemnifying party
pursuant to this subsection the payment of which would place the indemnified party in a less
favorable net after-Tax position than the indemnified party would have been in if the Tax subject
to indemnification and giving rise to such refund has not been deducted, withheld or otherwise


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imposed and the indemnification payments or additional amounts with respect to such Tax had
never been paid. This subsection shall not be construed to require any indemnified party to make
available its Tax returns (or any other information relating to its Taxes that it reasonably deems
confidential) to the indemnifying party or any other Person.

       (h)     Each party’s obligations under this Section 2.17 shall survive the resignation or
replacement of the Agent or any assignment of rights by, or the replacement of, a Lender, the
termination of the Commitments and the repayment, satisfaction or discharge of all obligations
under any Loan Document.

       Section 2.18 Payments Generally; Pro Rata Treatment; Sharing of Set-offs.

        (a)     The Borrower shall make each payment required to be made by it hereunder
(whether of principal, interest, fees or of amounts payable under Section 2.15, Section 2.16 or
2.17, or otherwise) prior to 1:00 p.m., Boston, Massachusetts time, on the date when due, in
immediately available funds, without set-off or counterclaim. Any amounts received after such
time on any date may, in the reasonable discretion of the Administrative Agent, be deemed to
have been received on the next succeeding Business Day for purposes of calculating interest
thereon. All such payments shall be made to the Administrative Agent at its main offices in
Cleveland, Ohio, except that payments pursuant to Sections 2.15, 2.16, 2.17 and 9.03 shall be
made directly to the Persons entitled thereto. If the Administrative Agent receives a payment for
the account of a Lender prior to 1:00 p.m., Boston, Massachusetts time, such payment must be
delivered to the Lender on the same day and if it is not so delivered due to the fault of the
Administrative Agent, the Administrative Agent shall pay to the Lender entitled to the payment
interest thereon for each day after payment should have been received by the Lender pursuant
hereto until the Lender receives payment, at the Federal Funds Effective Rate. If any payment
hereunder shall be due on a day that is not a Business Day, the date for payment shall be
extended to the next succeeding Business Day, and, in the case of any payment accruing interest,
interest thereon shall be payable for the period of such extension. All payments hereunder shall
be made in Dollars.

        (b)    If at any time insufficient funds are received by and available to the
Administrative Agent to pay fully all amounts of principal, interest and fees then due hereunder,
such funds shall be applied (i) first, towards payment of interest and fees then due hereunder,
ratably among the parties entitled thereto in accordance with the amounts of interest and fees
then due to such parties, and (ii) second, towards payment of principal then due hereunder,
ratably among the parties entitled thereto in accordance with the amounts of principal then due to
such parties.

        (c)    If any Lender shall, by exercising any right of set-off or counterclaim or
otherwise, obtain payment in respect of any principal of or interest on any of its Loans resulting
in such Lender receiving payment of a greater proportion of the aggregate amount of its Loans
and accrued interest thereon than the proportion received by any other Lender, then the Lender
receiving such greater proportion shall purchase (for cash at face value) participations in the
Loans of other Lenders to the extent necessary so that the benefit of all such payments shall be
shared by the Lenders ratably in accordance with the aggregate amount of principal of and
accrued interest on their respective Loans; provided that (i) if any such participations are


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purchased and all or any portion of the payment giving rise thereto is recovered, such
participations shall be rescinded and the purchase price restored to the extent of such recovery,
without interest, and (ii) the provisions of this paragraph shall not be construed to apply to any
payment made by the Borrower pursuant to and in accordance with the express terms of this
Agreement or any payment obtained by a Lender as consideration for the assignment of or sale
of a participation in any of its Loans, other than to the Borrower or any Subsidiary or Affiliate
thereof (as to which the provisions of this paragraph shall apply). The Borrower consents to the
foregoing and agrees, to the extent it may effectively do so under applicable law, that any Lender
acquiring a participation pursuant to the foregoing arrangements may exercise against the
Borrower rights of set-off and counterclaim with respect to such participation as fully as if such
Lender were a direct creditor of the Borrower in the amount of such participation.

        (d)     Unless the Administrative Agent shall have received notice from the Borrower
prior to the date on which any payment is due to the Administrative Agent for the account of the
Lenders hereunder that the Borrower will not make such payment, the Administrative Agent may
assume that the Borrower has made such payment on such date in accordance herewith and may,
in reliance upon such assumption, distribute to the Lenders the amount due. In such event, if the
Borrower has not in fact made such payment, then each of the Lenders severally agrees to repay
to the Administrative Agent forthwith on demand the amount so distributed to such Lender with
interest thereon, for each day from and including the date such amount is distributed to it to but
excluding the date of payment to the Administrative Agent, at the Federal Funds Effective Rate.

        (e)    If any Lender shall fail to make any payment required to be made by it pursuant
to Section 2.18(d), then the Administrative Agent may, in its reasonable discretion
(notwithstanding any contrary provision hereof), apply any amounts thereafter received by the
Administrative Agent for the account of such Lender to satisfy such Lender’s obligations under
such Sections until all such unsatisfied obligations are fully paid.

       Section 2.19 Mitigation Obligations; Replacement of Lenders.

        (a)     Each Lender will notify the Borrower of any event occurring after the date of this
Agreement which will entitle such Person to compensation pursuant to Sections 2.13 and 2.15 as
promptly as practicable after it obtains knowledge thereof and determines to request such
compensation, provided that such Person shall not be liable for any costs, fees, expenses, or
additional interest due to the failure to provide such notice. If any Lender requests compensation
under Section 2.13, or if the Borrower is required to pay any additional amount to any such
Person or any Governmental Authority for the account of any Lender pursuant to Section 2.15,
then such Lender shall use reasonable efforts to avoid or minimize the amounts payable,
including, without limitation, the designation of a different lending office for funding or booking
its Loans hereunder or the assignment of its rights and obligations hereunder to another of its
offices, branches or affiliates, if, in the judgment of such Lender, such designation or assignment
(i) would eliminate or reduce amounts payable pursuant to Section 2.13 or 2.15, as the case may
be, in the future and (ii) would not subject such Lender to any unreimbursed cost or expense and
would not otherwise be disadvantageous to such Lender. The Borrower hereby agrees to pay all
reasonable and documented costs and expenses incurred by any Lender in connection with any
such designation or assignment.



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          (b)    If any Lender requests compensation under Section 2.13, or if the Borrower is
required to pay any additional amount to any Lender or any Governmental Authority for the
account of any Lender pursuant to Section 2.15, or if any Lender defaults in its obligation to
fund Loans hereunder, then the Borrower may, at its sole expense and effort (excluding any costs
or expense incurred by such Defaulting Lender), upon notice to such Lender and the
Administrative Agent, require such Lender to assign and delegate, without recourse (in
accordance with and subject to the restrictions contained in Section 9.04), all its interests, rights
and obligations under this Agreement to an assignee that shall assume such obligations (which
assignee may be another Lender, if a Lender accepts such assignment); provided that (i) the
Borrower shall have received the prior written consent of the Administrative Agent, which
consent shall not unreasonably be withheld, (ii) such Lender shall have received payment of an
amount equal to the outstanding principal of its Loans, accrued interest thereon, accrued fees and
all other amounts payable to it hereunder, from the assignee (to the extent of such outstanding
principal and accrued interest and fees) or the Borrower (in the case of all other amounts), and
(iii) in the case of any such assignment resulting from a claim for compensation under Section
2.13 or payments required to be made pursuant to Section 2.15, such assignment will result in a
reduction in such compensation or payments. A Lender shall not be required to make any such
assignment and delegation if, prior thereto, as a result of a waiver by such Lender or otherwise,
the circumstances entitling the Borrower to require such assignment and delegation cease to
apply.

       Section 2.20 Defaulting Lenders.

       (a)    Adjustments. Notwithstanding anything to the contrary contained in this Credit
Agreement, if any Lender becomes a Defaulting Lender, then, until such time as that Lender is
no longer a Defaulting Lender, to the extent permitted by applicable Law:

                      (i)     Waivers and Amendments. That Defaulting Lender’s right to
               approve or disapprove any amendment, waiver or consent with respect to this
               Credit Agreement shall be restricted as set forth in Section 9.02.

                       (ii)    Reallocation of Payments. Any payment of principal, interest, fees
               or other amounts received by Administrative Agent for the account of a
               Defaulting Lender (whether voluntary or mandatory, at maturity, pursuant to
               ARTICLE VII or otherwise, and including any amounts made available to
               Administrative Agent by that Defaulting Lender pursuant to Section 9.08), shall
               be applied at such time or times as may be determined by Administrative Agent
               as follows: first, to the payment of any amounts owing by that Defaulting Lender
               to Administrative Agent hereunder; second, if so determined by Administrative
               Agent, to be held as cash collateral for future funding obligations of such
               Defaulting Lender; third, to the payment of any amounts owing to the non-
               Defaulting Lenders as a result of any judgment of a court of competent
               jurisdiction obtained by any Lender against such Defaulting Lender as a result of
               that Defaulting Lender’s breach of its obligations under this Credit Agreement;
               fourth, so long as no Default or Event of Default exists, to the payment of any
               amounts owing to the applicable Borrower as a result of any judgment of a court



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              of competent jurisdiction obtained by Borrower against such Defaulting Lender as
              a result of such Defaulting Lender’s breach of its obligations under this Credit
              Agreement; and fifth, to such Defaulting Lender or as otherwise directed by a
              court of competent jurisdiction. Any payments, prepayments or other amounts
              paid or payable to a Defaulting Lender that are applied (or held) to pay amounts
              owed by a Defaulting Lender or to post cash collateral pursuant to this Section
              2.20(a)(ii) shall be deemed paid to and redirected by such Defaulting Lender, and
              each Lender irrevocably consents hereto.

        (b)     Defaulting Lender Cure. If the Borrower and Administrative Agent agree in
writing in their reasonable discretion that a Defaulting Lender has taken such action that it
should no longer be deemed to be a Defaulting Lender, Administrative Agent will so notify the
parties hereto, whereupon as of the effective date specified in such notice and subject to any
conditions set forth therein (which may include arrangements with respect to any cash
collateral), such Defaulting Lender will, to the extent applicable, purchase that portion of
outstanding Loans of the other Lenders or take such other actions as Administrative Agent may
determine to be necessary to cause the Loans to be held on a pro rata basis by the Lenders in
accordance with their Applicable Percentages, whereupon such Defaulting Lender will cease to
be a Defaulting Lender; provided that no adjustments will be made retroactively with respect to
fees accrued or payments made by or on behalf of the Borrower while such Lender was a
Defaulting Lender; and provided, further, that except to the extent otherwise expressly agreed by
the affected parties, no cessation in status as Defaulting Lender will constitute a waiver or
release of any claim of any party hereunder arising during the period that such Lender was a
Defaulting Lender.

        Section 2.21 Extension of Tranche A Maturity Date. The Borrower shall have the right
and option to extend the Tranche A Maturity Date on no more than two occasions and for a term
of 90 days on each occasion, first to June 26, 2019 and then to September 26, 2019, in each case,
upon satisfaction of the following conditions precedent, which must be satisfied prior to the
effectiveness of any extension of the Tranche A Initial Maturity Date:

       (a)    Extension Request. The Borrower shall deliver written notice of such request (the
“Extension Request”) to the Agent not later than the date which is thirty (30) days prior to the
Tranche A Initial Maturity Date.

       (b)     Payment of Extension Fee. The Borrower shall pay to the Agent for the pro rata
accounts of the Lenders in accordance with their respective Commitments an extension fee in an
amount equal to 0.10% of the outstanding principal amount of the Tranche A Loans on the date
of each extension of the Tranche A Initial Maturity Date, which fee shall, when paid, be fully
earned and non-refundable under any circumstances.

       (c)    No Default. On the date the Extension Request is given and the effective date of
such extension there shall exist no Default or Event of Default.

       (d)     Purchase and Sale. Borrower shall have, prior to the effective date of each such
extension, entered in a legally binding purchase and sale agreement (or similar) with respect to
the Mortgaged Properties, with the sale of the Mortgaged Properties pursuant to such agreement


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being scheduled to occur prior to the latest date to which the Tranche A Initial Maturity Date
could be extended in accordance with the provisions of this Section 2.21.

        Section 2.22 Extension of Tranche B Maturity Date. The Borrower shall have the right
and option to extend the Tranche B Maturity Date on a single occasion to March 26, 2020, upon
satisfaction of the following conditions precedent, which must be satisfied prior to the
effectiveness of such extension of the Tranche B Initial Maturity Date:

       (a)     Extension Request. The Borrower shall deliver an Extension Request to the
Agent not later than the date which is thirty (30) days prior to the Tranche B Initial Maturity
Date.

       (b)     Payment of Extension Fee. The Borrower shall pay to the Agent for the pro rata
accounts of the Lenders in accordance with their respective Commitments an extension fee in an
amount equal to 0.40% of the outstanding principal amount of the Tranche B Loans on the
Tranche B Initial Maturity Date, which fee shall, when paid, be fully earned and non-refundable
under any circumstances.

       (c)    No Default. On the date the Extension Request is given and the effective date of
such extension there shall exist no Default or Event of Default.

       (d)    Principal Reduction. On the date of such extension, the Tranche A Loans shall
have been paid in full and the aggregate principal amount of the Tranche B Loans shall not
exceed $50,000,000.

                                           ARTICLE III

                                 Representations and Warranties

       The Borrower represents and warrants to the Lenders and the Administrative Agent that:

       Section 3.01 Organization; Powers. Each Borrower and each of its Subsidiaries is duly
organized, validly existing and in good standing under the laws of the jurisdiction of its
organization, has all requisite power and authority to carry on its business as now conducted and,
except where the failure to do so, individually or in the aggregate, would not reasonably be
expected to result in a Material Adverse Effect, is qualified to do business in, and is in good
standing in, every jurisdiction where such qualification is required.

        Section 3.02 Authorization; Enforceability. The Transactions are within the corporate,
partnership or limited liability company powers (as applicable) of the respective Borrowers and
their Subsidiaries and have been duly authorized by all necessary corporate, partnership or
limited liability company action. This Agreement and the Loan Documents have been duly
executed and delivered by each Borrower which is a party thereto and constitute the legal, valid
and binding obligation of each such Person, enforceable in accordance with its terms, subject to
applicable bankruptcy, insolvency, reorganization, moratorium or other laws affecting creditors’
rights generally and subject to general principles of equity, regardless of whether considered in a
proceeding in equity or at law.


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        Section 3.03 Governmental Approvals; No Conflicts. The Transactions (a) do not
require any consent or approval of, registration or filing with, or any other action by, any
Governmental Authority, except such as have been obtained or made and are in full force and
effect or which shall be completed at the appropriate time for such filings under applicable
securities laws, (b) will not violate any applicable law or regulation or the charter, by-laws or
other organizational documents of any Borrower or any Collateral Subsidiary or any order of any
Governmental Authority, (c) will not violate or result in a default under any indenture,
agreement or other instrument binding upon any Borrower or any Collateral Subsidiary or its
assets, or give rise to a right thereunder to require any payment to be made by any Borrower or
any of the Borrower’s Subsidiaries, and (d) will not result in the creation or imposition of any
Lien on any asset of any Borrower or any Collateral Subsidiary, except pursuant to the Pledge
Agreement, the Equity Proceeds Pledge, the Economic Interest Pledge, and the Senior Loan.

        Section 3.04 Financial Condition; No Material Adverse Change.

        (a)     The Borrower has heretofore furnished to the Lenders audited financial
statements for Highland Capital and management-prepared financial statements for all other
Borrowers (other than the Property Owner Borrowers) as of and for the annual fiscal period
ended December 31, 2017 and management-prepared financial statements as of and for the
quarterly fiscal period ended June 30, 2018. Such financial statements present fairly, in all
material respects, the financial position and results of operations and cash flows of the Borrower
and its consolidated Subsidiaries as of such dates and for such periods in accordance with sound
accounting principles, consistently applied, subject to year-end audit adjustments.

       (b)    To Borrower’s actual knowledge, since December 31, 2017, no event has
occurred which would reasonably be expected to have a Material Adverse Effect.

        Section 3.05 Properties.

          (a)     Each of the Borrower and its Subsidiaries has title to, or valid leasehold interests
in, all its real and personal property material to its business, except for minor defects in title that
do not interfere with its ability to conduct its business as currently conducted or to utilize such
properties for their intended purposes, or Liens permitted under Section 6.01.

        (b)     To each Borrower’s actual knowledge, all franchises, licenses, authorizations,
rights of use, governmental approvals and permits (including all certificates of occupancy and
building permits) required to have been issued by Governmental Authority to enable all Real
Property owned or leased by Borrower or any of its Subsidiaries to be operated as then being
operated have been lawfully issued and are in full force and effect, other than those which the
failure to obtain in the aggregate would not be reasonably expected to have a Material Adverse
Effect. To each Borrower’s actual knowledge, no Borrower or any Subsidiary thereof is in
violation of the terms or conditions of any such franchises, licenses, authorizations, rights of use,
governmental approvals and permits, which violation would reasonably be expected to have a
Material Adverse Effect.

       (c)     None of the Borrowers has received any notice or has any actual knowledge of
any pending, threatened or contemplated condemnation proceeding affecting any of the Real


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Properties or any part thereof, or any proposed termination or impairment of any parking (except
as contemplated in any approved expansion approved by Administrative Agent) at the Real
Properties or of any sale or other disposition of the Real Properties or any part thereof in lieu of
condemnation, which in the aggregate, are reasonably likely to have a Material Adverse Effect.

        (d)      Subject to the property conditions reports obtained by the Borrower at the time of
acquisition with respect to the Mortgaged Property, to Borrower’s actual knowledge, all
components of all improvements included within the Mortgaged Property owned or leased, as
lessee, by any Borrower, including, without limitation, the roofs and structural elements thereof
and the heating, ventilation, air conditioning, plumbing, electrical, mechanical, sewer, waste
water, storm water, paving and parking equipment, systems and facilities included therein, are in
good working order and repair, subject to such exceptions which are not reasonably likely to
have, in the aggregate, a Material Adverse Effect. To Borrower’s actual knowledge, all water,
gas, electrical, steam, compressed air, telecommunication, sanitary and storm sewage lines and
systems and other similar systems serving the Mortgaged Property owned or leased by Borrower
are installed and operating and are sufficient to enable the Mortgaged Property to continue to be
used and operated in the manner currently being used and operated, and no Borrower has any
knowledge of any factor or condition that reasonably would be expected to result in the
termination or material impairment of the furnishing thereof, subject to such exceptions which
are not likely to have, in the aggregate, a Material Adverse Effect. To Borrower’s actual
knowledge, no improvement or portion thereof, or any other part of any Mortgaged Property, is
dependent for its access, operation or utility on any land, building or other improvement not
included in such Mortgaged Property, other than for access provided pursuant to a recorded
easement or other right of way establishing the right of such access subject to such exceptions
which are not likely to have, in the aggregate, a Material Adverse Effect.

        (e)     Except for events or conditions not reasonably likely to, in the aggregate,
materially impair the value or operation of the Mortgaged Property, to Borrower’s actual
knowledge (i) no portion of the Mortgaged Property has suffered any material damage by fire or
other casualty loss which has not heretofore been completely repaired and restored to its
condition prior to such casualty, and (ii) no portion of the Mortgage Property is located in a
special flood hazard area as designated by any federal Government Authorities unless the
Administrative Agent shall have received evidence that such Mortgaged Property is insured by
special flood insurance under the National Flood Insurance Program in an amount equal to the
full replacement cost (subject to sublimits and exclusions approved by the Administrative Agent)
or the maximum amount then available under the National Flood Insurance Program.

       (f)     There are no Persons operating or managing the Mortgaged Property other than
the Borrower and the Management Company pursuant to (i) the management agreements
delivered to Administrative Agent as of the Effective Date, and (ii) such other management
agreements in form and substance reasonably satisfactory to the Administrative Agent.

        Section 3.06 Intellectual Property. To the actual knowledge of each Borrower, such
Borrower and its Subsidiaries owns, or is licensed to use, all patents and other intellectual
property material to its business, and the use thereof by such Borrower or such Subsidiary does
not infringe upon the rights of any other Person, except for any such infringements that,



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individually or in the aggregate, would not reasonably be expected to result in a Material
Adverse Effect. To the actual knowledge of each Borrower, there are no material slogans or
other advertising devices, projects, processes, methods, substances, parts or components, or other
material now employed, or now contemplated to be employed, by any Borrower or any
Subsidiary of any Borrower, with respect to the operation of any Real Property, and no claim or
litigation regarding any slogan or advertising device, project, process, method, substance, part or
component or other material employed, or now contemplated to be employed by any Borrower
or any Subsidiary of any Borrower, is pending or threatened, the outcome of which could
reasonably be expected to have a Material Adverse Effect.

       Section 3.07 Litigation and Environmental Matters.

        (a)    To the actual knowledge of the Borrower, except as set forth in Schedule 3.07
attached hereto, there are no actions, suits or proceedings by or before any arbitrator or
Governmental Authority pending against or, threatened against or affecting any Borrower or any
of the Borrower’s Subsidiaries (i) as to which there is a reasonable possibility of an adverse
determination and that, if adversely determined, would reasonably be expected, individually or
in the aggregate, to result in a Material Adverse Effect or (ii) that involve this Agreement or the
Transactions.

        (b)    Except as disclosed in the environmental reports obtained by the Borrower at the
time of acquisition with respect to the Portfolio Property and with respect to any matters that,
individually or in the aggregate, would not reasonably be expected to result in a Material
Adverse Effect:

                      (i)    to the actual knowledge of the Borrowers, all Real Property leased
               or owned by Borrower or any of its Subsidiaries is free from contamination by
               any Hazardous Material, except to the extent such contamination would not
               reasonably be expected to cause a Material Adverse Effect;

                       (ii)   to the actual knowledge of the Borrower, the operations of
               Borrower and its Subsidiaries, and the operations at the Real Property leased or
               owned by Borrower or any of its Subsidiaries are in compliance with all
               applicable Environmental Laws, except to the extent such noncompliance would
               not reasonably be expected to cause a Material Adverse Effect;

                        (iii) neither the Borrower nor any of its Subsidiaries have known
               liabilities with respect to Hazardous Materials and, to the knowledge of each
               Borrower, no facts or circumstances exist which would reasonably be expected to
               give rise to liabilities with respect to Hazardous Materials, in either case, except
               to the extent such liabilities would not reasonably be expected to have a Material
               Adverse Effect;

                      (iv)    to Borrower’s actual knowledge, (A) the Borrower and its
               Subsidiaries and all Real Property owned or leased by Borrower or its
               Subsidiaries have all Environmental Permits necessary for the operations at such
               Real Property and are in compliance with such Environmental Permits; (B) there


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            are no legal proceedings pending nor, to the knowledge of any Borrower,
            threatened to revoke, or alleging the violation of, such Environmental Permits;
            and (C) none of the Borrowers have received any notice from any source to the
            effect that there is lacking any Environmental Permit required in connection with
            the current use or operation of any such properties, in each case, except to the
            extent the nonobtainment or loss of an Environmental Permit would not
            reasonably be expected to have a Material Adverse Effect;

                    (v)     neither the Real Property currently leased or owned by Borrower
            nor, to the actual knowledge of any Borrower, are subject to any outstanding
            written order or contract, including Environmental Liens, with any Governmental
            Authority or other Person, or to any federal, state, local, foreign or territorial
            investigation of which a Credit Party has been given notice respecting (A)
            Environmental Laws, (B) Remedial Action, (C) any Environmental Claim; or (D)
            the Release or threatened Release of any Hazardous Material, in each case, except
            to the extent such written order, contract or investigation would not reasonably be
            expected to have a Material Adverse Effect;

                   (vi)     to the actual knowledge of each Borrower, none of the Borrowers
            are subject to any pending legal proceeding alleging the violation of any
            Environmental Law nor are any such proceedings threatened, in either case,
            except to the extent any such proceedings would not reasonably be expected to
            have a Material Adverse Effect;

                     (vii) Borrower has not filed any notice under federal, state or local,
            territorial or foreign law indicating past or present treatment, storage, or disposal
            of or reporting a Release of Hazardous Material into the environment with respect
            to the Mortgaged Property, in each case, except to the extent such Release of
            Hazardous Material would not reasonably be expected to have a Material Adverse
            Effect;

                     (viii) to the actual knowledge of each Borrower, none of the operations
            of the Borrower or any of its Subsidiaries or, of any owner of premises currently
            leased by Borrower or any of its Subsidiaries or of any tenant of premises
            currently leased from Borrower or any of its Subsidiaries, involve the generation,
            transportation, treatment, storage or disposal of hazardous waste, as defined under
            40 C.F.R. Part 261.3 (in effect as of the date of this Agreement) or any state,
            local, territorial or foreign equivalent, in violation of Environmental Laws; and

                    (ix)    to the knowledge of the Borrower, there is not now (except, in all
            cases, to the extent the existence thereof would not reasonably be expected to
            have a Material Adverse Effect), on, in or under any Real Property leased or
            owned by Borrower or any of its Subsidiaries (A) any underground storage tanks
            or surface tanks, dikes or impoundments (other than for surface water); (B) any
            friable asbestos-containing materials; (C) any polychlorinated biphenyls; or (D)
            any radioactive substances other than naturally occurring radioactive material.



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        Section 3.08 Compliance with Laws and Agreements. Each of the Borrower and its
Subsidiaries is in material compliance with all Legal Requirements (including all Environmental
Laws) applicable to it or its property and all indentures, agreements and other instruments
binding upon it or to its knowledge, its property, except where the failure to do so, individually
or in the aggregate, would not reasonably be expected to result in a Material Adverse Effect. No
Default has occurred and is continuing.

        Section 3.09 Investment and Holding Company Status. Neither any of the Borrowers nor
any of the Borrower’s Subsidiaries is (a) an “investment company” as defined in, or subject to
regulation under, the Investment Company Act of 1940 or (b) a “holding company” as defined
in, or subject to regulation under, the Public Utility Holding Company Act of 1935.

       Section 3.10 Taxes. To Borrower’s actual knowledge, each Borrower and each of the
Borrower’s Subsidiaries has timely filed or caused to be filed all Tax returns and reports required
to have been filed and has paid or caused to be paid all Taxes required to have been paid by it,
except (a) Taxes that are being contested in good faith by appropriate proceedings and for which
such Person has set aside on its books adequate reserves or (b) to the extent that the failure to do
so would not reasonably be expected to result in a Material Adverse Effect.

        Section 3.11 ERISA. No ERISA Event has occurred or is reasonably expected to occur
that, when taken together with all other such ERISA Events for which liability is reasonably
expected to occur, would reasonably be expected to result in a Material Adverse Effect. Neither
the Borrower nor any of its Subsidiaries have any Plans as of the date hereof. As to any future
Plan the present value of all accumulated benefit obligations under each Plan (based on the
assumptions used for purposes of Statement of Financial Accounting Standards No. 87) will not
exceed the fair market value of the assets of such Plan, and the present value of all accumulated
benefit obligations of all underfunded Plans (based on the assumptions used for purposes of
Statement of Financial Accounting Standards No. 87) will not exceed the fair market value of the
assets of all such underfunded Plans.

         Section 3.12 Disclosure. To the actual knowledge of the Borrower, the Borrower has
disclosed or made available to the Lenders all agreements, instruments and corporate or other
restrictions to which it, any other Borrower, or any of its Subsidiaries is subject, and all other
matters known to it, that, in the aggregate, would reasonably be expected to result in a Material
Adverse Effect. None of the reports, financial statements, certificates or other information
furnished by or on behalf of the Borrower to the Administrative Agent or any Lender in
connection with the negotiation of this Agreement or delivered hereunder (as modified or
supplemented by other information so furnished) contains any material misstatement of fact or
omits to state any material fact necessary to make the statements therein, in the light of the
circumstances under which they were made, not misleading; provided that, with respect to
projected financial information, the Borrower represents only that such information was prepared
in good faith based upon assumptions believed to be reasonable at the time.

        Section 3.13 Solvency. As of the Effective Date and after giving effect to the
transactions contemplated by this Agreement and the other Loan Documents (including any
contribution rights under the Guaranty), including all Loans made or to be made hereunder, the
Borrower is not insolvent on a balance sheet basis such that the sum of such Person’s assets


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exceeds the sum of such Person’s liabilities, the Borrower is able to pay its debts as they become
due, and the Borrower has sufficient capital to carry on its business.

        Section 3.14 Margin Regulations. Neither the Borrower nor any Subsidiary of Borrower
is engaged in the business of extending credit for the purpose of purchasing or carrying margin
stock (within the meaning of Regulation U issued by the Board), and no proceeds of the Loans
will be used to purchase or carry any margin stock.

        Section 3.15 Subsidiaries. As of the Effective Date, no Person owns any Equity Interests
in the Portfolio Properties, Summers Landing Property, or HCRE Properties except as set forth
on Schedule 3.15 attached hereto.

        Section 3.16 OFAC; Anti-Money Laundering. None of the Borrower, any of the other
Subsidiaries, or any other Affiliate thereof is (or will be) (i) a Sanctioned Person, (ii) located,
organized or resident in a Designated Jurisdiction, (iii) to the best of Borrower’s knowledge,
without any independent inquiry, is or has been (within the previous five (5) years) engaged in
any transaction with any Sanctioned Person or any Person who is located, organized or resident
in any Designated Jurisdiction to the extent that such transactions would violate Sanctions, or
(iv) has violated any Anti-Money Laundering Law in any material respect. Each Borrower and
its Subsidiaries, and to the knowledge of the Borrower, each director, officer, employee, agent
and Affiliate of the Borrower and each such Subsidiary, is in compliance with the Anti-
Corruption Laws in all material respects. The Borrowers have implemented and maintain in
effect policies and procedures designed to promote and achieve compliance with the Anti-
Corruption Laws and applicable Sanctions.

       Section 3.17 EEA Financial Institution. No Borrower is an EEA Financial Institution.

        Section 3.18 Single Asset Entity; Compliance With Laws. Each Property Owner
Borrower hereby represents and warrants to, and covenants with, Agent that as of the date hereof
and until such time as the Loan shall be paid in full, that such Property Owner Borrower has not
at any time, does not presently, and shall not:

        (a)    own any asset or property other than (i) the Mortgaged Property owned by it as of
the date hereof, and (ii) incidental personal property necessary for the ownership or operation of
such Mortgaged Property;

      (b)    engage in any business other than the ownership, management and operation of
such Mortgaged Property;

        (c)    enter into any contract or agreement with any Affiliate of Property Owner, any
constituent party of such Property Owner Borrower or any Affiliate of any constituent party,
except upon terms and conditions that are substantially similar to those that would be available
on an arms-length basis with third parties other than any such party;

        (d)    incur any Indebtedness other than (i) the Loan, (ii) unsecured trade payables in
the ordinary course of business not evidenced by a note, (iii) indebtedness incurred in the
financing of equipment and other personal property used on the Property, and (iv) obligations to


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tenants under Approved Leases; provided that any indebtedness incurred pursuant to subclauses
(ii) and (iii) shall (x) be paid within ninety (90) days of the date incurred (or, in the case of
equipment leases, such longer period as may be permitted by such leases), and (y) be incurred in
the ordinary course of business.

        (e)    make any loans or advances to any third party (including any Affiliate or
constituent party), or acquire obligations or securities of its Affiliates;

        (f)    fail to remain solvent or fail to pay its debts and liabilities (including, as
applicable, shared personnel and overhead expenses) from its assets as the same shall become
due; for the avoidance of doubt, nothing herein shall require any member of Property Owner
Borrower to make additional capital contributions to such Property Owner Borrower;

         (g)     fail to do all things necessary to observe organizational formalities and preserve
its existence, and such Property Owner Borrower shall not, nor shall such Property Owner
Borrower permit any constituent party to, amend, modify or otherwise change the partnership
certificate, partnership agreement, articles of incorporation and bylaws, operating agreement,
trust or other organizational documents of such Property Owner Borrower or such constituent
party without the prior consent of Lender in any manner that (i) violates the covenants set forth
in this Section 3.17, or (ii) amends, modifies or otherwise changes any provision thereof that by
its terms cannot be modified at any time when the Loan is outstanding or by its terms cannot be
modified without Administrative Agent’s consent;

        (h)     fail to maintain all of its books, records, financial statements and bank accounts
separate from those of its Affiliates and any constituent party. Such Property Owner Borrower’s
assets will not be listed as assets on the financial statement of any other Person, provided,
however, that such Property Owner Borrower’s assets may be included in a consolidated
financial statement of its Affiliates provided that (i) appropriate notation shall be made on such
consolidated financial statements to indicate the separateness of such Property Owner Borrower
and such Affiliates and to indicate that such Property Owner Borrower’s assets and credit are not
available to satisfy the debts and other obligations of such Affiliates or any other Person and (ii)
such assets shall be listed on such Property Owner Borrower’s own separate balance sheet. Such
Property Owner Borrower shall maintain its books, records, resolutions and agreements as
official records;

        (i)     fail to be, or fail to hold itself out to the public as, a legal entity separate and
distinct from any other entity (including any Affiliate of such Property Owner Borrower or any
constituent party of such Property Owner Borrower), fail to correct any known misunderstanding
regarding its status as a separate entity, fail to conduct business in its own name, or fail to
maintain and utilize separate stationery, invoices and checks bearing its own name, and such
Property Owner Borrower shall not identify itself or any of its Affiliates as a division or part of
the other;

        (j)    fail to maintain adequate capital for the normal obligations reasonably foreseeable
in a business of its size and character and in light of its contemplated business operations; for the
avoidance of doubt, nothing herein shall require any member of such Property Owner Borrower
to make additional capital contributions to such Property Owner Borrower;


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        (k)     seek or effect the liquidation, dissolution, winding up, consolidation or merger, in
whole or in part, of such Property Owner Borrower nor permit any constituent party of such
Property Owner Borrower to do any of the foregoing; for the avoidance of doubt, nothing herein
shall require any member of Property Owner to make additional capital contributions to such
Property Owner Borrower;

       (l)    commingle the funds and other assets of such Property Owner Borrower with
those of any Affiliate or constituent party or any other Person, and shall hold all of its assets in
its own name;

        (m)    fail to maintain its assets in such a manner that it will not be costly or difficult to
segregate, ascertain or identify its individual assets from those of any Affiliate or constituent
party or any other Person;

        (n)     except with respect to the Obligations, guarantee or become obligated for the
debts of any other Person or hold itself out to be responsible for or have its credit available to
satisfy the debts or obligations of any other Person;

       (o)     permit any Affiliate independent access to its bank accounts; or

       (p)      fail to compensate each of its consultants and agents from its funds for services
provided to it and pay from its own assets all obligations of any kind incurred; for the avoidance
of doubt, nothing herein shall require any member of Property Owner to make additional capital
contributions to such Property Owner Borrower.

                                            ARTICLE IV

                                              Conditions

        Section 4.01 Effective Date. The obligations of the Lenders to make the Loans hereunder
shall not become effective until the date on which each of the following conditions is satisfied
(or waived in accordance with Section 9.02):

        (a)    The Administrative Agent (or its counsel) shall have received from each
Borrower either (i) a counterpart of this Agreement and all other Loan Documents to which it is
party signed on behalf of such party or (ii) written evidence satisfactory to the Administrative
Agent (which may include telecopy transmission of a signed signature page of each such Loan
Document other than the Notes) that such party has signed a counterpart of the Loan Documents,
together with copies of all Loan Documents.

        (b)    The Administrative Agent shall have received a favorable written opinion
(addressed to the Administrative Agent and the Lenders and dated the Effective Date) of Wick
Phillips Gould & Martin, LLP, counsel for the Borrower, and such other counsel as the
Administrative Agent may approve, covering such matters relating to the Borrower, the Loan
Documents or the Transactions as the Administrative Agent shall reasonably request. The
Borrower hereby requests such counsel to deliver such opinion.



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         (c)    The Administrative Agent shall have received such documents and certificates as
the Administrative Agent or its counsel may reasonably request relating to the organization,
existence and good standing of the Borrower, the authorization of the Transactions and any other
legal matters relating to the Borrower, this Agreement (including each Borrower’s compliance
with Section 9.14 and other customary “know your customer” requirements) or the Transactions,
all in form and substance satisfactory to the Administrative Agent and its counsel.

        (d)     The Administrative Agent shall have received a Compliance Certificate, dated the
date of this Agreement and signed by Borrowers or Lead Borrower, in form and substance
satisfactory to the Administrative Agent.

       (e)    The Administrative Agent shall have received searches of Uniform Commercial
Code (“UCC”) filings (or their equivalent) together with such other customary lien, litigation and
bankruptcy searches as the Administrative Agent may require.

       (f)     The Administrative Agent shall have received all fees and other amounts due and
payable on or prior to the Effective Date, including, to the extent invoiced, reimbursement or
payment of all out-of-pocket expenses required to be reimbursed or paid by the Borrower
hereunder.

       (g)    The Administrative Agent shall have received an Appraisal of each Mortgaged
Property being included as Collateral in form and substance satisfactory to the Administrative
Agent and the Lenders;

        (h)    The Administrative Agent shall have received executed copies of all other Loan
Documents, the Environmental Assessment, the Title Insurance Policy and the Current Survey
(in each instance as delivered in connection with the original closing of the Loan, with the
Administrative Agent receiving an acceptable endorsement to each Title Insurance Policy),
property condition assessments, insurance certificates, and such other due diligence information
as the Administrative Agent may require for each Mortgaged Property.

        (f)     The representations and warranties of each Borrower set forth in this Agreement
or in any other Loan Document shall be true and correct on and as of the Effective Date.

       (g)     At the time of and immediately after giving effect to the making of the Loans, no
Default shall have occurred and be continuing.

        (h)     The Administrative Agent shall have received and approved executed copies of
the Senior Loan Documents and sufficient evidence that the Senior Loan has closed and funded
and that the proceeds thereof, together with the proceeds of the Loans hereunder, shall be
sufficient to consummate the acquisition of the Portfolio Properties and the Summers Landing
Property.

        (i)    Upon the reasonable request of any Lender made at least ten (10) days prior to the
Effective Date, each Borrower shall have provided to such Lender the documentation and other
information so requested in connection with applicable “know your customer” and anti-money-



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laundering rules and regulations, including the Patriot Act, in each case at least five (5) days
prior to the Effective Date.

        (j)     At least five (5) days prior to the Effective Date, any Borrower that qualifies as a
“legal entity customer” under the Beneficial Ownership Regulation shall deliver a Beneficial
Ownership Certification in relation to such Borrower to each requesting Lender.

      Section 4.02 Each Borrowing. The obligation of each Lender (as applicable) to make a
Loan on the occasion of any Borrowing is subject to the satisfaction of the following conditions:

        (a)     The representations and warranties of each Borrower set forth in this Agreement
or in any other Loan Document shall be true and correct on and as of the date of such Borrowing.

        (b)    At the time of and immediately after giving effect to such Borrowing, no Default
shall have occurred and be continuing.

       (c)    With respect to any requested Borrowings, the Borrower shall have complied with
Section 2.03.

       (d)    Each Borrowing shall be deemed to constitute a representation and warranty by
the Borrower on the date thereof as to the matters specified in this Section.

                                            ARTICLE V

                                      Affirmative Covenants

       Until the principal of and interest on the Loans and all fees payable hereunder shall have
been paid in full, the Borrower covenants and agrees with the Lenders that:

      Section 5.01 Financial Statements; Ratings Change and Other Information. The
Borrower will furnish to the Administrative Agent and each Lender:

       (a)     within 120 days after the end of each fiscal year of the Borrower, the consolidated
balance sheet and related statements of operations, stockholders' equity and cash flows as of the
end of and for such year, together with all notes thereto, setting forth in each case in comparative
form the figures for the previous fiscal year, which shall be (i) with respect to Highland Capital,
reported on by Deloitte or other independent public accountants of recognized national standing
(without a “going concern” or like qualification or exception and without any qualification or
exception as to the scope of such audit), and (ii) with respect to each other Borrower other than
the Property Owner Borrowers, certified by each such Borrower, in each case, to the effect that
such consolidated financial statements present fairly in all material respects the financial
condition and results of operations of the applicable Borrower and its consolidated Subsidiaries
on a consolidated basis in accordance with sound accounting principles, consistently applied;

       (b)     within 60 days after the end of each fiscal quarter of each fiscal year of the
Borrower, each Borrower’s (other than the Property Owner Borrowers) consolidated balance
sheet and related statements of operations, stockholders' equity and cash flows as of the end of



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and for such fiscal quarter and the then elapsed portion of the fiscal year, setting forth in each
case in comparative form the figures for the corresponding period or periods of (or, in the case of
the balance sheet, as of the end of) the previous fiscal year and including supporting notes and
schedules, all certified by each such Borrower as presenting fairly in all material respects the
financial condition and results of operations of the applicable Borrower on a consolidated basis
in accordance with sound accounting principles, consistently applied, subject to normal year-end
audit adjustments and the absence of footnotes;

       (c)     concurrently with any delivery of financial statements under clause (a) or
(b) above, a compliance certificate of the Borrowers (the “Compliance Certificate”) in the form
of Exhibit B attached hereto;

       (d)     concurrently with any delivery of quarterly financial statements under clause
(b) above, operating statements, rent roll and accounts receivable aging for each Mortgaged
Property; and

       (e)     promptly following any request therefor, such other information regarding the
operations, business affairs and financial condition of any Borrower or any Subsidiary of the
Borrower, or compliance with the terms of the Loan Documents, as the Administrative Agent or
any Lender may reasonably request.

        Section 5.02 Financial Tests. The Borrower shall have and maintain at all times, on a
consolidated basis in accordance with sound accounting principles, consistently applied, tested
as of the close of each calendar quarter:

       (a)     A Total Leverage Ratio not to exceed sixty-five percent (65%);

       (b)     A minimum Fixed Charge Coverage Ratio of not less than 1.30:1.00;

       (c)     Tangible Net Worth at all times of not less than $750,000,000; and

        (d)     A minimum Liquidity at all times in an amount not less than $75,000,000;
provided that, at any time when the aggregate outstanding principal amount of the Loans is
$150,000,000 or less, Borrower shall maintain minimum Liquidity in an amount not less than the
lesser of (i) $75,000,000 and (ii) 25% of the aggregate outstanding principal amount of the
Loans.

       Section 5.03 Notices of Material Events. The Borrower will furnish to the
Administrative Agent and each Lender written notice of the following promptly after it becomes
aware of same (unless specific time is set forth below):

        (a)    the occurrence of any Default under this Agreement or any default or event of
default under a Senior Loan Document;

        (b)    within fifteen (15) Business Days after the filing or commencement of any action,
suit or proceeding by or before any arbitrator or Governmental Authority against or affecting any




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Borrower or any Affiliate thereof that, if adversely determined, would reasonably be expected to
result in a Material Adverse Effect;

       (c)     within fifteen (15) Business Days after the occurrence of any ERISA Event that,
alone or together with any other ERISA Events that have occurred, would reasonably be
expected to result in liability of the Borrower and its Subsidiaries in an aggregate amount
exceeding $10,000,000.00; and

       (d)      any other development that results in, or would reasonably be expected to result
in, a Material Adverse Effect.

        Each notice delivered under this Section shall be accompanied by a statement of such
Borrower setting forth the details of the event or development requiring such notice and any
action taken or proposed to be taken with respect thereto.

        At the Administrative Agent’s option, after the happening of any of the events listed in
clauses (a), (b) or (d) above which would reasonably be expected to result in a Material Adverse
Effect on any of the Mortgaged Properties, the Administrative Agent may obtain, or cause the
Borrower to obtain, an updated Appraisal for the Mortgaged Properties giving rise to such
events, all at the Borrower’s expense.

        Section 5.04 Existence; Conduct of Business. The Borrower will, and will cause each of
its Subsidiaries to, do or cause to be done all things necessary to preserve, renew and keep in full
force and effect its legal existence and the rights, licenses, permits, privileges and franchises
material to the conduct of its business; provided that the foregoing shall not prohibit any merger,
consolidation, liquidation or dissolution permitted under this Agreement. The Borrower may not
be organized under the laws of a jurisdiction other than the United States of America, any State
thereof or the District of Columbia. As an express inducement to Lenders to make and maintain
the Loan, each Property Owner Borrower agrees at all times prior to payment and satisfaction of
all Obligations to be and remain a single purpose entity in accordance with Section 3.18 above.

        Section 5.05 Payment of Obligations. The Borrower will, and will cause each of its
Subsidiaries to, pay its obligations, including Tax liabilities, that, if not paid, would result in a
Material Adverse Effect before the same shall become delinquent or in default, except where (a)
the validity or amount thereof is being contested in good faith by appropriate proceedings, (b)
the Borrower or such Subsidiary has set aside on its books adequate reserves with respect thereto
in accordance with sound accounting principles, consistently applied, and (c) the failure to make
payment pending such contest would not reasonably be expected to result in a Material Adverse
Effect. The Borrower will, and will cause each of its Subsidiaries to, comply with all of its
obligations and liabilities (as applicable) under the Senior Loan Documents.

       Section 5.06 Maintenance of Properties; Insurance.

       (a)     The Borrower will, and will cause each of its Subsidiaries to, (i) keep and
maintain all property material to the conduct of its business in good working order and condition,
ordinary wear and tear excepted, and (ii) maintain, with financially sound and reputable
insurance companies, insurance in such amounts and against such risks as are reasonable and


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customary for similarly situated Properties. Without limitation to the foregoing, the Borrower
will, with respect to each Mortgaged Property, maintain, with financially sound and reputable
insurance companies, insurance against such risks as are set forth below and in such amounts as
are reasonably required by Administrative Agent from time to time, with Administrative Agent
named as loss payee and a beneficiary of such insurance on substantially similar policies and
programs as are acceptable to Administrative Agent.

      (b)    The Borrower shall maintain the following insurance coverages for the
Mortgaged Property:

                      (i)    An all-risk policy of permanent property insurance insuring the
              Mortgaged Property against all risks that are commonly covered under real
              property insurance except those permitted by the Administrative Agent in writing
              to be excluded from coverage thereunder.

                      (ii)    A boiler and machinery insurance policy covering loss or damage
              to all portions of the Mortgaged Property comprised of air-conditioning and
              heating systems, other pressure vessels, machinery, boilers or high pressure
              piping.

                      (iii) An all-risk policy of insurance covering loss of earnings and/or
              rents from the Mortgaged Property in the event that the Mortgaged Property is not
              available for use or occupancy due to casualty, damage or destruction required to
              be covered by the policies of insurance described in (i) and (ii) above.

                       (iv)  Commercial general liability, auto liability, umbrella or excess
              liability and worker’s compensation insurance against claims for bodily injury,
              death or property damage occurring on, in or about the Mortgaged Property in an
              amount and containing terms reasonably acceptable to the Administrative Agent.

                      (v)    Such other insurance against other insurable hazards, risks or
              casualties which at the time are commonly insured against in the case of owners
              and premises similarly situated, due regard being given to the financial condition
              of the Borrower, the height and type of the Mortgaged Property, its construction,
              location, use and occupancy.

                      (vi)    All required insurance with respect to the Mortgaged Property will
              be written on forms acceptable to the Administrative Agent and by companies
              having a Best’s Insurance Guide Rating of not less than A or A+ and which are
              otherwise acceptable to the Administrative Agent, and such insurance (other than
              third party liability insurance) shall be written or endorsed so that all losses are
              payable to the Administrative Agent, as Administrative Agent for the Lenders.
              The original policies evidencing such insurance shall be delivered by the
              Borrower to the Administrative Agent and held by the Administrative Agent,
              unless Administrative Agent expressly consents to accept insurance certificates
              instead. Each such policy shall expressly prohibit cancellation of insurance
              without thirty (30) days’ written notice to the Administrative Agent. The


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              Borrower agrees to furnish due proof of payment of the premiums for all such
              insurance to Administrative Agent promptly after each such payment is made and
              in any case at least fifteen (15) days before payment becomes delinquent.

        (c)    The Borrower will pay and discharge, or cause to be paid and discharged, all
taxes, assessments, maintenance charges, permit fees, impact fees, development fees, capital
repair charges, utility reservations and standby fees and all other similar impositions of every
kind and character charged, levied, assessed or imposed against any interest in any of the
Mortgaged Property owned by it or any of its Subsidiaries, as they become payable and before
they become delinquent. The Borrower shall furnish receipts evidencing proof of such payment
to the Administrative Agent promptly after payment and before delinquency.

        (d)    All proceeds of insurance with respect to any Mortgaged Property shall be paid to
Administrative Agent and, at Administrative Agent’s option, be applied to Borrower’s
Obligations or released, in whole or in part, to pay for the actual cost of repair, restoration,
rebuilding or replacement (collectively, “Cost To Repair”). If the Cost To Repair does not
exceed thirty-five percent (35%) of the Appraised Value of the subject Mortgaged Property,
provided no Event of Default is then in existence, Administrative Agent shall release so much of
the insurance proceeds as may be required to pay for the actual Cost to Repair in accordance
with and subject to the provisions of Section 5.06(e) below.

        (e)    If Administrative Agent elects or is required to release insurance proceeds,
Administrative Agent may impose, reasonable conditions on such release which shall include,
but not be limited to, the following:

                      (i)    prior written approval by Administrative Agent, which approval
              shall not be unreasonably withheld or delayed of plans, specifications, cost
              estimates, contracts and bonds for the restoration or repair of the loss or damage;

                     (ii)   waivers of lien, architect’s certificates, contractor’s sworn
              statements and other evidence of costs, payments and completion as Agent may
              reasonably require;

                      (iii) if the Cost To Repair does not exceed $500,000.00, the funds to
              pay therefor shall be released to Borrower. Otherwise, funds shall be released
              upon final completion of the repair work, unless Borrower requests earlier
              funding, in which event partial monthly disbursements equal to 90% of the value
              of the work completed shall be made prior to final completion of the repair,
              restoration or replacement and the balance of the disbursements shall be made
              upon full completion and the receipt by Administrative Agent of satisfactory
              evidence of payment and release of all liens;

                     (iv)    determination by Administrative Agent that the undisbursed
              balance of such proceeds on deposit with Administrative Agent, together with
              additional funds deposited for the purpose, shall be at least sufficient to pay for
              the remaining Cost To Repair, free and clear of all liens and claims for lien;



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                      (v)    all work to comply with the standards, quality of construction and
               Legal Requirements applicable to the original construction of the Mortgaged
               Property; and

                       (vi)   in Administrative Agent’s good faith judgment the repair work is
               likely to be completed at least three (3) months prior to the Maturity Date.

         (f)    If there is any condemnation for public use of a Mortgaged Property, the awards
on account thereof shall be paid to Administrative Agent and shall be applied to Borrower’s
obligations, or at Administrative Agent’s discretion released to Borrower. If, in the case of a
partial taking or a temporary taking, in the sole judgment of Administrative Agent the effect of
such taking is such that there has not been a material and adverse impairment of the viability of
the Mortgaged Property or the value of such Collateral, so long as no Default exists
Administrative Agent shall release awards on account of such taking to Borrower if such awards
are sufficient (or amounts sufficient are otherwise made available) to repair or restore the
Mortgaged Property to a condition reasonably satisfactory to Administrative Agent subject to the
requirements of Section 5.06(e).

       Section 5.07 Books and Records; Inspection Rights.

        (a)     The Borrower will, and will cause each of its Subsidiaries to, keep proper books
of record and account in which full, true and correct entries are made of all dealings and
transactions in relation to its business and activities.

        (b)     The Borrower will, and will cause each of its Subsidiaries to, permit any
representatives designated by the Administrative Agent or any Lender, upon reasonable prior
notice and subject to rights of tenants, to visit and inspect its properties, to examine and make
extracts from its books and records, and to discuss its affairs, finances and condition with its
officers and independent accountants, all at such reasonable times and as often as reasonably
requested.

       Section 5.08 Compliance with Laws. The Borrower will, and will cause each of its
Subsidiaries to, comply with all laws, rules, regulations and orders of any Governmental
Authority applicable to it or its property, except where the failure to do so, individually or in the
aggregate, would not reasonably be expected to result in a Material Adverse Effect.

        Section 5.09 Use of Proceeds. The proceeds of the Loans will be used solely to fund a
portion of the cost to consummate the acquisition of the Portfolio Properties, including to make a
loan to the BH Pledgor to fund such Person’s acquisition of the Summers Landing Property. No
part of the proceeds of the Loans will be used, whether directly or indirectly, for financing,
funding or completing the hostile acquisition of publicly traded Persons or for any purpose that
entails a violation of any of the Regulations of the Board, including Regulations U and X.

      Section 5.10 Fiscal Year. Borrower shall maintain as its fiscal year the twelve (12)
month period ending on December 31 of each year.

       Section 5.11 Environmental Matters.


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        (a)    Borrower shall comply and shall cause each of its Subsidiaries and each Real
Property owned or leased by such parties to comply in all material respects with all applicable
Environmental Laws currently or hereafter in effect, except to the extent noncompliance would
not reasonably be expected to have a Material Adverse Effect.

        (b)     If the Administrative Agent or the Required Lenders at any time have a
reasonable basis to believe that there may be a material violation of any Environmental Law
related to the Mortgaged Property, or Real Property adjacent to such Mortgaged Property, which
would reasonably be expected to have a Material Adverse Effect, then Borrower agrees, upon
request from the Administrative Agent (which request may be delivered at the option of
Administrative Agent or at the direction of Required Lenders), to provide the Administrative
Agent, at the Borrower’s expense, with such reports, certificates, engineering studies or other
written material or data as the Administrative Agent or the Required Lenders may reasonably
require so as to reasonably satisfy the Administrative Agent and the Required Lenders that any
Credit Party or Real Property owned or leased by them is in material compliance with all
applicable Environmental Laws.

        (c)    Borrower shall take such Remedial Action or other action as required by
Environmental Law or any Governmental Authority except to the extent the failure to do so,
individually or in the aggregate, would not reasonably be expected to have a Material Adverse
Effect.

        (d)      If the Borrower fails to timely take, or to diligently and expeditiously proceed to
complete in a timely fashion, any action described in this Section, the Administrative Agent may,
after notice to the Borrower, with the consent of the Required Lenders, make advances or
payments toward the performance or satisfaction of the same, but shall in no event be under any
obligation to do so. All sums so advanced or paid by the Administrative Agent (including
reasonable counsel and consultant and investigation and laboratory fees and expenses, and fines
or other penalty payments) and all sums advanced or paid in connection with any judicial or
administrative investigation or proceeding relating thereto, will become due and payable from
the Borrower ten (10) Business Days after demand, and shall bear interest at the Default Rate
from the date any such sums are so advanced or paid by the Administrative Agent until the date
any such sums are repaid by the Borrower. Promptly upon request, the Borrower will execute
and deliver such instruments as the Administrative Agent may deem reasonably necessary to
permit the Administrative Agent to take any such action, and as the Administrative Agent may
require to secure all sums so advanced or paid by the Administrative Agent. If a Lien is filed
against the Mortgaged Property by any Governmental Authority resulting from the need to
expend or the actual expending of monies arising from an action or omission, whether intentional
or unintentional, of the Borrower or for which the Borrower is responsible, resulting in the
Releasing of any Hazardous Material into the waters or onto land located within or without the
state where the Mortgaged Property is located, then the Borrower will, within thirty (30) days
from the date that the Borrower is first given notice that such Lien has been placed against the
Mortgaged Property (or within such shorter period of time as may be specified by the
Administrative Agent if such Governmental Authority has commenced steps to cause the
Mortgaged Property to be sold pursuant to such Lien), either (i) pay the claim and remove the
Lien, or (ii) furnish a cash deposit, bond or such other security with respect thereto as is


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satisfactory in all respects to the Administrative Agent and is sufficient to effect a complete
discharge of such Lien on the Mortgaged Property.

       Section 5.12 Collateral Requirement.

       (a)     General Requirement. The Obligations and the Hedging Obligations, if any, shall
be secured by a perfected first priority lien and security interest to be held by the Administrative
Agent for the benefit of the Lenders, pursuant to the terms of the Security Documents, in

                       (i)      each Mortgaged Property;

                        (ii)    the Equity Interests of each Property Owner Borrower, fifty
               percent (50%) of the Equity Interests in each Collateral Subsidiary other than the
               Property Owner Borrowers, and the Equity Interests held by HCRE Partners and
               its Subsidiaries in the HCRE Properties; provided that the Borrower shall not,
               pursuant to this subclause (i), be required to pledge any portion of the Equity
               Interests of any Collateral Subsidiary that is not a Property Owner Borrower or in
               any owner of an HCRE Property to the extent (and only to the extent) that such a
               grant of a security interest is prohibited by, or under the terms thereof, may give
               rise to a default, breach, right of recoupment, buyout, repurchase, purchase
               option, right of first refusal or similar rights (whether effective with the pledge or
               any related exercise of rights thereunder), claim, defense or remedy, or directly or
               indirectly results in the termination of or requires any consent not obtained under,
               the Senior Loans or Indebtedness secured by the HCRE Properties; provided
               further that, to the extent such pledge of any portion of such Equity Interests is
               restricted as set forth in the previous proviso, the Borrower shall, to the extent
               permitted under any such debt instruments, pledge to the Administrative Agent,
               pursuant to documentation reasonably acceptable to the Administrative Agent, all
               of the economic interests and rights to receive dividends or distributions in
               respect of the Equity Interests of such Collateral Subsidiary or owner of an HCRE
               Property;

                       (iii) to the extent not included in clause (ii) above, all of the economic
               interests and rights to receive dividends or distributions in respect of the Equity
               Interests of each Collateral Subsidiary and each owner of a HCRE Property to the
               extent owned by HCRE;

                      (iv)    all of the Borrower’s rights with respect to the pledge by the BH
               Pledgor and its Subsidiaries of their interests in the Summers Landing Property;

                       (v)     the proceeds of all Equity Offerings with respect to the
               Stonebridge DST on a pari passu basis with the Stonebridge Term Loan subject to
               the terms of this Agreement;

                      (vi)    the common shares in NexPoint Residential Trust Inc. or
               partnership units in NexPoint Residential Operating Partnership, LP that are



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               identified on Schedule 5.12 hereto, 1,000,000 of which shall be pledged on a pari
               passu basis with the Stonebridge Term Loan;

                      (vii) the economic interests in NexPoint Advisors, L.P. subject to the
               terms of the Economic Interests Pledge; and

                    (viii) all of the common shares in NexBank Capital, Inc. owned by The
               SLHC Trust.

Upon the occurrence and during the continuance of an Event of Default, if the Administrative
Agent determines to exercise rights and remedies with respect to the Collateral in accordance
with the terms of the Loan Documents, the Administrative Agent shall first exercise rights and
remedies with respect to any Equity Interests in NexPoint Residential Trust Inc. before
exercising rights and remedies against any other Collateral.

        (b)     Release of Certain Collateral. Provided no Default or Event of Default shall have
occurred hereunder and be continuing (or would exist immediately after giving effect to the
transactions contemplated by this Section 5.12(b), including any paydown of the Loans in
connection with the transactions contemplated by this Section 5.12(b)), the Administrative Agent
shall release the Collateral related to a Portfolio Property from the lien or security title of the
Security Documents encumbering the same upon the request of Borrower in connection with a
sale, refinancing, or recapitalization of such Portfolio Property, subject to and upon the following
terms and conditions:

                       (i)     The Borrower shall have provided the Administrative Agent with
               written notice of its intention to remove any specified Collateral at least five (5)
               Business Days (or such shorter period as the Administrative Agent may agree)
               prior to the requested release (which notice may be revoked by Borrower at any
               time);

                       (ii)    Borrower shall submit to the Administrative Agent with such
               request an executed Compliance Certificate adjusted in the best good faith
               estimate of Borrower solely to give effect to the proposed release and
               demonstrating that no Default or Event of Default with respect to the covenants
               referred to therein shall exist after giving effect to such release and if the
               Borrower would not be in compliance, then any reduction in the outstanding
               amount of the Loans in connection with such release;

                       (iii) The Administrative Agent shall have determined in its reasonable
               discretion, and received such evidence acceptable to it as it shall reasonably
               request, that the proceeds from expected sale, refinancing, or recapitalization
               transactions with respect to the Portfolio Properties (or the Equity Interests
               therein) remaining as Collateral for the Obligations after giving effect to the
               requested release, shall be sufficient to repay the Obligations in full;

                      (iv)   Borrower shall make all Mandatory Prepayments required under
               Section 2.11(d) in connection with such sale, refinancing, or recapitalization;


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                       (v)     Borrower shall pay all reasonable costs and expenses of the
               Administrative Agent in connection with such release, including without
               limitation, reasonable attorney’s fees; and

                       (vi)   without limiting or affecting any other provision hereof, any
               release of a Collateral will not cause the Borrower to be in violation of the
               covenants set forth in Section 5.02.

        (c)     Release of Collateral. Upon the refinancing or repayment of the Obligations and
Hedging Obligations in full, then the Administrative Agent shall release the Collateral from the
lien and security interest of the Security Documents.

         (d)    Release of Certain HCRE Properties. Provided no Default or Event of Default
shall have occurred hereunder and be continuing (or would exist immediately after giving effect
to the transactions contemplated by this Section 5.12(b), including any paydown of the Loans in
connection with the transactions contemplated by this Section 5.12(b)), the Administrative Agent
shall release the Collateral related to a HCRE Property from the lien or security title of the
Security Documents encumbering the same upon the request of Borrower in connection with a
Transfer of 100% of the indirect interest in any Borrower in conjunction with the formation of a
publically traded real estate investment trust (the “Transferee REIT”), which Transferee REIT
shall be under common Control with NexPoint Advisors, L.P. pursuant to a written management
or advisory agreement; provided, such the applicable Borrower shall pledge its Equity Interests
in such Transferee REIT as Collateral for the Obligations pursuant to documentation reasonably
acceptable to the Agent.

        Section 5.13 Further Assurances. At any time upon the request of the Administrative
Agent, Borrower will, promptly and at its expense, execute, acknowledge and deliver such
further documents and perform such other acts and things as the Administrative Agent may
reasonably request to evidence the Loans made hereunder and interest thereon in accordance
with the terms of this Agreement.

       Section 5.14 [Intentionally Omitted].

       Section 5.15 [Intentionally Omitted].

        Section 5.16 Approved Leases. Borrower shall not enter into any tenant lease of space in
the Portfolio Properties unless approved by Administrative Agent or deemed approved pursuant
to the provisions of this Section 5.16 (each such lease, an “Approved Lease”); provided,
however, for the avoidance of doubt, certain master leases and residential leases entered into by
Portfolio One DST, Portfolio Two DST, Portfolio Three DST, and Stonebridge DST or their
subsidiaries for the purposes of a Specified DSTs’ Equity Offering shall not require approval for
the purposes of this Section 5.16. Borrower's standard form of residential tenant lease, and any
material revisions thereto, must have the prior written approval of Administrative Agent; it being
understood that Borrower’s standard form of residential tenant lease as of the Effective Date is
approved. Administrative Agent shall be “deemed” to have approved any tenant lease that (a) is
on the standard form lease approved by Administrative Agent, with no material deviations
except as approved by Administrative Agent; (b) is entered into in the ordinary course of


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business with a bona fide unrelated third party tenant, and Borrower, acting in good faith and
exercising due diligence, has determined that the tenant is financially capable of performing its
obligations under the lease or is leased to an employee of the applicable property manager
pursuant to the terms of the written property management agreement applicable to such Portfolio
Property; (c) is received by Administrative Agent (together with each guarantee thereof (if any)
and financial information regarding the tenant and each guarantor (if any) received by Borrower)
within fifteen (15) days after Administrative Agent’s request; (d) reflects an arms-length
transaction at then current market rate for comparable space (except for a lease to an employee
of the applicable property manager pursuant to the terms of the written property management
agreement applicable to such Portfolio Property); and (e) contains no right to purchase the Real
Property, or any present or future interest therein. Borrower shall provide to Administrative
Agent a correct and complete copy of each tenant lease, including any exhibits, and each
guarantee thereof (if any), prior to execution unless the lease in question meets the foregoing
requirements for “deemed” approval by Administrative Agent. If requested by Administrative
Agent, Borrower shall provide to Administrative Agent a fully executed copy of each tenant
lease within fifteen (15) days of such request. Borrower shall, throughout the term of this
Agreement, pay all reasonable costs incurred by Administrative Agent in connection with
Administrative Agent's review and approval of tenant leases and each guarantee thereof (if any),
including reasonable attorneys' fees and costs.

         Section 5.17 Permanent Financing. Borrower agrees, on behalf of itself and its Affiliates,
that it shall utilize KeyBank to place permanent debt (e.g. CMBS, Fannie/Freddie, life company
placements) with respect to the Portfolio Properties and all other Real Property acquired with
proceeds from the Loans.

        Section 5.18 Keepwell. Each Borrower that is a Qualified ECP Party at the time that the
Agreement becomes effective with respect to any Hedging Obligation, hereby jointly and
severally, absolutely, unconditionally and irrevocably undertakes to provide such funds or other
support as may be needed from time to time by each other Borrower that is not then an “eligible
contract participant” under the Commodity Exchange Act (a “Specified Party”) to honor all of its
obligations under the Agreement in respect of Hedging Obligations (but, in each case, only up to
the maximum amount of such liability that can be hereby incurred without rendering such
Qualified ECP Party’s obligations and undertakings under this Section 5.16 voidable under
applicable law relating to fraudulent conveyance or fraudulent transfer, and not for any greater
amount). The obligations and undertakings of each Qualified ECP Party under this Section 5.16
shall remain in full force and effect until the Loans have been repaid in full. Each Qualified ECP
Party intends this Section 5.16 to constitute, and this Section shall be deemed to constitute, a
guarantee of the obligations of, and a “keepwell, support, or other agreement” for the benefit of,
each Specified Party for all purposes of the Commodity Exchange Act.

       Section 5.19 DST Offerings.

       (a)      Marketing. Borrower will cause each DST Depositor to use commercially
reasonable efforts to market and sell its respective Trust Interests so as to achieve a DST
Permitted Sale that will maximize the proceeds which can reasonably be expected to be obtained
from a sale of such Trust Interests.



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        (b)     Periodic Investor Reports. Borrower shall provide to the Agent a report, to be
submitted for each two-calendar week period on or before each Friday of the succeeding
calendar week after such two week period, identifying the amount paid by any investor in a
Specified DST (but not the identity of such investor) and each such investor’s and each other
Borrower’s percentage interest in each Specified DST, in form and substance reasonably
satisfactory to Lender.

         (c)     Monthly Distributions. During the existence of any Event of Default, Borrower
shall, to the extent permitted by each applicable Trust Agreement, cause the applicable Specified
DST to distribute all available cash under its Trust Agreement on a monthly basis to the holders
of its Trust Interests in accordance with their percentage of ownership, and thereafter any
Affiliate of Borrower directly or indirectly holding such Trust Interests shall cause such cash to
be distributed to Borrower and, in the case of a DST Depositor, to its other members in
accordance with the terms of such DST Depositor’s organizational documents. All such
distributions payable to Borrower during the existence of an Event of Default shall be paid
directly to the Agent for application to the Obligations. The Borrower shall not permit any
Indebtedness of any Specified DST (or its Subsidiaries) to prohibit such monthly distributions in
the absence of a default or event of default thereunder; provided that the foregoing shall not
apply to any Senior Loan in respect of the Portfolio Property owned directly or indirect by any
Specified as of the Effective Date.

       Section 5.20 BH Loan.

        (a)     The Borrower shall require the BH Pledgor to comply with all material terms of
the BH Loan Documents and shall enforce its rights as a lender thereunder in its reasonable
discretion, unless otherwise agreed by the Administrative Agent.

       (b)   The Borrower shall not permit any amendment or waiver of any material term of
the BH Loan Documents without the prior consent of the Administrative Agent.

       Section 5.21 Post-Closing Covenant.

        (a)     The Borrowers shall use commercially reasonable efforts to, no later than fifteen
(15) Business Days after the Effective Date (or such later date as the Administrative Agent may
agree in its sole discretion), deliver an estoppel certificate with respect to that certain Declaration
of Reciprocal Easements dated September 22, 2000 and recorded among the Land Records of
Prince George’s County in Liber 14127, folio 340 and that certain Declaration of Reciprocal
Easements dated September 22, 2000 and recorded among the Land Records of Prince George’s
County in Liber 14127, folio 324, in each case, in accordance with the provisions of such
Declaration of Reciprocal Easements.

        (b)     No later than ten (10) Business Days after the Effective Date, the Borrowers shall
deliver to the Administrative Agent (i) a control agreement, duly executed by the applicable
Borrower and the applicable custodian, securities intermediary, or other person holding any of
the Equity Interests in NexPoint Residential Trust Inc., NexPoint Residential Operating
Partnership, LP, or NexBank Capital Inc. that are required to be pledged to the Administrative
Agent under the Loan Documents, in form and substance reasonably satisfactory to the


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Administrative Agent, and (ii) such notices, stock powers, transfer documents and other
documentation and take such action as may be reasonably required by the Administrative Agent
in order to maintain a perfected, first priority Lien and security interest in such Equity Interests.

        (c)    No later than two (2) Business Days after the Effective Date, the Borrowers shall
execute such documents and take such further action as the Administrative Agent may request in
order to pledge to the Administrative Agent, for the benefit of the Lenders, common shares
owned by the Borrowers or their Affiliates in NexPoint Residential Trust, Inc. and NexPoint
Strategic Opportunities Fund with an aggregate market value of no less than $10,000,000.

        (d)     Notwithstanding anything herein to the contrary, the Borrowers acknowledge and
agree that any breach of this Section 5.21 shall constitute an immediate Event of Default (subject
only to notice from the Administrative Agent).

      Section 5.22 Sufficiency of Funds. Each Borrower hereby represents, warrants, and
covenants that:

       (a)     In connection with the required prepayment under Section 2.11(f) hereof, the
Borrowers and their Affiliates will recommend to the appropriate investment committees of
funds managed by any Borrower or such Affiliates to make investments in the Portfolio
Properties in an aggregate amount as may be required for the Borrowers to make such
prepayments in full when required hereunder;

       (b)     such funds are permitted under their respective organizational documents to make
investments, in the form of debt or equity, in assets similar to the Portfolio Properties; and

       (c)     the Borrowers and their affiliates will promptly undertake such action to obtain
the necessary funding from such related funds and Affiliates in order to make the prepayment
under Section 2.11(f) when required hereunder.

                                            ARTICLE VI

                                        Negative Covenants

       Until the principal of and interest on the Loans and all other amounts due and payable
hereunder have been paid in full, the Borrower covenants and agrees with the Lenders that:

        Section 6.01 Liens. No Borrower will create, incur, assume or permit to exist any Lien
on the Collateral or the Portfolio Properties, or assign or sell any income or revenues (including
accounts receivable) or rights in respect of any thereof, except solely with respect to the
Portfolio Properties and the pledged Equity Interests in the Stonebridge DST and NexPoint
Residential Trust Inc., Permitted Encumbrances. The Dugaboy Investment Trust shall not, prior
to the date when the Obligations shall have been reduced to no more than $150,000,000, create,
incur, assume or permit to exist any Lien on any marketable securities owned by it, whether now
owned or hereafter acquired, except the Lien in favor of the Administrative Agent to secure the
Obligations.



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       Section 6.02 Fundamental Changes. The Borrower will not, and will not permit any
Collateral Subsidiary to:

         (a)    merge into or consolidate with any other Person, or permit any other Person to
merge into or consolidate with it, or sell, transfer, lease or otherwise dispose of (in one
transaction or in a series of transactions) all or substantially all of the assets of the Borrower or
all or substantially all of the stock of its Subsidiaries (in each case, whether now owned or
hereafter acquired), or liquidate or dissolve;

        (b)   sell, transfer, lease or otherwise dispose of any of its assets to the extent such
transaction would result in a breach of Section 5.02; or

         (c)     engage to any material extent in any business other than the ownership of interest
in entities that own, develop, operate and manage the Properties and businesses reasonably
related thereto, except as allowed by Section 6.03.

        Section 6.03 Investments, Loans, Advances and Acquisitions. The Borrower will not
purchase, hold or acquire (including pursuant to any merger with any Person that was not a
wholly owned Subsidiary prior to such merger) any capital stock, evidences of indebtedness
(subject to Section 6.09 below) or other securities (including any option, warrant or other right to
acquire any of the foregoing) of, make or permit to exist any loans or advances to, or make or
permit to exist any investment or any other interest in, any other Person, or purchase or
otherwise acquire (in one transaction or a series of transactions) any assets of any other Person
constituting a business unit, except Permitted Investments.

        Section 6.04 Hedging Agreements. The Borrower will not, and will not permit any of its
Subsidiaries to, enter into any Hedging Agreement, other than Hedging Agreements entered into
in the ordinary course of business to hedge or mitigate risks to which any Subsidiary of the
Borrower is exposed in the conduct of its business or the management of its liabilities.

       Section 6.05 Restricted Payments. The Borrower will not declare or make, or agree to
pay or make, directly or indirectly, any Restricted Payment while any Default or Event of
Default shall be in existence.

        Section 6.06 Transactions with Affiliates. The Borrower will not, and will not permit
any of its Subsidiaries to, sell, lease or otherwise transfer any property or assets to, or purchase,
lease or otherwise acquire any property or assets from, or otherwise engage in any other
transactions with, any of its Affiliates, except (a) in the ordinary course of business at prices and
on terms and conditions not less favorable to the Borrower or such Subsidiary than would be
obtained on an arm's-length basis from unrelated third parties, (b) transactions between or among
the Borrower and its wholly owned Subsidiaries not involving any other Affiliate, (c)
transactions related to the closing of and ongoing activities necessary to implement the loan
obligations and requirements of this Agreement, and (d) any Restricted Payment permitted by
Section 6.05.

       Section 6.07 [Intentionally Omitted].



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         Section 6.08 Restrictive Agreements. No Borrower will, and will not permit any of its
Subsidiaries to, directly or indirectly, enter into, incur or permit to exist any agreement or other
arrangement that prohibits, restricts or imposes any condition upon (a) the ability of the
Borrower or any Subsidiary to create, incur or permit to exist any Lien upon any of its property
or assets, or (b) the ability of any Subsidiary to pay dividends or other distributions with respect
to any shares of its capital stock or to make or repay loans or advances to the Borrower or any
other Subsidiary or to Guarantee Indebtedness of the Borrower or any other Subsidiary; provided
that the restrictions contained in this Section 6.08 shall not apply to (i) restrictions and
conditions imposed by law or by this Agreement or as otherwise approved by the Administrative
Agent, (ii) customary restrictions and conditions contained in agreements relating to the sale of a
Subsidiary pending such sale, provided such restrictions and conditions apply only to the
Subsidiary that is to be sold and such sale is permitted hereunder, (iii) clause (a) of the foregoing
shall not apply to restrictions or conditions imposed by any agreement relating to secured
Indebtedness or Liens permitted by this Agreement if such restrictions or conditions apply only
to the property or assets securing such Indebtedness, or ownership interests in the obligors with
respect to such Indebtedness, and (iv) solely with respect to clause (a), provisions in leases
restricting the assignment thereof.

        Section 6.09 Indebtedness. Neither any Borrower nor any Collateral Subsidiary shall,
without the prior written consent of the Required Lenders, create, incur, assume, guarantee or be
or remain liable, contingently or otherwise with respect to any Indebtedness on a recourse basis,
except:

       (a)     Indebtedness under this Agreement;

      (b)    Indebtedness of a Collateral Subsidiary (other than any Property Owner
Borrower) under the Senior Loan Documents;

       (c)     Indebtedness under any Hedging Obligations;

       (d)    Indebtedness of NexPoint Real Estate Advisors IV, L.P. and The Dugaboy
Investment Trust under the Stonebridge Term Loan;

        (e)     Recourse Indebtedness of the The Dugaboy Investment Trust and Highland
Capital in an amount not to exceed the aggregate principal amount of such Borrower’s
Indebtedness outstanding on the date hereof and set forth in Schedule 6.09; provided that, from
an after the date that the aggregate outstanding principal amount of the Obligations shall be
reduced to $150,000,000 or less, The Dugaboy Investment Trust and Highland Capital may incur
additional recourse Indebtedness on a recourse basis, subject to compliance with the covenants in
Section 5.02;

       (f)      Customary non-recourse, carveout guarantees and environmental indemnitees
entered into in connection with property-level secured Indebtedness of such Borrower’s
Subsidiaries; and

       (g)     Indebtedness for trade payables and operating expenses incurred in the ordinary
course of business.


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       Section 6.10 Subordination of Claims.

        (a)     Prior to repayment in full of the Obligations, no Borrower or any Subsidiary may
pay any advisory, asset management, property, acquisition, financing, and other fees and
amounts due and payable to the Advisor in connection with the Portfolio Properties; provided
that, so long as no Event of Default exists or would result therefrom, (i) the Advisor may receive
asset management fees with respect to the Portfolio Properties (but not any acquisition, financing
or similar fees with respect to the Specified DSTs) and (ii) from and after the date that the
market value of the common shares of NexPoint Residential Trust Inc. are equal to an amount no
less than 110% of the then aggregate outstanding balance of the Loans and the Stonebridge Term
Loan has been repaid in full, the Borrower may pay acquisition, financing or similar fees with
respect to a sellout of any DST offering occurring after such date.1

        (b)     Each Borrower hereby expressly covenants and agrees for the benefit of the
Administrative Agent and the Lenders that all obligations and liabilities of any Borrower or its
Subsidiaries or Affiliates to such Borrower or its Subsidiaries or Affiliates of whatever
description, including without limitation, all intercompany receivables of such Borrower from
another Borrower or its Subsidiaries or Affiliates (collectively, the “Junior Claims”) shall be
subordinate and junior in right of payment to all Obligations; provided, however, that payment
thereof may be made so long as no Event of Default shall have occurred and be continuing. If an
Event of Default shall have occurred and be continuing, then no Borrower or its Subsidiaries or
Affiliates shall accept any direct or indirect payment (in cash, property, securities by setoff or
otherwise) from another Borrower or its Subsidiaries or Affiliates on account of or in any
manner in respect of any Junior Claim until all of the Obligations have been indefeasibly paid in
full. Schedule 6.10 is, as of the Effective Date, a complete and correct listing of all Junior
Claims, and if such Indebtedness is secured by any Lien, a description of the property subject to
such Lien. Except as set forth in Schedule 6.10 no default exists under any Junior Claims as of
the Effective Date.

       (c)     All such parties shall execute subordination agreements in form and substance
acceptable to the Administrative Agent with respect to such fees and Junior Claims.

        Section 6.11 Amendment to Organizational Documents. Without the prior written
consent of Administrative Agent, which consent shall not be unreasonably withheld, conditioned
or delayed, no Borrower will, nor will it permit any Collateral Subsidiary to, amend, modify or
waive any rights under its certificate of incorporation, bylaws or other organizational documents
in any manner, except: (a) modifications necessary to clarify existing provisions of such
organizational documents; (b) modifications which would not have a Material Adverse Effect,
and (c) modifications in connection with mergers, consolidations, investments and other
transactions not otherwise prohibited by the other provisions of this Agreement.

        Section 6.12 Sanctions. No Borrower shall permit the proceeds of any Loan: (a) to be
lent, contributed or otherwise made available to fund any activity or business in any Designated
Jurisdiction; (b) to fund any activity or business of any Sanctioned Person or any Person located,

1
 NTD: Key’s understanding is that the fees would accrue but would not be paid until the 110%
condition above is satisfied.


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organized, formed, incorporated or residing in any Designated Jurisdiction or who is the subject
of any Sanctions; (c) in any other manner that will result in any material violation by any Person
(including any Lender or Administrative Agent) of any Sanctions; or (d) to be used in
furtherance of an offer, payment, promise to pay, or authorization of the payment or giving of
money, or anything else of value, to any Person in violation of any Anti-Corruption Laws.

       Section 6.13 Specified DSTs.

        (a)     Sale of Trust Interests. Notwithstanding anything to the contrary contained in this
Agreement or in any other Loan Documents, no DST Depositor may sell (or redeem the Trust
Interests owned by such DST Depositor) or otherwise dispose of its Trust Interests or any
portion thereof or interest (beneficial or otherwise) in any Trust Interests or Specified DST, or
enter into a contract to sell or dispose of such Trust Interests or Specified DST, or any portion
thereof or interest therein (collectively referred to as a “DST Sale”), unless:

                    (i)       the DST Sale is being made pursuant to the applicable Offering
               Documents;

                       (ii)    the DST Sale is not to an Affiliate (other than the redemption of
               Trust Interests held by the applicable DST Depositor in connection with a DST
               Permitted Sale to third party investors) unless the terms of the sale are no more
               favorable to the buyer than the terms upon which third party investors are
               acquiring the Trust Interests; and

                      (iii) the DST Sale is for all cash and all proceeds are deposited into the
               applicable Pledged DST Account.

       A DST Sale satisfying these conditions shall be defined as a “DST Permitted Sale”.

        (b)     Terms of DST Sales. The Offering Documents shall set forth the terms of the
possible sale of Trust Interests owned by the applicable DST Depositor or sold for purposes of
redeeming a separate class of Trust Interests held by such DST Depositor. No other beneficial
interests in any property owned by a Specified DST shall be sold by the applicable Specified
DST or its Affiliates other than Trust Interests pursuant to the terms of this Agreement or other
than resales of Trust Interests owned by Investors other than a DST Depositor or its Affiliates.
Prior to commencing the marketing of Trust Interests of any Specified DST, Borrower shall
deliver to Lender a proposed budget in a form reasonably approved by Lender for each Specified
DST showing anticipated proceeds from any issuance of Trust Interests, anticipated equity
contributions by Borrower and its Affiliates (other than to DST Depositor as the initial holder of
unsold Class 2 Trust Interests in such Specified DST), the amount of any “presold” Trust
Interests, and the amount of any property level Indebtedness of such Specified DST or its
Subsidiaries. There shall be no change in the purchase price or any other material terms of a
DST Sale (other than the reduction of commissions and/or expenses) without the prior written
consent of the Agent. Notwithstanding anything set forth in this Agreement to the contrary, the
original issuance of Trust Interests to its respective DST Depositor shall not be prohibited by this
Agreement.



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        (c)    No Changes to DST. No Specified DST shall change its corporate form from a
Delaware statutory trust, or transfer or permit its subsidiaries to transfer any of its interests in
any Portfolio Property; provided however, that any Specified DST may consummate any
Transfer Distribution (as the term is defined in the Trust Agreement) so long as the Agent shall
have received notice of such Specified DST no more than ten (10) days following the occurrence
thereof, the Borrower or an Affiliate thereof remains as the manager of any limited liability
company resulting from such Transfer Distribution, and such resulting limited liability company
shall have executed such additional documents as the Administrative Agent may reasonably
require to preserve its rights under the Loan Documents.

        (d)     Pledged DST Accounts. No later than the date that is thirty days after the
Effective Date (or, with respect to a Specified DST formed hereafter, the date such Specified
DST is form, or, in each case, such later date that the Agent may agree), the Borrowers shall
cause each DST Depositor to establish with KeyBank a deposit account into which all proceeds
of the sale of Trust Interests owned by such DST Depositor shall be deposited (with respect to
each DST Depositor, it’s “Pledged DST Account”), which shall be pledged to the Agent and
subject to the sole control of the Agent pursuant to documentation reasonably acceptable to the
Agent.

        (e)     Partial Release. Notwithstanding any other term or provision of this Agreement,
the parties agree that upon the sale of 100% of the Trust Interests in a Specified DST pursuant to
a DST Permitted Sale, so long as no Event of Default has occurred and is continuing (such
conditions, the “Release Provisions”), the Specified DST Depositor with respect to such
Specified DST shall be automatically released from the Loan Documents, and such Person shall
no longer be obligated to comply with any of the representations, warranties or covenants
applicable to such Person under the Loan Documents, provided, however, that the release
contained in this Section 6.13(e) shall not apply to the extent any such representations,
warranties or covenants apply to Subsidiaries of the Borrower for as long as any such Person
constitutes a Subsidiary thereof. Further, from and after satisfaction of the Release Provisions for
any Specified DST Depositor and its respective properties, any proceeds received with respect to
the properties of such Specified DST shall no longer constitute Collateral under the Loan
Documents or remain subject to the rights of the Agent under the Loan Documents.

                                          ARTICLE VII

                                         Events of Default

       If any of the following events (“Events of Default”) shall occur:

        (a)    the Borrower shall fail to pay any principal of the Loans when and as the same
shall become due and payable, whether at the due date thereof or at a date fixed for prepayment
thereof or otherwise, and such failure (other than the payment due on the Maturity Date, for
which there shall be no grace period) shall continue unremedied for a period of over three (3)
Business Days;

      (b)     the Borrower shall fail to pay any interest on the Loans or any fee or any other
amount (other than an amount referred to in clause (a) of this Article) payable under any Loan


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Documents, when and as the same shall become due and payable, and such failure shall continue
unremedied for a period of over three (3) Business Days (such three Business Day period
commencing after written notice from the Administrative Agent as to any such failure);

        (c)    any representation or warranty made or deemed made by or on behalf of any
Borrower in or in connection with any Loan Document or any amendment or modification
thereof or waiver thereunder, or in any report, certificate, financial statement or other document
furnished pursuant to or in connection with this Agreement or any amendment or modification
hereof or waiver hereunder, shall prove to have been incorrect in any material respect when
made or deemed made;

      (d)     the Borrower shall fail to observe or perform any covenant, condition or
agreement contained in Article V or VI other than Sections 5.04, 5.05, 5.06, 5.07(a), 5.08, and
5.11;

         (e)    any Borrower shall fail to observe or perform any covenant, condition or
agreement contained in any Loan Document (other than those specified in clause (a), (b) or (d)
of this Article), and such failure shall continue unremedied for a period of over 30 days after
notice thereof from the Administrative Agent to the Borrower (which notice will be given at the
request of any Lender) and if such default is not curable within thirty (30) days and the Borrower
is diligently pursuing cure of same, the cure period may be extended for thirty (30) days (for a
total of 60 days after the original notice from the Administrative Agent) upon written request
from the Borrower to the Administrative Agent;

        (f)     an involuntary proceeding shall be commenced or an involuntary petition shall be
filed seeking (i) liquidation, reorganization or other relief in respect of any Borrower or any
Collateral Subsidiary or its debts, or of a substantial part of its assets, under any Federal, state or
foreign bankruptcy, insolvency, receivership or similar law now or hereafter in effect or (ii) the
appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for any
Borrower or any Collateral Subsidiary or for a substantial part of its assets, and, in any such case,
such proceeding or petition shall continue undismissed for 60 days or an order or decree
approving or ordering any of the foregoing shall be entered;

         (g)     any Borrower or any Collateral Subsidiary shall (i) voluntarily commence any
proceeding or file any petition seeking liquidation, reorganization or other relief under any
Federal, state or foreign bankruptcy, insolvency, receivership or similar law now or hereafter in
effect, (ii) consent to the institution of, or fail to contest in a timely and appropriate manner, any
proceeding or petition described in clause (h) of this Article, (iii) apply for or consent to the
appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for
such Person or for a substantial part of its assets, (iv) file an answer admitting the material
allegations of a petition filed against it in any such proceeding, (v) make a general assignment
for the benefit of creditors or (vi) take any action for the purpose of effecting any of the
foregoing;

        (h)      any Borrower or any Collateral Subsidiary shall become unable, admit in writing
its inability or fail generally to pay its debts as they become due;



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        (i)    one or more judgments for the payment of money in an aggregate amount in
excess of $10,000,000 shall be rendered against any Borrower, any Subsidiary of the Borrower
or any combination thereof and the same shall remain undischarged for a period of sixty (60)
consecutive days during which execution shall not be effectively stayed, or any action shall be
legally taken by a judgment creditor to attach or levy upon any assets of such Person to enforce
any such judgment;

       (j)     an ERISA Event shall have occurred that, in the opinion of the Required Lenders,
when taken together with all other ERISA Events that have occurred, would reasonably be
expected to result in liability of the Borrower and its Subsidiaries in an aggregate amount
exceeding $10,000,000;

       (k)     [Intentionally Omitted];

       (l)    any Borrower shall default under any agreement and such default would
reasonably be expected to result in a Material Adverse Effect;

       (m)     any Borrower shall (or shall attempt to) disavow, revoke or terminate any Loan
Document to which it is a party or shall otherwise challenge or contest in any action, suit or
proceeding in any court or before any Governmental Authority the validity or enforceability of
any Loan Document;

       (k)      any provision of any Loan Document with respect to the Collateral shall for any
reason cease to be valid and binding on, enforceable against, any Borrower resulting in a
Material Adverse Effect, or any lien created under any Loan Document ceases to be a valid and
perfected first priority lien in any of the Collateral purported to be covered thereby;

       (n)     a Change in Control shall occur;

        (o)    (i) Any Borrower defaults under any recourse Indebtedness, or (ii) any
Subsidiaries of a Borrower defaults under any non-recourse Indebtedness in an aggregate amount
equal to or greater than $75,000,000 at any time (such $75,000,000 calculated based on the
Equity Percentage of Indebtedness for the Borrower’s Unconsolidated Affiliates); or

       (p)     An “event of default” occurs under any of the Senior Loan Documents or any
other debt secured by the Portfolio Properties (excluding the Summers Landing Property);

then, and in every such event (other than an event described in clause (f) or (g) of this Article),
and at any time thereafter during the continuance of such event, the Administrative Agent may,
and at the request of the Required Lenders shall, by notice to the Borrower, take some or all of
the following actions, at the same or different times: (i) declare the Loans then outstanding to be
due and payable in whole (or in part, in which case any principal not so declared to be due and
payable may thereafter be declared to be due and payable), and thereupon the principal of the
Loans so declared to be due and payable, together with accrued interest thereon and all
reasonable fees and other obligations of the Borrower accrued hereunder, shall become due and
payable immediately, without presentment, demand, protest or other notice of any kind, all of
which are hereby waived by the Borrower, and (ii) exercise any other rights or remedies


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provided under this Agreement or any other Loan Document, or any other right or remedy
available by law or equity; and in case of any event described in clause (f) or (g) of this Article,
the principal of the Loans then outstanding, together with accrued interest thereon and all
reasonable fees and other obligations of the Borrower accrued hereunder, shall automatically
become due and payable, without presentment, demand, protest or other notice of any kind, all of
which are hereby waived by the Borrower.

                                         ARTICLE VIII

                                    The Administrative Agent

        Each of the Lenders hereby irrevocably appoints the Administrative Agent as its agent
and authorizes the Administrative Agent to take such actions on its behalf and to exercise such
powers as are delegated to the Administrative Agent by the terms hereof, together with such
actions and powers as are reasonably incidental thereto. In the event of conflicting instructions
or notices given to the Borrower by the Administrative Agent and any Lender, the Borrower is
hereby directed and shall rely conclusively on the instruction or notice given by the
Administrative Agent.

        The bank serving as the Administrative Agent hereunder shall have the same rights and
powers in its capacity as a Lender as any other Lender and may exercise the same as though it
were not the Administrative Agent, and such bank and its Affiliates may accept deposits from,
lend money to and generally engage in any kind of business with the Borrower or any Subsidiary
or other Affiliate thereof as if it were not the Administrative Agent hereunder.

        The Administrative Agent shall not have any duties or obligations except those expressly
set forth herein. Without limiting the generality of the foregoing, (a) the Administrative Agent
shall not be subject to any fiduciary or other implied duties, regardless of whether a Default has
occurred and is continuing, (b) the Administrative Agent shall not have any duty to take any
discretionary action or exercise any discretionary powers, except discretionary rights and powers
expressly contemplated hereby that the Administrative Agent is required to exercise in writing
by the Required Lenders (or such other number or percentage of the Lenders as shall be
necessary under the circumstances as provided in Section 9.02), and (c) except as expressly set
forth herein, the Administrative Agent shall not have any duty to disclose, and shall not be liable
for the failure to disclose, any information relating to any Borrower that is communicated to or
obtained by the bank serving as Administrative Agent or any of its Affiliates in any capacity.
The Administrative Agent shall not be liable for any action taken or not taken by it with the
consent or at the request of the Required Lenders (or such other number or percentage of the
Lenders as shall be necessary under the circumstances as provided in Section 9.02) or in the
absence of its own gross negligence or willful misconduct. The Administrative Agent shall be
deemed not to have knowledge of any Default unless and until written notice thereof is given to
the Administrative Agent by the Borrower or a Lender, and the Administrative Agent shall not
be responsible for or have any duty to ascertain or inquire into (i) any statement, warranty or
representation made in or in connection with this Agreement, (ii) the contents of any certificate,
report or other document delivered hereunder or in connection herewith, (iii) the performance or
observance of any of the covenants, agreements or other terms or conditions set forth herein,



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(iv) the validity, enforceability, effectiveness or genuineness of this Agreement or any other
agreement, instrument or document, or (v) the satisfaction of any condition set forth in
Article IV or elsewhere herein, other than to confirm receipt of items expressly required to be
delivered to the Administrative Agent. The Administrative Agent agrees that, in fulfilling its
duties hereunder, it will use the same standard of care it utilizes in servicing loans for its own
account.

        The Administrative Agent shall be entitled to rely upon, and shall not incur any liability
for relying upon, any notice, request, certificate, consent, statement, instrument, document or
other writing believed by it to be genuine and to have been signed or sent by the proper Person.
The Administrative Agent also may rely upon any statement made to it orally or by telephone
and believed by it to be made by the proper Person, and shall not incur any liability for relying
thereon. The Administrative Agent may consult with legal counsel (who may be counsel for the
Borrower), independent accountants and other experts selected by it, and shall not be liable for
any action taken or not taken by it in good faith in accordance with the advice of any such
counsel, accountants or experts.

        The Administrative Agent may perform any and all its duties and exercise its rights and
powers by or through any one or more sub-agents appointed by the Administrative Agent. The
Administrative Agent and any such sub-agent may perform any and all its duties and exercise its
rights and powers through their respective Related Parties. The exculpatory provisions of the
preceding paragraphs shall apply to any such sub-agent and to the Related Parties of the
Administrative Agent and any such sub-agent, and shall apply to their respective activities in
connection with the syndication of the credit facilities provided for herein as well as activities as
Administrative Agent.

        Subject to the appointment and acceptance of a successor Administrative Agent as
provided in this paragraph, the Administrative Agent may resign at any time by notifying the
Lenders and the Borrower, and may be removed by the Required Lenders in the event of the
Administrative Agent’s gross negligence or willful misconduct. Upon any such resignation or
removal, the Required Lenders shall have the right, with the approval of Borrower (provided no
Default has occurred and is continuing), which approval shall not be unreasonably withheld, to
appoint a successor. If no successor shall have been so appointed by the Required Lenders and
shall have accepted such appointment within 30 days after the retiring Administrative Agent
gives notice of its resignation or is removed, then the retiring Administrative Agent may, on
behalf of the Lenders, appoint a successor Administrative Agent which shall be a Lender, or a
bank with an office in New York, New York, or an Affiliate of any such bank. Upon the
acceptance of its appointment as Administrative Agent hereunder by a successor, such successor
shall succeed to and become vested with all the rights, powers, privileges and duties of the
retiring Administrative Agent, and the retiring Administrative Agent shall be discharged from its
duties and obligations hereunder. The fees payable by the Borrower to a successor
Administrative Agent for its own behalf shall be the same as those payable to its predecessor
unless otherwise agreed between the Borrower and such successor. After the Administrative
Agent’s resignation hereunder, the provisions of this Article and Section 9.03 shall continue in
effect for the benefit of such retiring Administrative Agent, its sub-agents and their respective
Related Parties in respect of any actions taken or omitted to be taken by any of them while it was


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acting as Administrative Agent. The Administrative Agent shall cooperate with any successor
Administrative Agent in fulfilling its duties hereunder.

        Each Lender acknowledges that it has, independently and without reliance upon the
Administrative Agent or any other Lender and based on such documents and information as it
has deemed appropriate, made its own credit analysis and decision to enter into this Agreement.
Each Lender also acknowledges that it will, independently and without reliance upon the
Administrative Agent or any other Lender and based on such documents and information as it
shall from time to time deem appropriate, continue to make its own decisions in taking or not
taking action under or based upon this Agreement, any related agreement or any document
furnished hereunder or thereunder. Administrative Agent agrees to provide the Lenders with
copies of all material documents and certificates received by the Administrative Agent from
Borrower in connection with the Loans.

     The Titled Agents shall not have any additional rights or obligations under the Loan
Documents, except for those rights, if any, as a Lender.

        Any material to be delivered pursuant to Section 5.01 and Section 5.03 (collectively,
“Information Materials”) may be delivered electronically directly to the Administrative Agent or
made available to Administrative Agent pursuant to an accessible website and the Lenders
provided that such material is in a format reasonably acceptable to Administrative Agent, and
such material shall be deemed to have been delivered to Administrative Agent and the Lenders
upon Administrative Agent’s receipt thereof or access to the website containing such material.
The Administrative Agent shall distribute any such information to the other Lenders after receipt
thereof, and may do so by electronic form in the same manner as provided in this Article VIII.
Upon the request of Administrative Agent, Borrower shall deliver paper copies thereof to
Administrative Agent and the Lenders. Borrower authorizes Administrative Agent and Arranger
to disseminate any such materials through the use of Intralinks, SyndTrak or any other electronic
information dissemination system provided that system is secure and access thereto is protected
by a password that is only disclosed to the Lenders (an “Electronic System”). Any such
Electronic System is provided “as is” and “as available.” The Administrative Agent and the
Arranger do not warrant the adequacy of any Electronic System and expressly disclaim liability
for errors or omissions in any notice, demand, communication, information or other material
provided by or on behalf of Borrower that is distributed over or by any such Electronic System
(“Communications”). No warranty of any kind, express, implied or statutory, including, without
limitation, any warranty of merchantability, fitness for a particular purpose, non-infringement of
third-party rights or freedom from viruses or other code defects, is made by the Administrative
Agent or the Arranger in connection with the Communications or the Electronic System. In no
event shall the Administrative Agent, Arranger or any of their directors, officers, employees,
agents or attorneys have any liability to the Borrower, any Lender or any other Person for
damages of any kind, including, without limitation, direct or indirect, special, incidental or
consequential damages, losses or expenses (whether in tort, contract or otherwise) arising out of
any Borrower’s, the Administrative Agent’s or Arranger’s transmission of Communications
through the Electronic System, and the Borrowers release Administrative Agent, the Arrangers
and the Lenders from any liability in connection therewith. Certain of the Lenders (each, a
“Public Lender”) may have personnel who do not wish to receive material non-public


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information with respect to the Borrowers, their Subsidiaries or its Affiliates, or the respective
securities of any of the foregoing, and who may be engaged in investment and other market
related activities with respect to such Persons’ securities. The Borrower hereby agrees that it
will identify that portion of the Information Materials that may be distributed to the Public
Lenders and that (i) all such Information Materials shall be clearly and conspicuously marked
“PUBLIC” which, at a minimum, shall mean that the word “PUBLIC” shall appear prominently
on the first page thereof; (ii) by marking Information Materials “PUBLIC,” the Borrower shall
be deemed to have authorized the Administrative Agent, the Lenders and the Arranger to treat
such Information Materials as not containing any material non-public information with respect to
the Borrowers, their Subsidiaries, their Affiliates or their respective securities for purposes of
United States Federal and state securities laws (provided, however, that to the extent such
Information Materials constitute confidential information, they shall be treated as provided in
Section 9.12); (iii) all Information Materials marked “PUBLIC” are permitted to be made
available through a portion of any electronic dissemination system designated “Public Investor”
or a similar designation; and (iv) the Administrative Agent and the Arranger shall be entitled to
treat any Information Materials that are not marked “PUBLIC” as being suitable only for posting
on a portion of any electronic dissemination system not designated “Public Investor” or a similar
designation.

                                          ARTICLE IX

                                         Miscellaneous

        Section 9.01 Notices. Except in the case of notices and other communications expressly
permitted to be given by telephone, all notices and other communications provided for herein
shall be in writing and shall be delivered by hand or overnight courier service, mailed by
certified or registered mail or sent by telecopy, as follows:

       (a)     if to the Borrower, in care of Highland Capital Management, L.P., at 300 Crescent
Court, Suite 700, Dallas, Texas 75201, Attention: Matt McGraner (Telephone No. (972) 419-
6229 and Email: mmcgraner@highlandcapital.com); copies to: Wick Phillips Gould & Martin,
LLP, 3131 McKinney, Suite 100, Dallas, Texas 75204, Attention: Chris Fuller (Telephone No.
(214) 740-4023 and Email: cfuller@wickphillips.com);

        (b)   if to the Administrative Agent, to KeyBank, National Association, 225 Franklin
          th
Street, 16 Floor, Boston, Massachusetts 02110, Attention: Christopher T. Neil, (Telephone No.
(617) 385-6202 and Email: christopher_t_neil@keybank.com; and

       (c)    if to any other Lender, to it at its address (or telecopy number) set forth on the
signature pages of this Agreement, or as provided to Borrower in writing by the Administrative
Agent or the Lender.

Any party hereto may change its address or telecopy number for notices and other
communications hereunder by notice to the other parties hereto. All notices and other
communications given to any party hereto in accordance with the provisions of this Agreement
shall be deemed to have been given (i) if given by telecopy, when such telecopy is transmitted to
the telecopy number specified in this Section and the appropriate confirmation is received (or if


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such day is not a Business Day, on the next Business Day); (ii) if given by mail (return receipt
requested), on the earlier of receipt or three (3) Business Days after such communication is
deposited in the mail with first class postage prepaid, addressed as aforesaid; or (iii) if given by
any other means, when delivered at the address specified in this Section; provided that notices to
the Administrative Agent under Article II shall not be effective until received.

       Section 9.02 Waivers; Amendments.

        (a)     No failure or delay by the Administrative Agent or any Lender in exercising any
right or power hereunder or under any other Loan Document shall operate as a waiver thereof,
nor shall any single or partial exercise of any such right or power, or any abandonment or
discontinuance of steps to enforce such a right or power, preclude any other or further exercise
thereof or the exercise of any other right or power. The rights and remedies of the
Administrative Agent and the Lenders hereunder and under any other Loan Document are
cumulative and are not exclusive of any rights or remedies that they would otherwise have. No
waiver of any provision of this Agreement or consent to any departure by the Borrower
therefrom shall in any event be effective unless the same shall be permitted by paragraph (b) of
this Section, and then such waiver or consent shall be effective only in the specific instance and
for the purpose for which given. Without limiting the generality of the foregoing, the making of
a Loan shall not be construed as a waiver of any Default, regardless of whether the
Administrative Agent or any Lender may have had notice or knowledge of such Default at the
time.

         (b)    Neither this Agreement nor any provision hereof nor any provision of any Loan
Document may be waived, amended or modified except pursuant to an agreement or agreements
in writing entered into by the Borrower and the Required Lenders or by the Borrower and the
Administrative Agent with the consent of the Required Lenders; provided that no such
agreement shall (i) increase the Commitment of any Lender without the written consent of such
Lender, (ii) reduce the principal amount of any Loan or reduce the rate of interest thereon, or
reduce any fees payable hereunder, without the written consent of each Lender affected thereby,
(iii) postpone the scheduled date of payment of the principal amount of any Loan, or any interest
thereon, or any fees payable hereunder, or reduce the amount of, waive or excuse any such
payment, or postpone the scheduled date of expiration of any Commitment, without the written
consent of each Lender affected thereby, (iv) change Section 2.17(b) or (c) in a manner that
would alter the pro rata sharing of payments required thereby, without the written consent of
each Lender, (v) change any of the provisions of this Section or the definition of “Required
Lenders” or any other provision hereof specifying the number or percentage of Lenders required
to waive, amend or modify any rights hereunder or make any determination or grant any consent
hereunder, without the written consent of each Lender, (vi) release any Borrower from its
obligations under the Loan Documents or release any Collateral, except as specifically provided
for herein, without the written consent of each Lender, (vii) subordinate the Loans or any
Collateral without the written consent of each Lender, (viii) waive or modify any conditions of
extending the Loan set forth in Section 2.21 or Section 2.22 without the written consent of each
Lender affected thereby, or (ix) consent to the Collateral securing any other Indebtedness
without the written consent of each Lender; provided further that no such agreement shall




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amend, modify or otherwise affect the rights or duties of the Administrative Agent hereunder
without the prior written consent of the Administrative Agent.

        (c)    There shall be no amendment, modification or waiver of ARTICLE VIII or any
other provision in the Loan Documents that affects the rights or duties of the Administrative
Agent under this Agreement or any of the other Loan Documents without the written consent of
the Administrative Agent.

        (d)    Notwithstanding anything to the contrary herein, no Defaulting Lender shall have
any right to approve or disapprove any amendment, waiver or consent hereunder (and any
amendment, waiver or consent which by its terms requires the consent of all Lenders or each
affected Lender may be effected with the consent of the applicable Lenders other than Defaulting
Lenders), except that (x) the Commitment of any Defaulting Lender may not be increased or
extended without the consent of such Lender; and (y) any waiver, amendment or modification
requiring the consent of all Lenders or each affected Lender that by its terms affects any
Defaulting Lender more adversely than other affected Lenders shall require the consent of such
Defaulting Lender.

       Section 9.03 Expenses; Indemnity; Damage Waiver.

        (a)      The Borrower shall pay (i) all reasonable out-of-pocket expenses incurred by the
Administrative Agent, the Arranger, and its Affiliates, including the reasonable fees, charges and
disbursements of counsel for the Administrative Agent, in connection with the closing of the
credit facilities provided for herein, the syndication of the credit facilities provided for herein,
the preparation and administration of this Agreement or any amendments, modifications or
waivers of the provisions hereof (whether or not the transactions contemplated hereby or thereby
shall be consummated), (ii) all mortgage taxes and other charges incurred or required to be paid
by the Administrative Agent in connection with the Loan Documents, and (iii) all reasonable
out-of-pocket expenses incurred by the Administrative Agent or any Lender, including the
reasonable fees, charges and disbursements of any counsel for the Administrative Agent or any
Lender, in connection with the enforcement or protection of its rights in connection with this
Agreement, including its rights under this Section, or in connection with the Loans made
hereunder, including all such out-of-pocket expenses incurred (including any Appraisal costs)
during any waivers, workout, restructuring or negotiations in respect of the Loans.

        (b)      The Borrower shall indemnify the Administrative Agent, the Arranger, and each
Lender, and each Related Party of any of the foregoing Persons (each such Person being called
an “Indemnitee”) against, and hold each Indemnitee harmless from, any and all losses, claims,
damages, liabilities and related expenses, including the reasonable fees, charges and
disbursements of any counsel for any Indemnitee, incurred by or asserted against any Indemnitee
arising out of, in connection with, or as a result of (i) the execution or delivery of this Agreement
or any agreement or instrument contemplated hereby, the performance by the parties hereto of
their respective obligations hereunder or the consummation of the Transactions or any other
transactions contemplated hereby, (ii) the Loans or the use of the proceeds therefrom, (iii) any
actual or alleged presence or release of Hazardous Materials on or from any property owned or
operated by the Borrower or any of its Subsidiaries, or any Environmental Liability related in
any way to the Borrower or any of its Subsidiaries, or (iv) any actual or prospective claim,


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litigation, investigation or proceeding relating to any of the foregoing, whether based on
contract, tort or any other theory and regardless of whether any Indemnitee is a party thereto;
provided that such indemnity shall not, as to any Indemnitee, be available to the extent that such
losses, claims, damages, liabilities or related expenses resulted from the gross negligence or
willful misconduct of such Indemnitee as determined by a court of law in a final non-appealable
judgment, or the failure of the Indemnitee to make Loans pursuant to its Commitment in breach
of its obligations hereunder.

         (c)     To the extent that the Borrower fails to pay any amount required to be paid by it
to the Administrative Agent under paragraph (a) or (b) of this Section, each Lender severally
agrees to pay to the Administrative Agent such Lender’s Applicable Percentage (determined as
of the time that the applicable unreimbursed expense or indemnity payment is sought) of such
unpaid amount; provided that the unreimbursed expense or indemnified loss, claim, damage,
liability or related expense, as the case may be, was incurred by or asserted against the
Administrative Agent in its capacity as such.

       (d)     To the extent permitted by applicable law, the Borrower shall not assert, and
hereby waives, any claim against any Indemnitee, on any theory of liability, for special, indirect,
consequential or punitive damages (as opposed to direct or actual damages) arising out of, in
connection with, or as a result of, this Agreement or any agreement or instrument contemplated
hereby, the Transactions, the Loans or the use of the proceeds thereof.

        (e)  All amounts due under this Section shall be payable not later than ten days after
written demand therefor.

       Section 9.04 Successors and Assigns.

        (a)     The provisions of this Agreement shall be binding upon and inure to the benefit of
the parties hereto and their respective successors and assigns permitted hereby, except that the
Borrower may not assign or otherwise transfer any of its rights or obligations hereunder without
the prior written consent of each Lender (and any attempted assignment or transfer by the
Borrower without such consent shall be null and void). Nothing in this Agreement, expressed or
implied, shall be construed to confer upon any Person (other than the parties hereto, their
respective successors and assigns permitted hereby and, to the extent expressly contemplated
hereby, the Related Parties of each of the Administrative Agent and the Lenders) any legal or
equitable right, remedy or claim under or by reason of this Agreement.

        (b)     (i) Subject to the conditions set forth in paragraph (b)(ii) below, any Lender may
assign to one or more assignees all or a portion of its rights and obligations under this Agreement
(including all or a portion of its Commitment and the Loans at the time owing to it) with the
prior written consent (such consent not to be unreasonably withheld) of:

                               (A)     the Borrower, provided that no consent of the Borrower
                       shall be required for an assignment to a Lender, an Affiliate of a Lender,
                       an Approved Fund or, if a Default has occurred and is continuing, any
                       other assignee; and (ii) such consent shall be deemed granted unless the



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                       Lead Borrower objects within five (5) Business Days of a receipt of
                       written notice of the proposed assignment;

                               (B)     the Administrative Agent, provided that no consent of the
                       Administrative Agent shall be required for an assignment to a Lender, an
                       Affiliate of a Lender or an Approved Fund.

                Provided, no consent of the Borrower or Administrative Agent shall be required
         in connection with any assignment to an entity acquiring, or merging with, a Lender.

                      (ii)     Assignments shall be subject to the following additional
               conditions:

                               (A)     except in the case of an assignment to a Lender or an
                       Affiliate of a Lender or an assignment of the entire remaining amount of
                       the assigning Lender’s Commitment or Loans, the amount of the
                       Commitment or Loans of the assigning Lender subject to each such
                       assignment (determined as of the date the Assignment and Assumption
                       with respect to such assignment is delivered to the Administrative Agent)
                       shall not be less than $5,000,000.00 unless each of the Borrower and the
                       Administrative Agent otherwise consent, provided that no such consent of
                       the Borrower shall be required if a Default has occurred and is continuing
                       and such consent shall not be unreasonably withheld;

                              (B)     each partial assignment shall be made as an assignment of a
                       proportionate part of all the assigning Lender’s rights and obligations
                       under this Agreement with respect to the Loans or the Commitment
                       assigned;

                              (C)    the parties to each assignment shall execute and deliver to
                       the Administrative Agent an Assignment and Assumption, together with a
                       processing and recordation fee of $3,500.00; and

                             (D)     the assignee, if it shall not be a Lender, shall deliver to the
                       Administrative Agent an Administrative Questionnaire.

                For the purposes of this Section 9.04(b), the term “Approved Fund” has the
         following meaning:

        “Approved Fund” means any Person (other than a natural person) that is engaged in
making, purchasing, holding or investing in bank loans and similar extensions of credit in the
ordinary course of its business and that is administered or managed by (a) a Lender, (b) an
Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers or manages a
Lender.

               (iii) Subject to acceptance and recording thereof pursuant to paragraph (b)(iv) of
       this Section, from and after the effective date specified in each Assignment and


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       Assumption the assignee thereunder shall be a party hereto and, to the extent of the
       interest assigned by such Assignment and Assumption, have the rights and obligations of
       a Lender under this Agreement, and the assigning Lender thereunder shall, to the extent
       of the interest assigned by such Assignment and Assumption, be released from its
       obligations under this Agreement (and, in the case of an Assignment and Assumption
       covering all of the assigning Lender’s rights and obligations under this Agreement, such
       Lender shall cease to be a party hereto but shall continue to be entitled to the benefits of
       Sections 2.15, 2.16, 2.17 and 9.03). Any assignment or transfer by a Lender of rights or
       obligations under this Agreement that does not comply with this Section 9.04 shall be
       treated for purposes of this Agreement as a sale by such Lender of a participation in such
       rights and obligations in accordance with paragraph (c) of this Section.

               (iv) The Administrative Agent, acting for this purpose as an agent of the
       Borrower, shall maintain at one of its offices a copy of each Assignment and Assumption
       delivered to it and a register for the recordation of the names and addresses of the
       Lenders, and the Commitment of the principal amount of the Loans owing to, each
       Lender pursuant to the terms hereof from time to time (the “Register”). The entries in the
       Register shall be conclusive, and the Borrower, the Administrative Agent and the
       Lenders may treat each Person whose name is recorded in the Register pursuant to the
       terms hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding
       notice to the contrary. The Register shall be available for inspection by the Borrower and
       any Lender, at any reasonable time and from time to time upon reasonable prior notice.

              (v) Upon its receipt of a duly completed Assignment and Assumption executed
       by an assigning Lender and an assignee, the assignee's completed Administrative
       Questionnaire (unless the assignee shall already be a Lender hereunder), the processing
       and recordation fee referred to in paragraph (b) of this Section and any written consent to
       such assignment required by paragraph (b) of this Section, the Administrative Agent shall
       accept such Assignment and Assumption and record the information contained therein in
       the Register. No assignment shall be effective for purposes of this Agreement unless it
       has been recorded in the Register as provided in this paragraph.

        (c)     Any Lender may, without the consent of the Borrower or the Administrative
Agent, sell participations to one or more banks or other entities (a “Participant”) in all or a
portion of such Lender’s rights and obligations under this Agreement (including all or a portion
of its Commitment and the Loans owing to it); provided that (i) such Lender’s obligations under
this Agreement shall remain unchanged, (ii) such Lender shall remain solely responsible to the
other parties hereto for the performance of such obligations, (iii) the Borrower, the
Administrative Agent and the other Lenders shall continue to deal solely and directly with such
Lender in connection with such Lender’s rights and obligations under this Agreement and (iv)
Borrower’s obligations hereunder shall not be increased. Any agreement or instrument pursuant
to which a Lender sells such a participation shall provide that such Lender shall retain the sole
right to enforce this Agreement and to approve any amendment, modification or waiver of any
provision of this Agreement; provided that such agreement or instrument may provide that such
Lender will not, without the consent of the Participant, agree to any amendment, modification or
waiver described in the first proviso to Section 9.02(b) that affects such Participant. Subject to


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paragraph (d) of this Section, the Borrower agrees that each Participant shall be entitled to the
benefits of Sections 2.15, 2.16 and 2.17 to the same extent as if it were a Lender and had
acquired its interest by assignment pursuant to paragraph (b) of this Section. To the extent
permitted by law, each Participant also shall be entitled to the benefits of Section 9.08 as though
it were a Lender, provided such Participant agrees to be subject to Section 2.18(c) as though it
were a Lender. Each Lender that sells a participation shall, acting solely for this purpose as a
non-fiduciary agent of the Borrower, maintain a register on which it enters the name and address
of each Participant and the principal amounts (and stated interest) of each Participant’s interest
in the Loans or other obligations under the Loan Documents (the “Participant Register”);
provided that, except in the case of a Participant asserting any right of set-off pursuant to Section
9.08, no Lender shall have any obligation to disclose all or any portion of the Participant
Register (including the identity of any Participant or any information relating to a Participant’s
interest in any commitments, loans, letters of credit or its other obligations under any Loan
Document) to any Person except to the extent that such disclosure is necessary to establish that
such commitment, loan, or other obligation is in registered form under Section 5f.103-1(c) of the
United States Treasury Regulations. The entries in the Participant Register shall be conclusive
absent manifest error, and such Lender shall treat each Person whose name is recorded in the
Participant Register as the owner of such participation for all purposes of this Agreement
notwithstanding any notice to the contrary. For the avoidance of doubt, the Administrative
Agent (in its capacity as Administrative Agent) shall have no responsibility for maintaining a
Participant Register.

        (d)     A Participant shall not be entitled to receive any greater payment under Section
2.15 or 2.17 than the applicable Lender would have been entitled to receive with respect to the
participation sold to such Participant, unless the sale of the participation to such Participant is
made with the Borrower’s prior written consent. A Participant that would be a Foreign Lender if
it were a Lender shall not be entitled to the benefits of Section 2.17 unless the Borrower is
notified of the participation sold to such Participant and such Participant agrees, for the benefit
of the Borrower, to comply with Section 2.17(e) as though it were a Lender.

        (e)      Any Lender may at any time pledge or assign a security interest in all or any
portion of its rights under this Agreement to secure obligations of such Lender, including any
pledge or assignment to secure obligations to a Federal Reserve Bank, and this Section shall not
apply to any such pledge or assignment of a security interest; provided that no such pledge or
assignment of a security interest shall release a Lender from any of its obligations hereunder or
substitute any such pledgee or assignee for such Lender as a party hereto.

        Section 9.05 Survival. All covenants, agreements, representations and warranties made
by the Borrower herein and in the certificates or other instruments delivered in connection with
or pursuant to this Agreement shall be considered to have been relied upon by the other parties
hereto and shall survive the execution and delivery of this Agreement and the making of the
Loans, regardless of any investigation made by any such other party or on its behalf and
notwithstanding that the Administrative Agent or any Lender may have had notice or knowledge
of any Default or incorrect representation or warranty at the time any credit is extended
hereunder, and shall continue in full force and effect as long as the principal of or any accrued
interest on the Loans or any fee or any other amount payable under this Agreement is


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outstanding and unpaid. The provisions of Sections 2.15, 2.16, 2.17 and 9.03 and Article VIII
shall survive and remain in full force and effect regardless of the consummation of the
transactions contemplated hereby, the repayment of the Loans or the termination of this
Agreement or any provision hereof.

       Section 9.06 Counterparts; Integration; Effectiveness.

        (a)     This Agreement may be executed in counterparts (and by different parties hereto
on different counterparts), each of which shall constitute an original, but all of which when taken
together shall constitute a single contract.

        (b)     This Agreement and any separate letter agreements with respect to fees payable to
the Administrative Agent constitute the entire contract among the parties relating to the subject
matter hereof and supersede any and all previous agreements and understandings, oral or written,
relating to the subject matter hereof.

         (c)    Except as provided in Section 4.01, this Agreement shall become effective when
it shall have been executed by the Administrative Agent and when the Administrative Agent
shall have received counterparts hereof which, when taken together, bear the signatures of each
of the other parties hereto, and thereafter shall be binding upon and inure to the benefit of the
parties hereto and their respective successors and assigns. Delivery of an executed counterpart
of a signature page of this Agreement by telecopy shall be effective as delivery of a manually
executed counterpart of this Agreement.

        Section 9.07 Severability. Any provision of this Agreement held to be invalid, illegal or
unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
invalidity, illegality or unenforceability without affecting the validity, legality and enforceability
of the remaining provisions hereof; and the invalidity of a particular provision in a particular
jurisdiction shall not invalidate such provision in any other jurisdiction.

        Section 9.08 Right of Setoff. If an Event of Default shall have occurred and be
continuing, each Lender and each of its Affiliates is hereby authorized at any time and from time
to time, to the fullest extent permitted by law, to set off and apply any and all deposits of a
Borrower (general or special, time or demand, provisional or final, but excluding any funds held
by the Borrower on behalf of tenants or other third parties) at any time held and other obligations
at any time owing by such Lender or Affiliate to or for the credit or the account of a Borrower
against any of and all the obligations of the Borrower now or hereafter existing under this
Agreement held by such Lender, irrespective of whether or not such Lender shall have made any
demand under this Agreement and although such obligations may be unmatured. Each Lender
agrees promptly to notify the Borrower after any such setoff and application made by such
Lender, provided that the failure to give such notice shall not affect the validity of such setoff
and application. The rights of each Lender under this Section are in addition to other rights and
remedies (including other rights of setoff) which such Lender may have. In the event that any
Defaulting Lender shall exercise any such right of setoff, (a) all amounts so set off shall be paid
over immediately to the Administrative Agent for further application in accordance with the
provisions of this Agreement and, pending such payment, shall be segregated by such Defaulting
Lender from its other funds and deemed held in trust for the benefit of the Administrative Agent


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and the Lenders, and (b) the Defaulting Lender shall provide promptly to the Administrative
Agent a statement describing in reasonable detail the Obligations owing to such Defaulting
Lender as to which it exercised such right of setoff.

       Section 9.09 Governing Law; Jurisdiction; Consent to Service of Process.

        (a)     This Agreement shall be governed by, and construed in accordance with, the laws
of the State of New York.

        (b)      The Borrower hereby irrevocably and unconditionally submits, for itself and its
property, to the nonexclusive jurisdiction of the state and federal courts in Boston, Massachusetts
and in New York, New York, and any appellate court from any thereof, in any action or
proceeding arising out of or relating to this Agreement or any other Loan Document, or for
recognition or enforcement of any judgment, and each of the parties hereto hereby irrevocably
and unconditionally agrees that all claims in respect of any such action or proceeding may be
heard and determined in such State or, to the extent permitted by law, in such Federal court.
Each of the parties hereto agrees that a final judgment in any such action or proceeding shall be
conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other
manner provided by law. Nothing in this Agreement shall affect any right that the
Administrative Agent or any Lender may otherwise have to bring any action or proceeding
relating to this Agreement or any other Loan Document against the Borrower or its properties in
the courts of any jurisdiction.

              Notwithstanding the foregoing choice of law:

                      (i)     matters relating to the creation, perfection, priority and
               enforcement of the liens on and security interests in a Mortgaged Property or
               other assets situated in another jurisdiction(s), including by way of illustration,
               but not in limitation, actions for foreclosure, for injunctive relief, or for the
               appointment of a receiver, shall be governed by the laws of such state;

                       (ii)    Administrative Agent shall comply with applicable law in such
               state to the extent required by the law of such jurisdiction(s) in connection with
               the foreclosure of the security interests and liens created under the Mortgages or
               exercising any rights with respect to the Mortgaged Property directly, and the
               other Loan Documents with respect to the Mortgaged Property or other assets
               situated in another jurisdiction; and

                       (iii) provisions of Federal law and the law of such other jurisdiction(s)
               shall apply in defining the terms Hazardous Materials, Environmental Laws and
               Legal Requirements applicable to the Mortgaged Property as such terms are used
               in this Agreement, the Environmental Indemnity and the other Loan Documents

        (c)     The Borrower hereby irrevocably and unconditionally waives, to the fullest extent
it may legally and effectively do so, any objection which it may now or hereafter have to the
laying of venue of any suit, action or proceeding arising out of or relating to this Agreement or
any other Loan Document in any court referred to in paragraph (b) of this Section. Each of the


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parties hereto hereby irrevocably waives, to the fullest extent permitted by law, the defense of an
inconvenient forum to the maintenance of such action or proceeding in any such court.

       (d)      Each party to this Agreement irrevocably consents to service of process in the
manner provided for notices in Section 9.01. Nothing in this Agreement will affect the right of
any party to this Agreement to serve process in any other manner permitted by law.

      Section 9.10 WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT
IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT, ANY OTHER
LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR
THEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY).
EACH PARTY HERETO (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR
ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR
OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND
(B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN
INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE
MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

        Section 9.11 Headings. Article and Section headings and the Table of Contents used
herein are for convenience of reference only, are not part of this Agreement and shall not affect
the construction of, or be taken into consideration in interpreting, this Agreement.

         Section 9.12 Confidentiality. Each of the Administrative Agent and the Lenders agrees
to maintain the confidentiality of the Information (as defined below), except that Information
may be disclosed (a) to its and its Affiliates’ directors, officers, employees and agents, including
accountants, legal counsel and other advisors (it being understood that the Persons to whom such
disclosure is made will be informed of the confidential nature of such Information and instructed
to keep such Information confidential), (b) to the extent requested by any regulatory authority,
(c) to the extent required by applicable laws or regulations or by any subpoena or similar legal
process, (d) to any other party to this Agreement, (e) in connection with the exercise of any
remedies hereunder or any suit, action or proceeding relating to this Agreement or the
enforcement of rights hereunder, (f) subject to an agreement containing provisions substantially
the same as those of this Section, to any assignee of or Participant in, or any prospective assignee
of or Participant in, any of its rights or obligations under this Agreement, (g) with the consent of
the Borrower or (h) to any Person in connection with any Hedging Agreement to the (i) extent
such Information (i) becomes publicly available other than as a result of a breach of this Section
or (ii) becomes available to the Administrative Agent or any Lender on a nonconfidential basis
from a source other than a Borrower, and (j) to the National Association of Insurance
Commissioners or any other similar organization or any nationally recognized rating agency that
requires access to information about a Lender’s or its Affiliates’ investment portfolio in
connection with ratings issued with respect to such Lender or its Affiliates For the purposes of
this Section, “Information” means all information received from any Borrower relating to the
Borrower or its business, other than any such information that is available to the Administrative



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Agent or any Lender on a nonconfidential basis prior to disclosure by any Borrower; provided
that, in the case of information received from any Borrower after the date hereof, such
information is clearly identified at the time of delivery as confidential. Any Person required to
maintain the confidentiality of Information as provided in this Section shall be considered to
have complied with its obligation to do so if such Person has exercised the same degree of care
to maintain the confidentiality of such Information as such Person would accord to its own
confidential information.

        Section 9.13 Interest Rate Limitation. If at any time there exists a maximum rate of
interest which may be contracted for, charged, taken, received or reserved by the Lenders in
accordance with applicable law (the “Maximum Rate”), then notwithstanding anything herein to
the contrary, at any time the interest applicable to the Loans, together with all fees, charges and
other amounts which are treated as interest on the Loans under applicable law (collectively, the
“Charges”), shall exceed such Maximum Rate, the rate of interest payable in respect of the
Loans hereunder, together with all Charges payable in respect thereof, shall be limited to the
Maximum Rate and, to the extent lawful, the interest and Charges that would have been paid in
respect of the Loans but were not payable as result of the operation of this Section shall be
cumulated and the interest and Charges payable to the Lenders in respect of other Loans or
periods shall be increased (but not above the Maximum Rate therefor) until such cumulated
amount, together with interest thereon at the Federal Funds Effective Rate to the date of
repayment, shall have been received by the Lenders. If, for any reason whatsoever, the Charges
paid or received on the Loans produces a rate which exceeds the Maximum Rate, the Lenders
shall credit against the principal of the Loans (or, if such indebtedness shall have been paid in
full, shall refund to the payor of such Charges) such portion of said Charges as shall be necessary
to cause the interest paid on the Loans to produce a rate equal to the Maximum Rate. All sums
paid or agreed to be paid to the holders of the Loans for the use, forbearance or detention of the
Loans shall, to the extent permitted by applicable law, be amortized, prorated, allocated and
spread in equal parts throughout the full term of this Agreement, so that the interest rate is
uniform throughout the full term of this Agreement. The provisions of this Section shall control
all agreements, whether now or hereafter existing and whether written or oral, between the
parties hereto. Without notice to the Borrower or any other person or entity, the Maximum Rate,
if any, shall automatically fluctuate upward and downward as and in the amount by which such
maximum nonusurious rate of interest permitted by applicable law fluctuates.

        Section 9.14 USA PATRIOT Act. . Each Lender that is subject to the Patriot Act (as
hereinafter defined) and Administrative Agent (for itself and not on behalf of any Lender) hereby
notifies each Borrower that pursuant to the requirements of the USA PATRIOT Act (Title III of
Pub. L. 107-56 (signed into law October 26, 2001)) (the “Patriot Act”), it is required to obtain,
verify and record information that identifies such Borrower, which information includes the
name and address of such Borrower and other information that will allow such Lender or
Administrative Agent, as applicable, to identify such Borrower in accordance with the Patriot
Act. Borrower shall, promptly following a request by Administrative Agent or any Lender,
provide all documentation and other information that Administrative Agent or such Lender
requests in order to comply with its ongoing obligations under applicable “know your customer”
and Anti-Money Laundering Laws, rules and regulations, including the Patriot Act.



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       Section 9.15 Fiduciary Duty/No Conflicts.

         The Administrative Agent, each Lender and their Affiliates (collectively, solely for
purposes of this paragraph, the “Lenders”), may have economic interests that conflict with those
of the Borrower, their stockholders and/or their affiliates. Each Borrower agrees that nothing in
the Loan Documents or otherwise will be deemed to create an advisory, fiduciary or agency
relationship or fiduciary or other implied duty between any Lender, on the one hand, and such
Borrower, its stockholders or its affiliates, on the other. The Borrower acknowledges and agrees
that (i) the transactions contemplated by the Loan Documents (including the exercise of rights
and remedies hereunder and thereunder) are arm’s-length commercial transactions between the
Lenders, on the one hand, and the Borrowers, on the other, and (ii) in connection therewith and
with the process leading thereto, (x) no Lender has assumed an advisory or fiduciary
responsibility in favor of any Borrower, its stockholders or its affiliates with respect to the
transactions contemplated hereby (or the exercise of rights or remedies with respect thereto) or
the process leading thereto (irrespective of whether any Lender has advised, is currently advising
or will advise any Borrower, its stockholders or its Affiliates on other matters) or any other
obligation to any Borrower except the obligations expressly set forth in the Credit Documents
and (y) each Lender is acting hereunder solely as principal and not as the agent or fiduciary of
any Borrower, its management, stockholders, creditors or any other Person. Each Borrower
acknowledges and agrees that it has consulted its own legal and financial advisors to the extent it
deemed appropriate and that it is responsible for making its own independent judgment with
respect to such transactions and the process leading thereto. Each Borrower agrees that it will
not claim that any Lender has rendered advisory services of any nature or respect, or owes a
fiduciary or similar duty to such Borrower, in connection with such transaction or the process
leading thereto in its capacity as a Lender.

         Section 9.16 Acknowledgement and Consent to Bail-In of EEA Financial Institutions.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement,
arrangement or understanding among any such parties, each party hereto acknowledges that any
liability of any EEA Financial Institution arising under any Loan Document, to the extent such
liability is unsecured, may be subject to the Write-Down and Conversion Powers of an EEA
Resolution Authority and agrees and consents to, and acknowledges and agrees to be bound by:

         (a)   the application of any Write-Down and Conversion Powers by an EEA Resolution
Authority to any such liabilities arising hereunder which may be payable to it by any party hereto
that is an EEA Financial Institution; and

       (b)     the effects of any Bail-in Action on any such liability, including, if applicable:

                      (i)      a reduction in full or in part or cancellation of any such liability;

                       (ii)     a conversion of all, or a portion of, such liability into shares or
               other instruments of ownership in such EEA Financial Institution, its parent
               entity, or a bridge institution that may be issued to it or otherwise conferred on it,
               and that such shares or other instruments of ownership will be accepted by it in
               lieu of any rights with respect to any such liability under this Agreement or any
               other Loan Document; or


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                      (iii) the variation of the terms of such liability in connection with the
               exercise of the Write-Down and Conversion Powers of any EEA Resolution
               Authority.

       Section 9.17 Multiple Borrowers; Joint and Several Liability.

        (a)     With respect to the definition of the “Borrower” hereunder or in any other Loan
Document, except where the context otherwise provides, (a) any representations contained
herein or in any other Loan Documents of Borrower shall be applicable to each Borrower, (b)
any affirmative covenants contained herein or in any other Loan Documents shall be deemed to
be covenants of each Borrower and shall require performance by all Borrowers, (c) any negative
covenants contained herein or in any other Loan Documents shall be deemed to be covenants of
each Borrower, and shall be breached if any Borrower fails to comply therewith, (d) the
occurrence of any Event of Default with respect to any Borrower shall be deemed to be an Event
of Default hereunder or thereunder, and (e) any Obligations of Borrowers, including, without
limitation, under the Note (i) shall be deemed to be Obligations of all of the Borrowers, and (ii)
shall be joint and several. Each Borrower recognizes that credit available to it under the Loan is
in excess of and on better terms than it otherwise could obtain on and for its own account and
that one of the reasons therefor is its joining in the credit facility contemplated herein with all
other Borrowers. Consequently, each Borrower, jointly and severally, hereby assumes and
agrees fully, faithfully and punctually to discharge all Obligations of all of the Borrowers.

        (b)     To the fullest extent permitted by Law, the obligations of each Borrower shall not
be affected by (i) the failure of Administrative Agent to assert any claim or demand or to enforce
or exercise any right or remedy against any other Borrower under the provisions of this
Agreement, any other Loan Document or otherwise, (ii) any rescission, waiver, amendment or
modification of, or any release from any of the terms or provisions of, this Agreement or any
other Loan Document, (iii) the failure to perfect any security interest in, or the release of, any of
the collateral or other security held by or on behalf of Administrative Agent, or (iv) any default,
failure or delay, willful or otherwise, in the performance of any of the Obligations, or by any
other act or omission that may or might in any manner or to any extent vary the risk of any
Borrower or that would otherwise operate as a discharge of any Borrower as a matter of law or
equity (other than the indefeasible payment in full in cash of all the Obligations, excluding,
however, any contingent indemnification obligations which are not then due and payable or for
which a claim has not then been asserted). The obligations of each Borrower shall not be subject
to any reduction, limitation, impairment or termination for any reason (other than the
indefeasible payment in full in cash of the Obligations, excluding, however, any contingent
indemnification obligations which are not then due and payable or for which a claim has not then
been asserted), including any claim of waiver, release, surrender, alteration or compromise of
any of the Obligations, and shall not be subject to any defense or setoff, counterclaim,
recoupment or termination whatsoever by reason of the invalidity, illegality or unenforceability
of any of the Obligations or otherwise.

        (c)     To the fullest extent permitted by Law, each Borrower waives any defense based
on or arising out of any defense of any other Borrower or the unenforceability of the Obligations
or any part thereof from any cause, or the cessation from any cause of the liability of any other



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Borrower, other than the indefeasible payment in full in cash of all the Obligations, excluding,
however, any contingent indemnification obligations which are not then due and payable or for
which a claim has not then been asserted. Administrative Agent may, at its election, foreclose on
any security held by one or more of them by one or more judicial or non-judicial sales, accept an
assignment of any such security in lieu of foreclosure, compromise or adjust any part of the
Obligations, make any other accommodation with any other Borrower, or exercise any other
right or remedy available to them against any other Borrower, without affecting or impairing in
any way the liability of any Borrower hereunder except to the extent that all of the Obligations
have been indefeasibly paid in full in cash, excluding, however, any contingent indemnification
obligations which are not then due and payable or for which a claim has not then been asserted.
Each Borrower waives any defense arising out of any such election even though such election
operates, pursuant to Law, to impair or to extinguish any right of reimbursement or subrogation
or other right or remedy of such Borrower against any other Borrower.

        (d)     Notwithstanding the foregoing, it is the intent of each Borrower and the Lenders
that in any proceeding under any Debtor Relief Laws, such Borrower's maximum obligation
hereunder shall equal, but not exceed, the maximum amount which would not otherwise cause
the obligations of such Borrower hereunder (or any other obligations of such Borrower to the
Lenders under the Loan Documents) to be avoidable or unenforceable against such Borrower in
such proceeding as a result of any Legal Requirements, including, without limitation, (i) Section
548 of the Bankruptcy Code of the United States and (ii) any state fraudulent transfer or
fraudulent conveyance act or statute applied in such proceeding, whether by virtue of Section
544 of the Bankruptcy Code of the United States or otherwise. The Legal Requirements under
which the possible avoidance or unenforceability of the obligations of such Borrower hereunder
(or any other obligations of such Borrower to the Lender under the Loan Documents) shall be
determined in any such proceeding are referred to herein as “Avoidance Provisions”.
Accordingly, to the extent that the obligations of a Borrower hereunder would otherwise be
subject to avoidance under the Avoidance Provisions, the maximum Obligations for which such
Borrower shall be liable hereunder shall be reduced to the greater of (A) the amount which, as of
the time any of the obligations of such Borrower are deemed to have been incurred by such
Borrower under the Avoidance Provisions, would not cause the obligations of such Borrower
hereunder (or any other obligations of such Borrower to the Lender under the Loan Documents),
to be subject to avoidance under the Avoidance Provisions or (B) the amount which, as of the
time demand is made hereunder upon such Borrower for payment on account of the Obligations,
would not cause the obligations of such Borrower hereunder (or any other obligations of such
Borrower to the Lender under the Loan Documents), to be subject to avoidance under the
Avoidance Provisions. The provisions under this Section are intended solely to preserve the
rights of the Lenders hereunder to the maximum extent that would not cause the obligations of
any Borrower hereunder to be subject to avoidance under the Avoidance Provisions, and no
Borrower or any other Person shall have any right or claim under this Section as against the
Administrative Agent or any Lender that would not otherwise be available to such Person under
the Avoidance Provisions.

        (e)     Upon payment by any Borrower of any Obligations, all rights of such Borrower
against any other Borrower arising as a result thereof by way of right of subrogation,
contribution, reimbursement, indemnity or otherwise shall in all respects be subordinate and


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junior in right of payment to the prior indefeasible payment in full in cash of all of the
Obligations, excluding, however, any contingent indemnification obligations which are not then
due and payable or for which a claim has not then been asserted. In addition, any indebtedness of
any Borrower now or hereafter held by any other Borrower is hereby subordinated in right of
payment to the prior indefeasible payment in full of the Obligations, excluding, however, any
contingent indemnification obligations which are not then due and payable or for which a claim
has not then been asserted and no Borrower will demand, sue for or otherwise attempt to collect
any such indebtedness. If any amount shall erroneously be paid to any Borrower on account of
(i) such subrogation, contribution, reimbursement, indemnity or similar right or (ii) any such
indebtedness of any Borrower, such amount shall be held in trust for the benefit of
Administrative Agent and shall forthwith be paid to Administrative Agent to be credited against
the payment of the Obligations, whether matured or unmatured, in accordance with the terms of
this Agreement and the other Loan Documents. Subject to the foregoing, to the extent that any
Borrower shall, under this Agreement as a joint and several obligor, repay any of the Obligations
constituting Loans made to another Borrower hereunder or other Obligations incurred directly
and primarily by any other Borrower (an “Accommodation Payment”), then the Borrower
making such Accommodation Payment shall be entitled to contribution and indemnification
from, and be reimbursed by, each of the other Borrowers in an amount, for each of such other
Borrowers, equal to a fraction of such Accommodation Payment, the numerator of which
fraction is such other Borrower's Allocable Amount and the denominator of which is the sum of
the Allocable Amounts of all of the Borrowers. As of any date of determination, the “Allocable
Amount” of each Borrower shall be equal to the maximum amount of liability for
Accommodation Payments which could be asserted against such Borrower hereunder without (a)
rendering such Borrower “insolvent” within the meaning of Section 101 (32) of the Bankruptcy
Code, Section 2 of the Uniform Fraudulent Transfer Act (“UFTA”) or Section 2 of the Uniform
Fraudulent Conveyance Act (“UFCA”), (b) leaving such Borrower with unreasonably small
capital or assets, within the meaning of Section 548 of the Bankruptcy Code, Section 4 of the
UFTA, or Section 5 of the UFCA, or (c) leaving such Borrower unable to pay its debts as they
become due within the meaning of Section 548 of the Bankruptcy Code or Section 4 of the
UFTA, or Section 5 of the UFCA.

        (f)     Each Borrower agrees that it shall never be entitled to be subrogated to any of the
Administrative Agent’s or any Lender’s rights against any Borrower or other Person or any
collateral or offset rights held by the Administrative Agent or the Lenders for payment of the
Loans until the full and final payment of the Loans and all other obligations incurred under the
Loan Documents and final termination of the Lenders’ obligations, if any, to make further
advances under this Agreement or to provide any other financial accommodations to any
Borrower. The value of the consideration received and to be received by each Borrower is
reasonably worth at least as much as the liability and obligation of each Borrower incurred or
arising under the Loan Documents. Each Borrower has determined that such liability and
obligation may reasonably be expected to substantially benefit each Borrower directly or
indirectly. Each Borrower has had full and complete access to the underlying papers relating to
the Loans and all of the Loan Documents, has reviewed them and is fully aware of the meaning
and effect of their contents. Each Borrower is fully informed of all circumstances which bear
upon the risks of executing the Loan Documents and which a diligent inquiry would reveal.
Each Borrower has adequate means to obtain from each other Borrower on a continuing basis


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information concerning such other Borrower’s financial condition, and is not depending on the
Administrative Agent or the Lenders to provide such information, now or in the future. Each
Borrower agrees that neither the Administrative Agent nor any of the Lenders shall have any
obligation to advise or notify any Borrower or to provide any Borrower with any data or
information regarding any other Borrower.

                                   [Signature Pages Follow]




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                                   SCHEDULE 1.01
                            PROPERTY OWNER BORROWERS

   1.    RIVERVIEW PARTNERS SC, LLC, a Delaware limited liability company
   2.    HAMPTON RIDGE PARTNERS, LLC, a Delaware limited liability company
   3.    LAT BATTLEGROUND PARK, LLC, a Delaware limited liability company
   4.    LANDMARK AT BATTLEGROUND PARK II, LLC, a Delaware limited liability company
   5.    MAR QUAIL LANDING, LLC, a Delaware limited liability company
   6.    G&E APARTMENT REIT THE MYRTLES AT OLDE TOWNE, LLC, a Delaware limited
         liability company
   7.    G&E APARTMENT REIT THE HEIGHTS AT OLDE TOWNE, LLC, a Delaware limited
         liability company
   8.    SE OAK MILL I OWNER, LLC , a Delaware limited liability company
   9.    SE OAK MILL II OWNER, LLC, a Delaware limited liability company
   10.   SE STONEY RIDGE, LLC, a Delaware limited liability company
   11.   SE GOVERNORS GREEN, LLC, a Delaware limited liability company




                                [Signature Page to Bridge Loan Agreement]
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                                        SCHEDULE 1.01(A)
                                        HCRE PROPERTIES




          Property Owner                                    HCRE Property

1.   HCRE Plano, LLC               Homewood Suites – Plano [2601 E President George
                                   Bush Hwy, Plano, TX 75074][ 4705 Old Shepard Pl,
                                   Plano, TX 75093]

2.   HCRE Addison, LLC             Homewood Suites – Addison 4451 Belt Line Rd,
                                   Addison, TX 75001

3.   HCRE Las Colinas, LLC         Homewood Suites – Las Colinas 4300 Wingren Dr,
                                   Irving, TX 75039

4.   HCBH Buffalo Pointe, LLC,     Connection at Buffalo Pointe, 10201 Buffalo Speedway,
     HCBH Buffalo Pointe II,       Houston, TX 77054
     LLC, HCBH Buffalo Pointe
     III, LLC

5.   Camelback Residential         The Angela, 2727 E Camelback Road, Phoenix, AZ
     Partners, LLC                 85016
                                   [McKinney Land] [Dallas Land] [Florida Land]
6.

7.




                                   [Signature Page to Bridge Loan Agreement]
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                                     SCHEDULE 2.01



LENDER                          COMMITMENT
                                (Percentage)
KeyBank, National Association   $556,275,000
                                (100%)
TOTAL:                          $556,275,000
                                (100%)




                                      Schedule 2.01
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                                                  SCHEDULE 3.05
                                  PORTFOLIO PROPERTIES AND MORTGAGED PROPERTIES




          Property Owner                            Portfolio Property                   Mortgaged          Senior Credit Agreement
                                                                                         Properties
                                                                                           (Y/N)
     Riverview Partners SC, LLC   Reserve at River Walk - 4501 Bentley Drive             Yes          N/A
1.
                                  Columbia, South Carolina 29210
     Hampton Ridge Partners,      Victoria Park - 4616 Stoney Trace Drive                Yes          N/A
2.
     LLC                          Charlotte, North Carolina 28227

     LAT Battleground Park and    Landmark at Battleground Park - 3520 Drawbridge        Yes          N/A
3.
     Landmark AT Battleground     Parkway
     Park II, LLC                 Greensboro, North Carolina 27410

     MAR Quail Landing, LLC       Quail Landing - 14200 North May Avenue                 Yes          N/A
4.
                                  Oklahoma City, Oklahoma 73134
     G&E Apartment REIT The       The Myrtles at Olde Towne - 850 Crawford Parkway       Yes          N/A
5.
     Myrtles at Olde Towne, LLC   Portsmouth, Virginia 23704

     G&E Apartment REIT The       The Heights at Olde Towne - 303 Effingham Street and   Yes          N/A
6.
     Heights at Olde Towne, LLC   301 Green Street
                                  Portsmouth, Virginia 23704

     SE Oak Mill I, LLC and SE    Oak Mill - 20010 Frederick Road                        Yes          N/A
7.
     Oak Mill II, LLC             Germantown, Maryland 20876

     SE Stoney Ridge LLC          Stoney Ridge - 14397 Westminster Lane                  Yes          N/A
8.
                                  Woodbridge, Virginia 22193

     SE Governors Green, LLC      Governor's Green - 16501 Governor Bridge Road          Yes          N/A
9.
                                  Bowie, Maryland 20716


                                                             Schedule 3.05
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      SOF-X GSOwner, L.P.          Gulfstream Isles - 1601 Red Cedar Drive              No   Loan Agreement dated as of the Effective
10.
                                   Fort Meyers, Florida 33901                                Date between the Property Owner set
                                                                                             forth on this row and the Federal Home
                                                                                             Loan Mortgage Corporation, as lender
      Lakes at Renaissance Park    Lakes at Renaissance Park - 1400 Renaissance Court   No   Loan Agreement dated as of the Effective
11.
      Apartments Investors, L.P.   Austin, Texas 78728                                       Date between the Property Owner set
                                                                                             forth on this row and the Federal Home
                                                                                             Loan Mortgage Corporation, as lender
      LATBriley Parkway, LLC       Glenview Reserve - 100 Arbor Creek Boulevard         No   Loan Agreement dated as of the Effective
12.
                                   Nashville, Tennessee 37217                                Date between the Property Owner set
                                                                                             forth on this row and the Federal Home
                                                                                             Loan Mortgage Corporation, as lender
      NREA SE1Andros Isles,        Andros Isles - 100 Acklins Circle                    No   Loan Agreement dated as of the Effective
13.
      DST                          Daytona Beach, Florida 32119                              Date between the Property Owner set
      May be converted from                                                                  forth on this row and the Federal Home
      DK Gateway Andros, LLC                                                                 Loan Mortgage Corporation, as lender
      NREA SE1Arborwalk, DST       Arborwalk - 1318 SW Manor Lake Drive                 No   Loan Agreement dated as of the Effective
14.
      May be converted from        Lee‘s Summit, Missouri 64082                              Date between the Property Owner set
      MAR Arborwalk, LLC                                                                     forth on this row and the Federal Home
                                                                                             Loan Mortgage Corporation, as lender
      NREA SE1Walker Ranch,        Walker Ranch - 14500 Blanco Road                     No   Loan Agreement dated as of the Effective
15.
      DST                          San Antonio, Texas 78216                                  Date between the Property Owner set
      May be converted from                                                                  forth on this row and the Federal Home
      SOFWalker Ranch Owner,                                                                 Loan Mortgage Corporation, as lender
      L.P.
      NREA SE1Towne Crossing,      Towne Crossing - 1601 Town Crossing Boulevard        No   Loan Agreement dated as of the Effective
16.
      DST                          Mansfield, Texas 76063                                    Date between the Property Owner set
      May be converted from                                                                  forth on this row and the Federal Home
      Apartment REIT Towne                                                                   Loan Mortgage Corporation, as lender
      Crossing, L.P.
      NREA SE2West Place, DST      West Place - 753 Sherwood Terrace Drive              No   Loan Agreement dated as of the Effective
17.
      May be converted from        Orlando, Florida 32818                                    Date between the Property Owner set
      Landmark at West Place,                                                                forth on this row and the Federal Home
      LLC                                                                                    Loan Mortgage Corporation, as lender
      NREA SE2Vista Ridge, DST     Vista Ridge - 160 Vista Ridge Mall Drive             No   Loan Agreement dated as of the Effective
18.
      May be converted from        Lewisville, Texas 75067                                   Date between the Property Owner set


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      MAR Vista Ridge, L.P.                                                              forth on this row and the Federal Home
                                                                                         Loan Mortgage Corporation, as lender
      NREA SE2Hidden Lake,       Hidden Lake - 8910 North Loop 1604           No         Loan Agreement dated as of the Effective
19.
      DST                        West San Antonio, Texas 78249                           Date between the Property Owner set
      May be converted from                                                              forth on this row and the Federal Home
      SOFHidden Lake SA Owner,                                                           Loan Mortgage Corporation, as lender
      L.P.
      NREA SE3Arboleda, DST      Arboleda - 900 Discovery Boulevard           No         Loan Agreement dated as of the Effective
20.
      May be converted from      Cedar Park, Texas 78613                                 Date between the Property Owner set
      G&EApartment REIT                                                                  forth on this row and the Federal Home
      Arboleda, LLC                                                                      Loan Mortgage Corporation, as lender
      NREA SE3Fairways, DST      Fairways - 16501 Stonemason Drive            No         Loan Agreement dated as of the Effective
21.
      May be converted from      Huntersville, North Carolina 28078                      Date between the Property Owner set
      MAR Fairways, LLC                                                                  forth on this row and the Federal Home
                                                                                         Loan Mortgage Corporation, as lender
      NREA SE3Grand Oasis,       Grand Oasis - 400 McGinnis Ferry Road        No         Loan Agreement dated as of the Effective
22.
      DST                        Suwanee, Georgia 30024                                  Date between the Property Owner set
      May be converted from                                                              forth on this row and the Federal Home
      Landmark at Grand Oasis,                                                           Loan Mortgage Corporation, as lender
      L.P.




                                                            Schedule 3.05
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                                 SCHEDULE 3.07
                                  LITIGATION


See attached.




                                   Schedule 3.07
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                                SCHEDULE 3.15
                             LIST OF SUBSIDIARIES


See attached.




                                   Schedule 3.15
Case 19-34054-sgj11   Doc 3590-6 Project    Unicorn Entered 10/27/22 17:13:45
                                    Filed 10/27/22                                                     Desc
                            Exhibit 6Quail
                                        Page   160 of 206
                                           Landing



                                                  James Dondero
                                                    (Beneficiary)
                                                                           Highland Capital
                                                   The Dugaboy             Management Real        Highland Capital
                                                    Investment             Estate Holdings I,    Management Real
                                                     Trust (DE)                LLC (NV)          Estate Holdings II,
                                                    (Guarantor)                                       LLC (NV)
                                                                                    25%
                                                                    70%                         5%

                  Highland Capital                                        HCRE Partners, LLC
                  Management, L.P.                                              (DE)
                        (DE)

                                 49%                          51%

                                 SE Multifamily Holdings, LLC
                                            (DE)

                                                     100%


                                      SE Quail Landing, LLC
                                              (DE)


                                                     100%


                                     MAR Quail Landing, LLC
                                            (DE)




                                      Quail Landing
                                 14200 North May Avenue
                              Oklahoma City, Oklahoma 73134
                                                        Case 19-34054-sgj11                  Doc 3590-6 Project   Unicorn Entered 10/27/22 17:13:45
                                                                                                           Filed 10/27/22                                                          Desc
                                                                                                   ExhibitGulfstream
                                                                                                           6 Page 161Isles of 206


                                                                                                                       James Dondero
                                                                                                                         (Beneficiary)
                                                                                                                                                Highland Capital
                                                                                                                        The Dugaboy             Management Real             Highland Capital
                                                                                                                         Investment             Estate Holdings I,         Management Real
                                                                                                                          Trust (DE)                LLC (NV)               Estate Holdings II,
                                                                                                                         (Guarantor)                                            LLC (NV)
                                                                                                                                                           25%
                                                                                                                                         70%                              5%

                                                                                      Highland Capital                                         HCRE Partners, LLC                         James Dondero
                                                                                      Management, L.P.                                                                                     (Non-Member
                                                                                                                                                     (DE)
                                                                                            (DE)                                                                                             Manager)


                                                                                                     49%                          51%

                                                                                                         SE Multifamily Holdings, LLC                                James Dondero
                                                                                                                                                                      (Non-Member
                                                                                                                    (DE)
                                                                                                                                                                        Manager)


                                                                         100%                                                   100%


                                                SE Gulfstream Isles GP, LLC                               SE Gulfstream Isles LP, LLC
                                                           (DE)                                                      (DE)


                                                                                                                          +/- 99.5% (LP)

                                                                   +/- 0.5% (GP)

                                                                                                            SOF-X GS Owner, L.P.
                                                                                                                   (DE)
Other than persons or entities specifically identified on this organizational chart, there is no:
(i)   person or entity with a collective equity interest (whether direct or indirect)
of 25% or more in Borrower; or
(ii) person or entity with a collective equity interest (whether direct or indirect)                          Gulfstream Isles
of 10% or more in Borrower, and which is either (a) an individual who is                                   1601 Red Cedar Drive
not a citizen of the United States, or (b) an entity formed outside the United States.                   Fort Meyers, Florida 33901
Updated 09/17/18
Case 19-34054-sgj11   Doc 3590-6 Project   Unicorn Entered 10/27/22 17:13:45
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                                        PagePark
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                                                 James Dondero
                                                   (Beneficiary)
                                                                          Highland Capital
                                                 The Dugaboy              Management Real        Highland Capital
                                                  Investment              Estate Holdings I,    Management Real
                                                   Trust (DE)                 LLC (NV)          Estate Holdings II,
                                                  (Guarantor)                                        LLC (NV)
                                                                                   25%
                                                                   70%                         5%

                  Highland Capital                                       HCRE Partners, LLC
                  Management, L.P.                                             (DE)
                        (DE)

                                 49%                         51%

                                 SE Multifamily Holdings, LLC
                                            (DE)


                                                     100%


                                     SE Victoria Park, LLC
                                             (DE)


                                                     100%


                                Hampton Ridge Partners, LLC
                                          (DE)




                                        Victoria Park
                                  4616 Stoney Trace Drive
                               Charlotte, North Carolina 28227
Case 19-34054-sgj11   Doc 3590-6 Project   Unicorn Entered 10/27/22 17:13:45
                                    Filed 10/27/22                                                       Desc
                            Exhibit 6   Page  163
                               Reserve at River   of 206
                                                Walk


                                                   James Dondero
                                                     (Beneficiary)
                                                                            Highland Capital
                                                    The Dugaboy             Management Real        Highland Capital
                                                     Investment             Estate Holdings I,    Management Real
                                                      Trust (DE)                LLC (NV)          Estate Holdings II,
                                                     (Guarantor)                                       LLC (NV)
                                                                                     25%
                                                                     70%                         5%

                  Highland Capital                                         HCRE Partners, LLC
                  Management, L.P.                                               (DE)
                        (DE)

                                 49%                          51%

                                 SE Multifamily Holdings, LLC
                                            (DE)


                                                       100%


                                         SE River Walk, LLC
                                                (DE)


                                                       100%


                                     Riverview Partners SC, LLC
                                                (DE)




                                   Reserve at River Walk
                                    4501 Bentley Drive
                               Columbia, South Carolina 29210
Case 19-34054-sgj11   Doc 3590-6 Project   Unicorn Entered 10/27/22 17:13:45
                                    Filed 10/27/22                                                    Desc
                            Exhibit
                               Heights at Olde164
                                    6   Page      of 206
                                               Towne


                                                James Dondero
                                                  (Beneficiary)
                                                                         Highland Capital
                                                 The Dugaboy             Management Real        Highland Capital
                                                  Investment             Estate Holdings I,    Management Real
                                                   Trust (DE)                LLC (NV)          Estate Holdings II,
                                                  (Guarantor)                                       LLC (NV)
                                                                                  25%
                                                                  70%                         5%

                  Highland Capital                                      HCRE Partners, LLC
                  Management, L.P.                                            (DE)
                        (DE)

                                 49%                       51%

                                 SE Multifamily Holdings, LLC
                                            (DE)


                                                    100%


                                SE Heights at Olde Towne, LLC
                                             (DE)


                                                    100%


                                  G&E Apartment REIT The
                                 Heights at Olde Towne, LLC
                                             (DE)



                                    Heights at Olde Towne
                          303 Effingham Street and 301 Green Street
                                  Portsmouth, Virginia 23704
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                                    Filed 10/27/22                                                    Desc
                            Exhibit
                               Myrtles at Olde165
                                    6   Page      of 206
                                               Towne


                                                James Dondero
                                                  (Beneficiary)
                                                                         Highland Capital
                                                 The Dugaboy             Management Real        Highland Capital
                                                  Investment             Estate Holdings I,    Management Real
                                                   Trust (DE)                LLC (NV)          Estate Holdings II,
                                                  (Guarantor)                                       LLC (NV)
                                                                                  25%
                                                                  70%                         5%

                  Highland Capital                                      HCRE Partners, LLC
                  Management, L.P.                                            (DE)
                        (DE)

                                 49%                       51%

                                 SE Multifamily Holdings, LLC
                                            (DE)


                                                    100%


                                SE Myrtles at Olde Towne, LLC
                                             (DE)


                                                    100%


                                  G&E Apartment REIT The
                                 Myrtles at Olde Towne, LLC
                                            (DE)



                                   Myrtles at Olde Towne
                                   850 Crawford Parkway
                                 Portsmouth, Virginia 23704
Case 19-34054-sgj11      Doc 3590-6 Project
                                       Filed 10/27/22         Highland Capital
                                              Unicorn Entered 10/27/22   17:13:45      Desc      HCRE Partners, LLC
                               ExhibitGovernors
                                       6 PageGreen
                                                 166 of 206   Management,   LP
                                                                                                       (DE)
                                                                    (DE)
                                                                          49%                        51%

                                                                          SE Multifamily Holdings, LLC
          Liberty CLO Holdco Ltd.
                                                                                     (DE)

                                                                    49%
                               51%


                                                                                100%
                      SE Multifamily REIT Holdings,
                                   LLC
                                  (DE)

                           100%

                        SE Governors Green I, LLC
                                 (DE)                                      SE Governors Green II, LLC
                                                                                     (DE)
                           100%

                        SE Governors Green REIT, L.L.C.
                                    (DE)


                                      57%                   43%

                                     SE Governors Green Holdings,
                                                L.L.C.
                                                (DE)

                                                          100%

                                       SE Governors Green, LLC
                                                (DE)


                                          Governors Green
                                     16501 Governor Bridge Road
                                       Bowie, Maryland 20716
Case 19-34054-sgj11      Doc 3590-6 Project
                                       Filed 10/27/22     Highland Capital
                                              Unicorn Entered      10/27/22Management,
                                                                               17:13:45           Desc              HCRE Partners, LLC
                               Exhibit 6Stoney
                                           Page   167 of 206            LP
                                               Ridge                          (DE)
                                                                                                                          (DE)

                                                                                     49%                          51%

                                                                                     SE Multifamily Holdings, LLC
          Liberty CLO Holdco Ltd.
                                                                                                (DE)

                                                                        49%
                               51%


                                                                                           100%
                      SE Multifamily REIT Holdings,
                                   LLC
                                  (DE)

                           100%

                          SE Stoney Ridge I, LLC
                                  (DE)                                                  SE Stoney Ridge II, LLC
                                                                                                (DE)
                           100%

                          SE Stoney Ridge REIT, L.L.C.
                                     (DE)


                                      57%                   43%


                                     SE Stoney Ridge Holdings, L.L.C.
                                                  (DE)

                                                         100%

                                          SE Stoney Ridge, LLC
                                                  (DE)


                                             Stoney Ridge
                                        14397 Westminster Lane
                                       Woodbridge, Virginia 22193
                                                     Highland Capital
Case 19-34054-sgj11             Project
                               Doc      Unicorn
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                                                                Entered 10/27/22  17:13:45 LLC              Desc
                                     Exhibit 6   PageManagement,
                                                       168   of 206LP             (DE)
                                   Oak Mill                (DE)

                                                                   49%                   51%
                                                                 SE Multifamily Holdings,
                       Liberty CLO Holdco Ltd.                              LLC
                                                                           (DE)
                                       51%                   49%

                                           SE Multifamily REIT
                                              Holdings, LLC
                                                  (DE)

                                      100%                       100%

       SE Oak Mill I, LLC                                                          SE Oak Mill II, LLC
             (DE)                                                                        (DE)

                   100%                                                    100%

     SE Oak Mill I REIT, LLC                                                     SE Oak Mill II REIT, LLC
             (DE)                                                                        (DE)

                  100%                                                     100%

   SE Oak Mill I Holdings, LLC                                              SE Oak Mill II Holdings, LLC
              (DE)                                                                     (DE)

                 100%                                                       100%

       SE Oak Mill I, LLC                                                          SE Oak Mill II, LLC
             (DE)                                                                        (DE)



                                    Parcel 1                          Parcel 2
                                             Oak Mill Apartments
                                            20010 Frederick Road
                                         Germantown, Maryland 20876
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                                    Filed 10/27/22                                                       Desc
                            Exhibit
                                 Battleground169
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                                                   James Dondero
                                                     (Beneficiary)
                                                                            Highland Capital
                                                   The Dugaboy              Management Real        Highland Capital
                                                    Investment              Estate Holdings I,    Management Real
                                                     Trust (DE)                 LLC (NV)          Estate Holdings II,
                                                    (Guarantor)                                        LLC (NV)
                                                                                     25%
                                                                     70%                         5%

                  Highland Capital                                         HCRE Partners, LLC
                  Management, L.P.                                               (DE)
                        (DE)

                                    49%                       51%

                                   SE Multifamily Holdings, LLC
                                              (DE)




                                                       100%


                                     SE Battleground Park, LLC
                                                (DE)

                            100%                                       100%


                                                          Landmark at Battleground Park
               LAT Battleground Park, LLC
                                                                     II, LLC
                          (DE)
                                                                      (DE)


                             Parcel 1                         Parcel 2
                                       Battleground Park
                                   3520 Drawbridge Parkway
                                Greensboro, North Carolina 27410
                                                        Case 19-34054-sgj11                  Doc 3590-6 Project   Unicorn Entered 10/27/22 17:13:45
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                                                                                                   Exhibit 6   Page  170 of
                                                                                                    Lakes at Renaissance    206
                                                                                                                         Park
                                                                                                                        James Dondero
                                                                                                                          (Beneficiary)
                                                                                                                                                 Highland Capital
                                                                                                                        The Dugaboy              Management Real       Highland Capital
                                                                                                                         Investment              Estate Holdings I,   Management Real
                                                                                                                          Trust (DE)                 LLC (NV)         Estate Holdings II,
                                                                                                                         (Guarantor)                                       LLC (NV)
                                                                                                                                                            25%
                                                                                                                                          70%                         5%

                                                                                     Highland Capital                                           HCRE Partners, LLC
                                                                                     Management, L.P.                                                 (DE)
                                                                                           (DE)

                                                                                                     49%                           51%

                                                                                                        SE Multifamily Holdings, LLC
                                                                                                                   (DE)

                                                                                                                         100%

                                                                                100%


                                                                                                        SE Lakes at Renaissance Park
                                                                                                                   LP, LLC
                                              SE Lakes at Renaissance Park GP                                        (DE)
                                                           I, LLC
                                                            (DE)                                         +/- 99% (LP)


                                                                                +/- 0.1% (GP)            Lakes at Renaissance Park
                                                                                                         Apartments Investors, L.P.
                                                                                                                    (DE)
Other than persons or entities specifically identified on this organizational chart, there is no:
(i)   person or entity with a collective equity interest (whether direct or indirect)
of 25% or more in Borrower; or
(ii) person or entity with a collective equity interest (whether direct or indirect)                     Lakes at Renaissance Park
of 10% or more in Borrower, and which is either (a) an individual who is                                  1400 Renaissance Court
not a citizen of the United States, or (b) an entity formed outside the United States.                      Austin, Texas 78728
Updated 09/17/18
                                                        Case 19-34054-sgj11                  Doc 3590-6 Project   Unicorn Entered 10/27/22 17:13:45
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                                                                                                   Exhibit 6Brandywine
                                                                                                               Page 171 of 206



                                                       NexPoint Real Estate                         Advisor
                                                           Advisors, LP
                                                              (DE)
                                                                                                              NexPoint Residential Trust, Inc.                        100%
                                                                                                                                                                                              Public Owners
                                                                     100%                                                 (MD)


                                         NexPoint Residential Trust Operating
                                                                                                                                +/- 99.9% (LP)
                                                 Partnership GP, LLC
                                                        (DE)


                                                                    0.1% (GP)                                   NexPoint Residential Trust                        Other limited
                                                                                                                Operating Partnership, L.P.                    partners owning less
                                                                                                                           (DE)                                      than 1%


                                                                                                                                 100%                                        100%
                                                                     100%

                                                                                                                 NXRT Brandywine LP, LLC
                                                                                                                          (DE)
                              NXRT Brandywine GP I, LLC                                                                                                                                      NXRT Brandywine GP II, LLC
                                        (DE)                                                        +/- 99.5% (LP)                                 +/- 99.5% (LP)                                      (DE)


                                                                   +/- 0.5% (GP)        SOF Brandywine I Owner, L.P.                             SOF Brandywine II Owner, L.P.           +/- 0.5% (GP)
                                                                                                   (DE)                                                     (DE)

Other than persons or entities specifically identified on this organizational chart, there is no:
(i)   person or entity with a collective equity interest (whether direct or indirect)                 Parcel 1                                    Parcel 2
of 25% or more in Borrower; or
(ii) person or entity with a collective equity interest (whether direct or indirect)                                Brandywine
of 10% or more in Borrower, and which is either (a) an individual who is                                  5200 and 5204 Edmondson Pike
not a citizen of the United States, or (b) an entity formed outside the United States.                      Nashville, Tennessee 37211
Updated 09/17/18
                                                        Case 19-34054-sgj11                  Doc 3590-6 Project    Unicorn Entered 10/27/22 17:13:45
                                                                                                            Filed 10/27/22                                                   Desc
                                                                                                   ExhibitGlenview
                                                                                                            6 Page    172 of 206
                                                                                                                    Reserve


                                                                                                                       James Dondero
                                                                                                                         (Beneficiary)
                                                                                                                                                Highland Capital
                                                                                                                        The Dugaboy             Management Real       Highland Capital
                                                                                                                         Investment             Estate Holdings I,   Management Real
                                                                                                                          Trust (DE)                LLC (NV)         Estate Holdings II,
                                                                                                                         (Guarantor)                                      LLC (NV)
                                                                                                                                                           25%
                                                                                                                                         70%                         5%

                                                                                      Highland Capital                                         HCRE Partners, LLC                   James Dondero
                                                                                      Management, L.P.                                                                               (Non-Member
                                                                                                                                                     (DE)
                                                                                            (DE)                                                                                       Manager)


                                                                                                      49%                         51%

                                                                                                         SE Multifamily Holdings, LLC
                                                                                                                    (DE)


                                                                                                                            100%


                                                                                                              SE Glenview, LLC
                                                                                                                    (DE)


                                                                                                                            100%


                                                                                                           LAT Briley Parkway, LLC
                                                                                                                     (DE)

Other than persons or entities specifically identified on this organizational chart, there is no:
(i)   person or entity with a collective equity interest (whether direct or indirect)
of 25% or more in Borrower; or
(ii) person or entity with a collective equity interest (whether direct or indirect)                         Glenview Reserve
of 10% or more in Borrower, and which is either (a) an individual who is                                 100 Arbor Creek Boulevard
not a citizen of the United States, or (b) an entity formed outside the United States.                   Nashville, Tennessee 37217
Updated 09/17/18
                                                                                                          James Dondero
                                                              Case 19-34054-sgj11                   Doc 3590-6
                                                                                                          (Beneficiary)Filed 10/27/22     Entered 10/27/22 17:13:45              Desc
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                                                                                                          The Dugaboy
                                                                                                                              Highland
                                                                                                                                 Management Real            Highland Capital
                                                                                                                                                                                        Project Unicorn
                                                                                                           Investment            Estate Holdings I,
                                                                                                                                     LLC (NV)
                                                                                                                                                           Management Real                Andros Isles
                                                                                                            Trust (DE)                                     Estate Holdings II,
                                                                                                           (Guarantor)                                          LLC (NV)
                                                                                                                                            25%
                                                                                                                          70%                             5%

                                                                      Highland Capital                                          HCRE Partners, LLC
                                                                      Management, L.P.                                                (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                NREA SE1 Andros                NREA SE1 Andros
                Isles Leaseco, LLC            Isles Manager, LLC                             NREA SE MF Holdings, LLC
                        (DE)                         (DE)                                             (DE)
                  Master Tenant                     Manager
                                                                                           100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                   Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                              0%                           100%
                                                                                                             NREA Southeast Portfolio One,
                                                                                                                        DST
                                                                                                                        (DE)
                                                                                                                                 100%
Other than persons or entities specifically identified on this organizational chart, there is no:              NREA SE1 Andros Isles, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                    (DE)
of 25% or more in Borrower; or                                                                                  May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                          DK Gateway Andros, LLC (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                              Andros Isles
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                                    100 Acklins Circle
Updated 09/17/18                                                                                              Daytona Beach, Florida 32119
                                                                                                          James Dondero
                                                              Case 19-34054-sgj11                   Doc 3590-6
                                                                                                          (Beneficiary)Filed 10/27/22     Entered 10/27/22 17:13:45              Desc
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                                                                                                          The Dugaboy
                                                                                                                              Highland
                                                                                                                                 Management Real            Highland Capital
                                                                                                                                                                                        Project Unicorn
                                                                                                           Investment            Estate Holdings I,
                                                                                                                                     LLC (NV)
                                                                                                                                                           Management Real                Arborwalk
                                                                                                            Trust (DE)                                     Estate Holdings II,
                                                                                                           (Guarantor)                                          LLC (NV)
                                                                                                                                            25%
                                                                                                                          70%                             5%

                                                                      Highland Capital                                          HCRE Partners, LLC
                                                                      Management, L.P.                                                (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                   NREA SE1                       NREA SE1
                   Arborwalk                      Arborwalk                                  NREA SE MF Holdings, LLC
                  Leaseco, LLC                   Manager, LLC                                         (DE)
                      (DE)                           (DE)
                 Master Tenant                    Manager                                  100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                   Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                              0%                           100%
                                                                                                             NREA Southeast Portfolio One,
                                                                                                                        DST
                                                                                                                        (DE)
                                                                                                                                100%
Other than persons or entities specifically identified on this organizational chart, there is no:              NREA SE1 Arborwalk, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                    (DE)
of 25% or more in Borrower; or                                                                                  May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                           MAR Arborwalk, LLC (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                               Arborwalk
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                               1318 SW Manor Lake Drive
Updated 09/1718                                                                                               Lee‘s Summit, Missouri 64082
                                                                                                          James Dondero
                                                              Case 19-34054-sgj11                   Doc 3590-6
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                                                                                                          The Dugaboy
                                                                                                                              Highland
                                                                                                                                 Management Real            Highland Capital
                                                                                                                                                                                        Project Unicorn
                                                                                                           Investment            Estate Holdings I,
                                                                                                                                     LLC (NV)
                                                                                                                                                           Management Real               Walker Ranch
                                                                                                            Trust (DE)                                     Estate Holdings II,
                                                                                                           (Guarantor)                                          LLC (NV)
                                                                                                                                            25%
                                                                                                                          70%                             5%

                                                                      Highland Capital                                          HCRE Partners, LLC
                                                                      Management, L.P.                                                (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

               NREA SE1 Walker                NREA SE1 Walker                              100%
                Ranch Leaseco,                Ranch Manager,                                 NREA SE MF Holdings, LLC
                      LLC                           LLC                                               (DE)
                     (DE)                          (DE)
                Master Tenant                    Manager                                   100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                   Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                              0%                           100%
                                                                                                             NREA Southeast Portfolio One,
                                                                                                                        DST
                                                                                                                        (DE)
                                                                                                                               100%
Other than persons or entities specifically identified on this organizational chart, there is no:            NREA SE1 Walker Ranch, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                    (DE)
of 25% or more in Borrower; or                                                                                  May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                       SOF Walker Ranch Owner, L.P. (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                            Walker Ranch
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                                  14500 Blanco Road
Updated 09/17/18                                                                                               San Antonio, Texas 78216
                                                                                                          James Dondero
                                                              Case 19-34054-sgj11                   Doc 3590-6
                                                                                                          (Beneficiary)Filed 10/27/22     Entered 10/27/22 17:13:45               Desc
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                                                                                                           The Dugaboy
                                                                                                                              Highland
                                                                                                                                 Management Real             Highland Capital
                                                                                                                                                                                         Project Unicorn
                                                                                                            Investment           Estate Holdings I,
                                                                                                                                     LLC (NV)
                                                                                                                                                            Management Real              Towne Crossing
                                                                                                             Trust (DE)                                     Estate Holdings II,
                                                                                                            (Guarantor)                                          LLC (NV)
                                                                                                                                            25%
                                                                                                                          70%                              5%

                                                                      Highland Capital                                          HCRE Partners, LLC
                                                                      Management, L.P.                                                (DE)
                                                                            (DE)

                                                                                           49%                       51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                NREA SE1 Towne                 NREA SE1 Towne
                Crossing Leaseco,             Crossing Manager,                              NREA SE MF Holdings, LLC
                        LLC                           LLC                                             (DE)
                       (DE)                          (DE)
                 Master Tenant                    Manager                                  100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                     Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                              0%                           100%
                                                                                                             NREA Southeast Portfolio One,
                                                                                                                        DST
                                                                                                                        (DE)
                                                                                                                                100%
Other than persons or entities specifically identified on this organizational chart, there is no:            NREA SE1 Towne Crossing, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                     (DE)
of 25% or more in Borrower; or                                                                                   May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                     Apartment REIT Towne Crossing, L.P.(DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                            Towne Crossing
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                              1601 Town Crossing Boulevard
Updated 09/17/18                                                                                                 Mansfield, Texas 76063
                                                                                                          James Dondero
                                                              Case 19-34054-sgj11                   Doc 3590-6
                                                                                                          (Beneficiary)Filed 10/27/22     Entered 10/27/22 17:13:45               Desc
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                                                                                                          The Dugaboy
                                                                                                                              Highland
                                                                                                                                 Management Real             Highland Capital
                                                                                                                                                                                         Project Unicorn
                                                                                                           Investment            Estate Holdings I,
                                                                                                                                     LLC (NV)
                                                                                                                                                            Management Real                West Place
                                                                                                            Trust (DE)                                      Estate Holdings II,
                                                                                                           (Guarantor)                                           LLC (NV)
                                                                                                                                            25%
                                                                                                                          70%                              5%

                                                                      Highland Capital                                          HCRE Partners, LLC
                                                                      Management, L.P.                                                (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                                                NREA SE2 West
                NREA SE2 West                                                                NREA SE MF Holdings, LLC
                                                Place Manager,
               Place Leaseco, LLC                                                                     (DE)
                                                       LLC
                      (DE)
                                                      (DE)
                 Master Tenant                                                             100%
                                                   Manager
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                  Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                              0%                           100%
                                                                                                             NREA Southeast Portfolio Two,
                                                                                                                        DST
                                                                                                                        (DE)
                                                                                                                               100%
Other than persons or entities specifically identified on this organizational chart, there is no:              NREA SE2 West Place, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                    (DE)
of 25% or more in Borrower; or                                                                                  May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                        Landmark at West Place, LLC (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                              West Place
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                              753 Sherwood Terrace Drive
Updated 09/17/18                                                                                                Orlando, Florida 32818
                                                                                                          James Dondero
                                                              Case 19-34054-sgj11                   Doc 3590-6
                                                                                                          (Beneficiary)Filed 10/27/22     Entered 10/27/22 17:13:45               Desc
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                                                                                                          The Dugaboy
                                                                                                                              Highland
                                                                                                                                 Management Real             Highland Capital
                                                                                                                                                                                         Project Unicorn
                                                                                                           Investment            Estate Holdings I,
                                                                                                                                     LLC (NV)
                                                                                                                                                            Management Real                Vista Ridge
                                                                                                            Trust (DE)                                      Estate Holdings II,
                                                                                                           (Guarantor)                                           LLC (NV)
                                                                                                                                            25%
                                                                                                                          70%                              5%

                                                                      Highland Capital                                          HCRE Partners, LLC
                                                                      Management, L.P.                                                (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                                              NREA SE2 Vista
                NREA SE2 Vista
                                              Ridge Manager,                                 NREA SE MF Holdings, LLC
              Ridge Leaseco, LLC
                                                    LLC                                               (DE)
                     (DE)
                                                   (DE)
                Master Tenant
                                                 Manager                                   100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                     Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                              0%                           100%
                                                                                                             NREA Southeast Portfolio Two,
                                                                                                                        DST
                                                                                                                        (DE)
                                                                                                                                 100%
Other than persons or entities specifically identified on this organizational chart, there is no:               NREA SE2 Vista Ridge, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                      (DE)
of 25% or more in Borrower; or                                                                                   May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                            MAR Vista Ridge, L.P. (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                               Vista Ridge
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                                160 Vista Ridge Mall Drive
Updated 09/17/18                                                                                                 Lewisville, Texas 75067
                                                                                                          James Dondero
                                                              Case 19-34054-sgj11                   Doc 3590-6
                                                                                                          (Beneficiary)Filed 10/27/22     Entered 10/27/22 17:13:45              Desc
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                                                                                                          The Dugaboy
                                                                                                                              Highland
                                                                                                                                 Management Real            Highland Capital
                                                                                                                                                                                        Project Unicorn
                                                                                                           Investment            Estate Holdings I,
                                                                                                                                     LLC (NV)
                                                                                                                                                           Management Real               Hidden Lake
                                                                                                            Trust (DE)                                     Estate Holdings II,
                                                                                                           (Guarantor)                                          LLC (NV)
                                                                                                                                            25%
                                                                                                                          70%                             5%

                                                                      Highland Capital                                          HCRE Partners, LLC
                                                                      Management, L.P.                                                (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                NREA SE2 Hidden                NREA SE2 Hidden
                Lake Leaseco, LLC             Lake Manager, LLC                              NREA SE MF Holdings, LLC
                      (DE)                           (DE)                                             (DE)
                 Master Tenant                     Manager
                                                                                           100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                   Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                              0%                           100%
                                                                                                             NREA Southeast Portfolio Two,
                                                                                                                        DST
                                                                                                                        (DE)
                                                                                                                               100%
Other than persons or entities specifically identified on this organizational chart, there is no:             NREA SE2 Hidden Lake, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                    (DE)
of 25% or more in Borrower; or                                                                                  May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                      SOF Hidden Lake SA Owner, L.P. (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                             Hidden Lake
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                                 8910 North Loop 1604
Updated 09/17/18                                                                                            West San Antonio, Texas 78249
                                                                                                          James Dondero
                                                              Case 19-34054-sgj11                   Doc 3590-6
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                                                                                                          The Dugaboy
                                                                                                                              Highland
                                                                                                                                 Management Real            Highland Capital
                                                                                                                                                                                                 Project Unicorn
                                                                                                           Investment            Estate Holdings I,
                                                                                                                                     LLC (NV)
                                                                                                                                                           Management Real                          Arboleda
                                                                                                            Trust (DE)                                     Estate Holdings II,
                                                                                                           (Guarantor)                                          LLC (NV)
                                                                                                                                            25%
                                                                                                                          70%                             5%

                                                                      Highland Capital                                                                                           James Dondero
                                                                                                                                HCRE Partners, LLC                                (Non-Member
                                                                      Management, L.P.                                                (DE)                                          Manager)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                  NREA SE3                        NREA SE3
              Arboleda Leaseco,                   Arboleda                                   NREA SE MF Holdings, LLC
                     LLC                         Manager, LLC                                         (DE)
                    (DE)                            (DE)
               Master Tenant                      Manager                                  100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                    Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                              0%                           100%
                                                                                                                NREA Southeast Portfolio
                                                                                                                      Three, DST
                                                                                                                         (DE)
                                                                                                                               100%
Other than persons or entities specifically identified on this organizational chart, there is no:              NREA SE3 Arboleda, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                   (DE)
of 25% or more in Borrower; or                                                                                 May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                     G&E Apartment REIT Arboleda, LLC (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                              Arboleda
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                               900 Discovery Boulevard
Updated 9/17/18                                                                                                Cedar Park, Texas 78613
                                                                                                          James Dondero
                                                              Case 19-34054-sgj11                   Doc 3590-6
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                                                                                                          The Dugaboy
                                                                                                                              Highland
                                                                                                                                 Management Real             Highland Capital
                                                                                                                                                                                         Project Unicorn
                                                                                                           Investment            Estate Holdings I,
                                                                                                                                     LLC (NV)
                                                                                                                                                            Management Real                 Fairways
                                                                                                            Trust (DE)                                      Estate Holdings II,
                                                                                                           (Guarantor)                                           LLC (NV)
                                                                                                                                            25%
                                                                                                                          70%                              5%

                                                                      Highland Capital                                          HCRE Partners, LLC
                                                                      Management, L.P.                                                (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                 NREA SE3                       NREA SE3                                   100%
             Fairways Leaseco,                  Fairways
                                                                                             NREA SE MF Holdings, LLC
                    LLC                        Manager, LLC
                                                                                                      (DE)
                   (DE)                           (DE)
              Master Tenant                     Manager                                    100%
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                    Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                              0%                           100%
                                                                                                                NREA Southeast Portfolio
                                                                                                                      Three, DST
                                                                                                                         (DE)
                                                                                                                                 100%
Other than persons or entities specifically identified on this organizational chart, there is no:               NREA SE3 Fairways, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                      (DE)
of 25% or more in Borrower; or                                                                                  May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                            MAR Fairways, LLC (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                                 Fairways
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                                16501 Stonemason Drive
Updated 09/17/18                                                                                            Huntersville, North Carolina 28078
                                                                                                          James Dondero
                                                              Case 19-34054-sgj11                   Doc 3590-6
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                                                                                                          The Dugaboy
                                                                                                                              Highland
                                                                                                                                 Management Real            Highland Capital
                                                                                                                                                                                        Project Unicorn
                                                                                                           Investment            Estate Holdings I,
                                                                                                                                     LLC (NV)
                                                                                                                                                           Management Real                Grand Oasis
                                                                                                            Trust (DE)                                     Estate Holdings II,
                                                                                                           (Guarantor)                                          LLC (NV)
                                                                                                                                            25%
                                                                                                                          70%                             5%

                                                                      Highland Capital                                          HCRE Partners, LLC
                                                                      Management, L.P.                                                (DE)
                                                                            (DE)

                                                                                           49%                      51%

                                                                                           SE Multifamily Holdings, LLC
                                                                                                      (DE)

                                                                                           100%

                                                                                             NREA SE Multifamily, LLC
                                                                                                      (DE)

                                                                                           100%
                                               NREA SE3 Grand
               NREA SE3 Grand                                                                NREA SE MF Holdings, LLC
                                               Oasis Manager,
              Oasis Leaseco, LLC                                                                      (DE)
                                                      LLC
                     (DE)
                                                     (DE)
                Master Tenant                                                              100%
                                                  Manager
                                                                                         NREA SE MF Investment Co, LLC
                                                                                                      (DE)                                   Class 1 Investors
                                                                                            Class 2 Interest Holder
                                                                                                              0%                           100%
                                                                                                                NREA Southeast Portfolio
                                                                                                                      Three, DST
                                                                                                                         (DE)
                                                                                                                              100%
Other than persons or entities specifically identified on this organizational chart, there is no:             NREA SE3 Grand Oasis, DST
(i)   person or entity with a collective equity interest (whether direct or indirect)                                    (DE)
of 25% or more in Borrower; or                                                                                 May be converted from
(ii) person or entity with a collective equity interest (whether direct or indirect)                       Landmark at Grand Oasis, L.P. (DE)
of 10% or more in Borrower, and which is either (a) an individual who is                                             Grand Oasis
not a citizen of the United States, or (b) an entity formed outside the United States.
                                                                                                               400 McGinnis Ferry Road
Updated 09/17/18                                                                                               Suwanee, Georgia 30024
                                          Case 19-34054-sgj11                         Doc 3590-6 Filed 10/27/22 Entered 10/27/22 17:13:45                         Desc
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                                                                                                         Project Unicorn
                                                                                                    Summers Landing Apartments
                                                                                                          (AT CLOSING)




                                                                                                            Harry Bookey
                                                                                                                         85%
                                                                                                                       Managing
                                                                                                                       Member

                                                                                                           BH EQUITIES, L.L.C.          Other individuals owning 15% in the
                                                                                                                 (IA)               aggregate and not more than 5% individually

                                                                                                                       100%

                                                                                                            BHSL Holdings, LLC
                                                                                                                  (IA)

                                                                                         100%                          100%

                                                        BH Summers Landing GP, LLC                       BH Summers Landing, LLC
                                                                  (DE)                                           (IA)

                                                                                                                       Sole LP

                                                                             Sole GP                   Summers Landing Apartments
                                                                                                             Investors, L.P.
                                                                                                                  (DE)
Other than persons or entities specifically identified on this organizational chart, there is no:
(i)   person or entity with a collective equity interest (whether direct or indirect)
of 25% or more in Borrower; or
(ii) person or entity with a collective equity interest (whether direct or indirect)                   Summers Landing Apartments
of 10% or more in Borrower, and which is either (a) an individual who is
not a citizen of the United States, or (b) an entity formed outside the United States.

Updated 9/21/18
Case 19-34054-sgj11       Doc 3590-6 Filed 10/27/22 Entered 10/27/22 17:13:45   Desc
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                                       SCHEDULE 5.12
                                   PLEDGED NXRT SHARES


1,300,000 common shares of NexPoint Residential Trust, Inc. (NXRT)




                                          Schedule 5.12
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                                 SCHEDULE 6.09
                            EXISTING INDEBTEDNESS


                            [BORROWER TO UPDATE]




                                   Schedule 6.09
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                                 SCHEDULE 6.10
                                JUNIOR CLAIMS


                            [BORROWER TO UPDATE]




                                   Schedule 6.10
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                                  BRIDGE LOAN AGREEMENT

                                            EXHIBIT A

                                ASSIGNMENT AND ASSUMPTION

        This Assignment and Assumption (the “Assignment and Assumption”) is dated as of the
Effective Date set forth below and is entered into by and between [Insert name of Assignor] (the
“Assignor”) and [Insert name of Assignee] (the “Assignee”). Capitalized terms used but not
defined herein shall have the meanings given to them in the Bridge Loan Agreement identified
below (as amended, the “Credit Agreement”), receipt of a copy of which is hereby
acknowledged by the Assignee. The Standard Terms and Conditions set forth in Annex 1
attached hereto are hereby agreed to and incorporated herein by reference and made a part of this
Assignment and Assumption as if set forth herein in full.

         For an agreed consideration, the Assignor hereby irrevocably sells and assigns to the
Assignee, and the Assignee hereby irrevocably purchases and assumes from the Assignor,
subject to and in accordance with the Standard Terms and Conditions and the Credit Agreement,
as of the Effective Date inserted by the Administrative Agent as contemplated below (i) all of the
Assignor’s rights and obligations in its capacity as a Lender under the Credit Agreement and any
other documents or instruments delivered pursuant thereto to the extent related to the amount and
percentage interest identified below of all its Commitment and outstanding Loans and a
corresponding interest in and to all other rights and obligations of the Assignor under the
respective facilities identified below (including any guarantees included in such facilities) and
(ii) to the extent permitted to be assigned under applicable law, all claims, suits, causes of action
and any other right of the Assignor (in its capacity as a Lender) against any Person, whether
known or unknown, arising under or in connection with the Credit Agreement, any other
documents or instruments delivered pursuant thereto or the loan transactions governed thereby or
in any way based on or related to any of the foregoing, including contract claims, tort claims,
malpractice claims, statutory claims and all other claims at law or in equity related to the rights
and obligations sold and assigned pursuant to clause (i) above (the rights and obligations sold
and assigned pursuant to clauses (i) and (ii) above being referred to herein collectively as the
“Assigned Interest”). Such sale and assignment is without recourse to the Assignor and, except
as expressly provided in this Assignment and Assumption, without representation or warranty by
the Assignor.

        Assignee, subject to the terms and conditions hereof, hereby assumes all obligations of
Assignor with respect to the Assigned Interests from and after the Effective Date as if Assignee
were an original Lender under and signatory to the Credit Agreement, which obligations shall
include, but shall not be limited to, the obligation to make Loans to the Borrowers with respect
to the Assigned Interest and to indemnify the Administrative Agent as provided therein (such
obligations, together with all other obligations set forth in the Credit Agreement and the other
Loan Documents are hereinafter collectively referred to as the “Assigned Obligations”).
Assignor shall have no further duties or obligations with respect to, and shall have no further
interest in, the Assigned Obligations or the Assigned Interests.




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1.      Assignor:                    ______________________________

2.      Assignee:                    ______________________________
                                     [and is an Affiliate/Approved Fund of [identify Lender]1]

3.      Borrower:                    [___]

4.      Administrative Agent:        KeyBank, National Association, as the administrative agent under
                                     the Credit Agreement

5.      Credit Agreement:            The Bridge Loan Agreement dated as of September 25, 2018, among
                                     the Borrower, the Lenders parties thereto, and KeyBank, National
                                     Association, as Administrative Agent

6.      Assigned Interest:

          Aggregate Amount of                                      Percentage
          Tranche A Loan for all      Amount of Tranche        Assigned of Tranche
                Lenders                A Loan Assigned              A Loans2
                  $_____                     $_____                  _____%
                    $_____                   $_____                  _____%
                    $_____                   $_____                  _____%



          Aggregate Amount of                                      Percentage
          Tranche B Loan for all     Amount of Tranche B      Assigned of Tranche B
                Lenders                Loan Assigned                 Loans3
                  $_____                     $_____                  _____%
                    $_____                   $_____                  _____%
                    $_____                   $_____                  _____%

In consideration of the assignment made pursuant to this Assignment and Assumption, Assignee agrees to
pay to Assignor on the Effective Date, an amount equal to the “Amount of Outstanding Loans Assigned”
set forth in the table above.

Effective Date:                      ______________________, 20____ [TO BE INSERTED BY
                                     ADMINISTRATIVE AGENT AND WHICH SHALL BE THE
                                     EFFECTIVE DATE OF RECORDATION OF TRANSFER IN THE
                                     REGISTER THEREFOR.]

The terms set forth in this Assignment and Assumption are hereby agreed to:


1
  Select as applicable.
2
  Set forth, to at least 9 decimals, as a percentage of the Tranche A Loans of all Lenders thereunder.
3
  Set forth, to at least 9 decimals, as a percentage of the Tranche B Loans of all Lenders thereunder.


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                                                ASSIGNOR

                                                [NAME OF ASSIGNOR]


                                                By:
                                                 Title:

                                                ASSIGNEE

                                                [NAME OF ASSIGNEE]


                                                By:
                                                 Title:

[Consented to and]4 Accepted:

[KeyBank, National Association], as
 Administrative Agent


By:
 Title:


[Consented to:]5

[NAME OF LEAD BORROWER]


By:
 Title:




4
  To be added only if the consent of the Administrative Agent is required by the terms of the Credit
Agreement.
5
  To be added only if the consent of the Borrower and/or other parties is required by the terms of the
Credit Agreement.


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                                                                                         ANNEX 1

                          STANDARD TERMS AND CONDITIONS FOR
                              ASSIGNMENT AND ASSUMPTION

       1. Representations and Warranties.

               1.1 Assignor. The Assignor (a) represents and warrants that (i) it is the legal and
beneficial owner of the Assigned Interest, (ii) the Assigned Interest is free and clear of any lien,
encumbrance or other adverse claim and (iii) it has full power and authority, and has taken all
action necessary, to execute and deliver this Assignment and Assumption and to consummate the
transactions contemplated hereby; and (b) assumes no responsibility with respect to (i) any
statements, warranties or representations made in or in connection with the Credit Agreement or
any other Loan Document, (ii) the execution, legality, validity, enforceability, genuineness,
sufficiency or value of the Loan Documents or any collateral thereunder, (iii) the financial
condition of the Borrower, any of its Subsidiaries or Affiliates or any other Person obligated in
respect of any Loan Document or (iv) the performance or observance by the Borrower, any of its
Subsidiaries or Affiliates or any other Person of any of their respective obligations under any
Loan Document.

                1.2. Assignee. The Assignee (a) represents and warrants that (i) it has full power
and authority, and has taken all action necessary, to execute and deliver this Assignment and
Assumption and to consummate the transactions contemplated hereby and to become a Lender
under the Credit Agreement, (ii) it satisfies the requirements, if any, specified in the Credit
Agreement that are required to be satisfied by it in order to acquire the Assigned Interest and
become a Lender, (iii) from and after the Effective Date, it shall be bound by the provisions of
the Credit Agreement as a Lender thereunder and, to the extent of the Assigned Interest, shall
have the obligations of a Lender thereunder, (iv) it has received a copy of the Credit Agreement,
together with copies of the most recent financial statements delivered pursuant to Section 5.01
thereof, as applicable, and such other documents and information as it has deemed appropriate to
make its own credit analysis and decision to enter into this Assignment and Assumption and to
purchase the Assigned Interest on the basis of which it has made such analysis and decision
independently and without reliance on the Administrative Agent or any other Lender, and (v) if it
is a Foreign Lender, attached to the Assignment and Assumption is any documentation required
to be delivered by it pursuant to the terms of the Credit Agreement, duly completed and executed
by the Assignee; (b) appoints and authorizes the Administrative Agent to take such action as
agent on its behalf and to exercise such powers as are reasonably incidental thereto pursuant to
the terms of the Loan Documents; and (c) agrees that (i) it will, independently and without
reliance on the Administrative Agent, the Assignor or any other Lender, and based on such
documents and information as it shall deem appropriate at the time, continue to make its own
credit decisions in taking or not taking action under the Loan Documents, and (ii) it will perform
in accordance with their terms all of the obligations which by the terms of the Loan Documents
are required to be performed by it as a Lender.

       2. Payments. From and after the Effective Date, the Administrative Agent shall make
all payments in respect of the Assigned Interest (including payments of principal, interest, fees
and other amounts) to the Assignor for amounts which have accrued to but excluding the


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Effective Date and to the Assignee for amounts which have accrued from and after the Effective
Date. All payments to Assignee under the Credit Agreement shall be made as provided in the
Credit Agreement in accordance with the separate instructions delivered to Administrative
Agent.

        3. General Provisions. This Assignment and Assumption shall be binding upon, and
inure to the benefit of, the parties hereto and their respective successors and assigns. This
Assignment and Assumption may be executed in any number of counterparts, which together
shall constitute one instrument. Delivery of an executed counterpart of a signature page of this
Assignment and Assumption by telecopy shall be effective as delivery of a manually executed
counterpart of this Assignment and Assumption. This Assignment and Assumption shall be
governed by, and construed in accordance with, the law of the State of New York.




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                                      BRIDGE LOAN AGREEMENT

                                                  EXHIBIT B

                                 FORM OF COMPLIANCE CERTIFICATE


Key Bank, National
Association
as Administrative Agent
225 Franklin Street
Boston, MA 02110

Attn: Mr. Christopher Neil

               RE HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE
               DUGABOY INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P.,
               NEXPOINT REAL ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER
               BORROWERS Compliance Certificate
                  for _________________________ through __________________________


              Dear Ladies and Gentlemen:
                      This Compliance Certificate is made with reference to that certain Bridge Loan
               Agreement dated as of September 25, 2018 (as amended, supplemented or otherwise
               modified from time to time, the “Credit Agreement”), among HIGHLAND CAPITAL
               MANAGEMENT, LP, HCRE PARTNERS, LLC, THE DUGABOY INVESTMENT
               TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P., NEXPOINT REAL ESTATE
               ADVISORS IV, L.P., AND THE PROPERTY OWNER BORROWERS (collectively, the
               “Borrower”), the financial institutions party thereto, as lenders, and KeyBank, National
               Association, as Administrative Agent. All capitalized terms used in this Compliance
               Certificate (including any attachments hereto) and not otherwise defined in this Compliance
               Certificate shall have the meanings set forth for such terms in the Credit Agreement. All
               Section references herein shall refer to the Credit Agreement.

                     I hereby certify that I am the [____________] of [LEAD BORROWER], and that I
               make this Certificate on behalf of the Borrower. I further represent and certify on behalf of
               the Borrower as follows as of the date of this Compliance Certificate:


                 I have reviewed the terms of the Loan Documents and have made, or have caused to be
                 made under my supervision, a review in reasonable detail of the transactions and
                 consolidated and consolidating financial condition of the Borrower and its Subsidiaries,
                 during the accounting period (the “Reporting Period”) covered by the financial reports
                 delivered simultaneous herewith pursuant to Section 5.01[(a)][(b)], and that such review
                 has not disclosed the existence during or at the end of such Reporting Period (and that I do
                 not have knowledge of the existence as at the date hereof) of any condition or event which
                 constitutes a Default or Event of Default.




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     (a) Total Leverage Ratio
              1.      Indebtedness of Borrower and its Subsidiaries         $_____________
              2.      Total Asset Value:
                      (A)     Value of all real property
                      (B)     other assets
                                       TOTAL                                $_____________
              3.      Ratio: 1 divided by 2 __________
              4.      Required Ratio: not greater than 65%

     (b) Fixed Charge Coverage Ratio
             1.      Adjusted EBITDA $_______________
             2.      Fixed Charges:
                     (A)     Current Principal
                     (B)     Interest Expense
                     (C)     Cash Dividends on Preferred Stock
                                       TOTAL                                $____________
             3.      Ratio: 1 divided by 2 __________
             4.      Required Ratio: not less than 1.6 to 1.0

     (c) Tangible Net Worth $_________________
             1.       Actual ________________
             2.       Required $750,000,000

     (d) Minimum Liquidity $______________
               1.       Cash and Cash Equivalents (excluding reserve amounts) $__________
               2.       market value of shares in NXRT and units in the OP        $__________
               3.       market value of all other unencumbered securities         $__________
               4.       market value of all other encumbered securities (net of any outstanding
                         debt related thereto)                                     $__________
               5.       Required Amount: $75,000,000 (or if Loans are less than $150,000,000,
     lesser of (i) $75,000,000 and (ii) 25% of outstanding Loan balance):         $__________

     (e) Recourse Debt                                                       $__________
     Currently Defaulted Other Debt:
     (i) Aggregate Defaulted Recourse Debt of the Borrower $_________________
     (ii) Aggregate Defaulted Recourse Debt of Borrower $_________________
     (iii) Aggregate Defaulted Non-recourse Debt of the Subsidiaries of Borrower or Borrower
     (of $75,000,000 or greater in the aggregate) $_________________


                This Compliance Certificate has been executed and delivered as of the date set
                forth above.
                                          [Signature Page Follows]




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                                 LEAD BORROWER:

                                 [__]


                                 By:_____________________________
                                 Name:
                                 Title:




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                           BRIDGE LOAN AGREEMENT

                                   EXHIBIT C

                           [INTENTIONALLY OMITTED]




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                                 BRIDGE LOAN AGREEMENT

                                           EXHIBIT D


                                        FORM OF NOTE


$_________________                                                              __________, 2016


       FOR VALUE RECEIVED, [___] (the “Maker”) jointly and severally promise to pay
without offset or counterclaim to the order of [insert name of Lender], (“Payee”), the principal
amount equal to the lesser of (x) __________________________ ($_____________) or (y) the
outstanding amount advanced by Payee as a Loan under the Credit Agreement (as hereinafter
defined), payable in accordance with the terms of the Credit Agreement.

        Maker also promises to pay interest on the unpaid principal amount of this Note (this
“Note”) at the rates and at the times which shall be determined in accordance with the provisions
of that certain Bridge Loan Agreement dated of September 25, 2018, among Maker, the Lenders
named therein, and KeyBank, National Association, as Administrative Agent for itself and the
Lenders (as hereafter amended, supplemented or otherwise modified from time to time, the
“Credit Agreement”). Capitalized terms used herein without definition shall have the meanings
set forth in the Credit Agreement.

       The Loans are not revolving loans. Amounts paid and prepaid may not be reborrowed.

       Payments hereunder shall be made to the Administrative Agent for the Payee at 127
Public Square, Cleveland, Ohio 44114-1306, or at such other address as Administrative Agent
may designate from time to time, or made by wire transfer in accordance with wiring instructions
provided by the Administrative Agent.

       This Note is subject to (a) mandatory prepayment and (b) prepayment at the option of the
Maker, as provided in the Credit Agreement.

       This Note is issued pursuant to the Credit Agreement and is entitled to the benefits of the
Credit Agreement, reference to which is hereby made for a more complete statement of the terms
and conditions under which the Loan evidenced hereby is made and is to be repaid.

      THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK. MAKER AGREES THAT
JURISDICTION AND VENUE FOR ANY ACTION REGARDING THIS NOTE SHALL BE
AS SET FORTH IN THE CREDIT AGREEMENT.

        Upon the occurrence of an Event of Default, the unpaid balance of the principal amount
of this Note may become, or may be declared to be, due and payable in the manner, upon the
conditions and with the effect provided in the Credit Agreement.



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        Maker promises to pay all reasonable fees, costs and expenses incurred in the collection
and enforcement of this Note in accordance with the terms of the Credit Agreement. Maker and
any endorser of this Note hereby consents to renewals and extensions of time at or after the
maturity hereof, without notice, and hereby waive diligence, presentment, protest, demand and
notice of every kind (except such notices as may be expressly required under the Credit
Agreement or the other Loan Documents) and, to the full extent permitted by law, the right to
plead any statute of limitations as a defense to any demand hereunder.

        Whenever possible, each provision of this Note shall be interpreted in such manner as to
be effective and valid under applicable law, but if any provision of this Note shall be prohibited
by or invalid under applicable law, such provision shall be ineffective to the extent of such
prohibition or invalidity, without invalidating the remainder of such provision or the remaining
provisions of this Note.

        IN WITNESS WHEREOF, Maker has caused this Note to be executed and delivered by
its duly authorized officer, as of the day and year first written above.

                                            BORROWERS:

                                            HCRE PARTNERS, LLC,
                                            a Delaware limited liability company


                                            By:    _________________________
                                            Name:
                                            Title:

                                            THE DUGABOY INVESTMENT TRUST,
                                            under trust agreement dated November 15, 2010


                                            By:_________________________
                                            Nancy Dondero, Family Trustee


                                            HIGHLAND CAPITAL MANAGEMENT, LP, a
                                            Delaware limited partnership


                                            By:         [___], its general partner

                                                        By:    _________________________
                                                        Name:
                                                        Title:

                                            THE SLHC TRUST,
                                            under trust agreement dated [___]

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                                   By:_________________________
                                   Name:
                                   Title:


                                   NEXPOINT ADVISORS, L.P., a Delaware limited
                                   partnership


                                   By:         [___], its general partner

                                               By:    _________________________
                                               Name:
                                               Title:

                                   NEXPOINT REAL ESTATE ADVISORS IV, L.P.,
                                   a Delaware limited partnership


                                   By:         [___], its general partner

                                               By:    _________________________
                                               Name:
                                               Title:

                                   [PROPERTY OWNER BORROWERS]




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                                  BRIDGE LOAN AGREEMENT

                                           EXHIBIT E

                              [FORM OF] BORROWING REQUEST

                                              [Date]

KeyBank, National Association
as Administrative Agent
225 Franklin Street, 16th floor
Boston, Massachusetts 02110

Attn: Mr. Christopher Neil

Re:  HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE
DUGABOY INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P.,
NEXPOINT REAL ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER
BORROWERS

Dear Ladies and Gentlemen:

        This Interest Election Request is made with reference to that certain Bridge Loan
Agreement dated as of September 25, 2018 (as amended, supplemented or otherwise modified
from time to time, the “Credit Agreement”), among HIGHLAND CAPITAL MANAGEMENT,
LP, HCRE PARTNERS, LLC, THE DUGABOY INVESTMENT TRUST, THE SLHC TRUST,
NEXPOINT ADVISORS, L.P., NEXPOINT REAL ESTATE ADVISORS IV, L.P., AND THE
PROPERTY OWNER BORROWERS (collectively, the “Borrower”), the financial institutions
party thereto, as lenders, and KeyBank, National Association, as Administrative Agent. All
capitalized terms used in this Interest Election Request (including any attachments hereto) and
not otherwise defined in this Interest Election Request shall have the meanings set forth for such
terms in the Credit Agreement. All Section references herein shall refer to the Credit
Agreement.

       The undersigned Lead Borrower hereby requests [check as applicable]

       □ a conversion of an existing Loan as provided below and/or

       □ a Borrowing under the Credit Agreement in the amount of $____________ [minimum
of $1,000,000.00 and in multiples of $100,000.00].

       The advance or conversion is to be made as follows:

       A.      ABR Loan.

               1.     Amount of ABR Loan:                                         $_____________

               2.     Amount of conversion of existing


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                       Loan to ABR Loan                                              $_____________

               3.      Date of ABR Loan conversion:                                    _____________

       B.      Eurodollar Loan:

               1.      Amount of Eurodollar Loan:                                    $_____________

               2.      Amount of conversion of existing
                       Loan to Eurodollar Loan:                                      $_____________

               3.      Number of Eurodollar
                       Loans(s) now in effect:                                         _____________
                       [cannot exceed six (6)]

               4.      Date of Eurodollar Loan conversion:                             _____________

               5.      Interest Period:                                                _____________

               6.      Expiration date of current Interest
                       Period as to this conversion:                                   _____________

       C.      Daily LIBOR Loan.

               1.      Amount of Daily LIBOR Loan:                                   $_____________

               2.      Amount of conversion of existing
                       Loan to Daily LIBOR Loan                                      $_____________

               3.      Date of Daily LIBOR Loan conversion:                          $_____________


       The Borrower hereby represents and warrants that the amounts set forth above are true
and correct, that the representations and warranties contained in the Credit Agreement are true
and correct as if made as of this date (except to the extent relating to a specific date), and that the
Borrower has kept, observed, performed and fulfilled each and every one of its obligations under
the Credit Agreement as of the date hereof [except as follows: _______________]


                                           Very truly yours,


                                           [LEAD BORROWER]


                                           By:_____________________________
                                           Name:
                                           Title:




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                                           EXHIBIT F-1


                     [FORM OF] U.S. TAX COMPLIANCE CERTIFICATE

      (For Foreign Lenders That Are Not Partnerships For U.S. Federal Income Tax Purposes)


        Reference is hereby made to the Bridge Loan Agreement dated as of September 25, 2018
(as amended, restated, supplemented or otherwise modified from time to time, the “Credit
Agreement, among HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC,
THE DUGABOY INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS,
L.P., NEXPOINT REAL ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER
BORROWERS (collectively, the “Borrower”), the financial institutions party thereto, as lenders,
and KeyBank National Association, as administrative agent for the lenders, and each lender from
time to time party thereto.

        Pursuant to the provisions of Section 2.17 of the Credit Agreement, the undersigned
hereby certifies that (i) it is the sole record and beneficial owner of the Loan(s) (as well as any
Note(s) evidencing such Loan(s)) in respect of which it is providing this certificate, (ii) it is not a
bank within the meaning of Section 881(c)(3)(A) of the Code, (iii) it is not a ten percent
shareholder of Borrower within the meaning of Section 871(h)(3)(B) of the Code and (iv) it is
not a controlled foreign corporation related to the Borrower as described in Section 881(c)(3)(C)
of the Code.

        The undersigned has furnished the Administrative Agent and the Borrower with a
certificate of its non-U.S. Person status on IRS Form W-8BEN or W-8BEN-E (or successor
form). By executing this certificate, the undersigned agrees that (1) if the information provided
on this certificate changes, the undersigned shall promptly so inform the Borrower and the
Administrative Agent, and (2) the undersigned shall have at all times furnished the Borrower and
the Administrative Agent with a properly completed and currently effective certificate in either
the calendar year in which each payment is to be made to the undersigned, or in either of the two
calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
shall have the meanings given to them in the Credit Agreement.

[NAME OF LENDER]

By:

      Name:

      Title:

Date: ________ __, 20[ ]




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                                           EXHIBIT F-2

                     [FORM OF] U.S. TAX COMPLIANCE CERTIFICATE

  (For Foreign Participants That Are Not Partnerships For U.S. Federal Income Tax Purposes)

        Reference is hereby made to the Bridge Loan Agreement dated as of September 25, 2018
(as amended, restated, supplemented or otherwise modified from time to time, the “Credit
Agreement, among HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC,
THE DUGABOY INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS,
L.P., NEXPOINT REAL ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER
BORROWERS (collectively, the “Borrower”), the financial institutions party thereto, as lenders,
and KeyBank National Association, as administrative agent for the lenders, and each lender from
time to time party thereto.

        Pursuant to the provisions of Section 2.17 of the Credit Agreement, the undersigned
hereby certifies that (i) it is the sole record and beneficial owner of the participation in respect of
which it is providing this certificate, (ii) it is not a bank within the meaning of Section
881(c)(3)(A) of the Code, (iii) it is not a ten percent shareholder of Borrower within the meaning
of Section 871(h)(3)(B) of the Code, and (iv) it is not a controlled foreign corporation related to
the Borrower as described in Section 881(c)(3)(C) of the Code.

        The undersigned has furnished its participating Lender with a certificate of its non-U.S.
Person status on IRS Form W-8BEN or W-8BEN-E (or successor form). By executing this
certificate, the undersigned agrees that (1) if the information provided on this certificate changes,
the undersigned shall promptly so inform such Lender in writing, and (2) the undersigned shall
have at all times furnished such Lender with a properly completed and currently effective
certificate in either the calendar year in which each payment is to be made to the undersigned, or
in either of the two calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein
shall have the meanings given to them in the Credit Agreement.



[NAME OF PARTICIPANT]

By:

      Name:

      Title:

Date: ________ __, 20[ ]




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                                               EXHIBIT F-3

                         [FORM OF] U.S. TAX COMPLIANCE CERTIFICATE

         (For Foreign Participants That Are Partnerships For U.S. Federal Income Tax Purposes)

       Reference is hereby made to the Bridge Loan Agreement dated as of September 25, 2018 (as
amended, restated, supplemented or otherwise modified from time to time, the “Credit Agreement, among
HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE DUGABOY
INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P., NEXPOINT REAL
ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER BORROWERS (collectively, the
“Borrower”), the financial institutions party thereto, as lenders, and KeyBank National Association, as
administrative agent for the lenders, and each lender from time to time party thereto.

         Pursuant to the provisions of Section 2.17 of the Credit Agreement, the undersigned hereby
certifies that (i) it is the sole record owner of the participation in respect of which it is providing this
certificate, (ii) its direct or indirect partners/members are the sole beneficial owners of such participation,
(iii) with respect such participation, neither the undersigned nor any of its direct or indirect
partners/members is a bank extending credit pursuant to a loan agreement entered into in the ordinary
course of its trade or business within the meaning of Section 881(c)(3)(A) of the Code, (iv) none of its
direct or indirect partners/members is a ten percent shareholder of Borrower within the meaning of
Section 871(h)(3)(B) of the Code and (v) none of its direct or indirect partners/members is a controlled
foreign corporation related to the Borrower as described in Section 881(c)(3)(C) of the Code.

         The undersigned has furnished its participating Lender with IRS Form W-8IMY (or successor
form) accompanied by one of the following forms from each of its partners/members that is claiming the
portfolio interest exemption: (i) an IRS Form W-8BEN or W-8BEN-E (or successor form) or (ii) an IRS
Form W-8IMY (or successor form) accompanied by an IRS Form W-8BEN or W-8BEN-E (or successor
form) from each of such partner’s/member’s beneficial owners that is claiming the portfolio interest
exemption. By executing this certificate, the undersigned agrees that (1) if the information provided on
this certificate changes, the undersigned shall promptly so inform such Lender and (2) the undersigned
shall have at all times furnished such Lender with a properly completed and currently effective certificate
in either the calendar year in which each payment is to be made to the undersigned, or in either of the two
calendar years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall
have the meanings given to them in the Credit Agreement.



[NAME OF PARTICIPANT]

By:

      Name:

      Title:

Date: ________ __, 20[ ]




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                                               EXHIBIT F-4

                         [FORM OF] U.S. TAX COMPLIANCE CERTIFICATE

           (For Foreign Lenders That Are Partnerships For U.S. Federal Income Tax Purposes)

       Reference is hereby made to the Bridge Loan Agreement dated as of September 25, 2018 (as
amended, restated, supplemented or otherwise modified from time to time, the “Credit Agreement, among
HIGHLAND CAPITAL MANAGEMENT, LP, HCRE PARTNERS, LLC, THE DUGABOY
INVESTMENT TRUST, THE SLHC TRUST, NEXPOINT ADVISORS, L.P., NEXPOINT REAL
ESTATE ADVISORS IV, L.P., AND THE PROPERTY OWNER BORROWERS (collectively, the
“Borrower”), the financial institutions party thereto, as lenders, and KeyBank National Association, as
administrative agent for the lenders, and each lender from time to time party thereto.

         Pursuant to the provisions of Section 2.17 of the Credit Agreement, the undersigned hereby
certifies that (i) it is the sole record owner of the Loan(s) (as well as any Note(s) evidencing such Loan(s))
in respect of which it is providing this certificate, (ii) its direct or indirect partners/members are the sole
beneficial owners of such Loan(s) (as well as any Note(s) evidencing such Loan(s)), (iii) with respect to
the extension of credit pursuant to this Credit Agreement or any other Loan Document, neither the
undersigned nor any of its direct or indirect partners/members is a bank extending credit pursuant to a
loan agreement entered into in the ordinary course of its trade or business within the meaning of Section
881(c)(3)(A) of the Code, (iv) none of its direct or indirect partners/members is a ten percent shareholder
of Borrower within the meaning of Section 871(h)(3)(B) of the Code and (v) none of its direct or indirect
partners/members is a controlled foreign corporation related to the Borrower as described in Section
881(c)(3)(C) of the Code.

         The undersigned has furnished the Administrative Agent and the Borrower with IRS Form W-
8IMY (or successor form) accompanied by one of the following forms from each of its partners/members
that is claiming the portfolio interest exemption: (i) an IRS Form W-8BEN or W-8BEN-E (or successor
form) or (ii) an IRS Form W-8IMY (or successor form) accompanied by an IRS Form W-8BEN or W-
8BEN-E (or successor form) from each of such partner’s/member’s beneficial owners that is claiming the
portfolio interest exemption. By executing this certificate, the undersigned agrees that (1) if the
information provided on this certificate changes, the undersigned shall promptly so inform the Borrower
and the Administrative Agent, and (2) the undersigned shall have at all times furnished the Borrower and
the Administrative Agent with a properly completed and currently effective certificate in either the
calendar year in which each payment is to be made to the undersigned, or in either of the two calendar
years preceding such payments.

        Unless otherwise defined herein, terms defined in the Credit Agreement and used herein shall
have the meanings given to them in the Credit Agreement.

[NAME OF LENDER]

By:

      Name:

      Title:

      Date: ________ __, 20[ ]



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